Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 1 of 221 PageID:
                                 172394




  Mail: P.O. Box 5231, Princeton, NJ 08543-5231

  Princeton Pike Corporate Center
  997 Lenox Drive, Building 3
  Lawrenceville, NJ 08648-2311
  Tel 609.896.3600 Fax 609.896.1469
  www.foxrothschild.com




 Jeffrey M. Pollock
 Certified by the Supreme Court of New Jersey
      as a Civil Trial Attorney
 Direct Dial: (609) 896-7660
 Email Address: jmpollock@foxrothschild.com

                                                  February 2, 2024

 Via PACER/ECF

 The Honorable Rukhsanah L. Singh, U.S.M.J.
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street, Courtroom 7W
 Trenton, New Jersey

          Re:        In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices
                     and Product Liability Litig., Case No. 3:16-md-2738 (MAS)/(RLS)

 Dear Judge Singh:

         Pursuant to Your Honor’s text order [Dkt 28965] of yesterday’s date, Mr. Brody and I
 have conferred and attach for the Court’s review the Opinion of the Honorable John C. Porto,
 P.J.Civ., entered on January 31, 2024, in the related State court action.

         In addition, we are attaching all Certifications that have been filed before Judge Porto,
 specifically:

          1.    Declaration of Erik Haas, dated December 5, 2022;
          2.    Certification of Andy Birchfield, Esq., dated January 17, 2024;
          3.    Certification of Ted Meadows, Esq., dated January 17, 2024;
          4.    Certification of James F. Conlan, dated January 17, 2024;
          5.    Certification of John Gasparovic, dated January 17, 2024;
          6.    Certification of Erik Haas, dated January 25, 2024;
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 2 of 221 PageID:
                                 172395




 The Honorable Rukhsanah L. Singh, U.S.M.J
 February 2, 2024
 Page 2

         7. Certification of James Murdica, dated January 25, 2024;
         8. Supplemental Certification of Andy Birchfield, Esq., dated January 29, 2024; and
         9. Supplemental Certification of James F. Conlan, dated January 29, 2024.

        Lastly, we are attaching the transcripts of the January 17th and January 23rd hearings before
 Judge Porto as Exhibit A and B.



                                                         Respectfully submitted,

                                                          /s/ Jeffrey M. Pollock

                                                         JEFFREY M. POLLOCK

 Encl.

 cc: All Counsel (via ECF)
           ATL-L-002648-15 01/31/2024 Pg 1 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 3 of 221 PageID:
                                 172396
           ATL-L-002648-15 01/31/2024 Pg 2 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 4 of 221 PageID:
                                 172397
           ATL-L-002648-15 01/31/2024 Pg 3 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 5 of 221 PageID:
                                 172398
           ATL-L-002648-15 01/31/2024 Pg 4 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 6 of 221 PageID:
                                 172399
           ATL-L-002648-15 01/31/2024 Pg 5 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 7 of 221 PageID:
                                 172400
           ATL-L-002648-15 01/31/2024 Pg 6 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 8 of 221 PageID:
                                 172401
           ATL-L-002648-15 01/31/2024 Pg 7 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 9 of 221 PageID:
                                 172402
           ATL-L-002648-15 01/31/2024 Pg 8 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 10 of 221 PageID:
                                 172403
           ATL-L-002648-15 01/31/2024 Pg 9 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 11 of 221 PageID:
                                 172404
           ATL-L-002648-15 01/31/2024 Pg 10 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 12 of 221 PageID:
                                 172405
           ATL-L-002648-15 01/31/2024 Pg 11 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 13 of 221 PageID:
                                 172406
           ATL-L-002648-15 01/31/2024 Pg 12 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 14 of 221 PageID:
                                 172407
           ATL-L-002648-15 01/31/2024 Pg 13 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 15 of 221 PageID:
                                 172408
           ATL-L-002648-15 01/31/2024 Pg 14 of 14 Trans ID: LCV2024271848
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 16 of 221 PageID:
                                 172409
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 17 of 221 PageID:
                                 172410




            EXHIBIT 1
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 1 of 4 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 18 of 221 PageID:
                                 172411



                      SUPERIOR COURT OF NEW JERSEY
                      LAW DIVISION, ATLANTIC COUNTY

   IN RE TALC-BASED POWDER                                   Master Docket No.
   PRODUCTS LITIGATION                                        ATL-L-2648-15

                                                          MCL CASE NO. 300
   Applicable to All Cases
                                                              CIVIL ACTION

                          DECLARATION OF ERIK HAAS


        I, Erik Haas, hereby declare and state as follows:

        1.     I am over the age of eighteen, of sound mind, and in all respects

  competent to testify. I have personal knowledge of the information contained in

  this Declaration and would testify completely to these facts if called to do so.

        2.     I am Worldwide Vice President, Litigation for Johnson & Johnson

  (“J&J”), a position I have held since November 2020.

        3.     In this position, I became familiar with work performed for J&J by

  attorney James Conlan of the law firm of Faegre Drinker between July 2020 and

  early 2022. I have also reviewed time entries submitted by Mr. Conlan for his

  work representing J&J.

        4.     From July 2020 through early 2022, Mr. Conlan represented J&J as

  part of a team of attorneys evaluating legal strategies for resolution of pending and

  future claims by plaintiffs asserting liability for illnesses allegedly caused by J&J’s

  talc products.
                                             1
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 2 of 4 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 19 of 221 PageID:
                                 172412



        5.    Billing submitted by Mr. Conlan reflects that, during this period, Mr.

  Conlan billed almost 1,600 hours on the talc matter, including 1,154 hours in 2021

  alone. The records reflect that Mr. Conlan billed J&J $2.24 million for this work.

        6.    Those same billing records show that during this time period, Mr.

  Conlan attended dozens of meetings and phone conferences with members of the

  J&J Law Department, including myself, J&J’s former head of litigation, Joseph

  Braunreuther, former product liability lead John Kim, and current product liability

  head, Andrew White.

        7.    Mr. Conlan’s time entries in the billing records also show that he

  communicated regularly with other members of J&J’s outside counsel team on the

  talc matter throughout the same time period, and in May 2021, met personally as

  J&J’s counsel with the Debtor’s counsel and counsel for the Future Claims

  Representative in the Imerys bankruptcy over rounds of golf, dinner, and drinks.

        8.    At no point did J&J, or any of its officers or agents, waive attorney-

  client privilege as to Mr. Conlan’s representation of the Company.

        9.    Attached as Exhibit 1 is a true and correct copy of an email that Mr.

  Conlan sent to me on August 23, 2022.

        10.   Attached as Exhibit 2 is a true and correct copy of the transcript of

  J&J’s Q3 earnings call, held October 17, 2023.




                                           2
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 3 of 4 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 20 of 221 PageID:
                                 172413



          11.   Attached as Exhibit 3 is a true and correct copy of an email from Mr.

  Conlan to Johnson & Johnson Treasurer Duane Van Arsdale, dated October 18,

  2023.

          12.   Attached as Exhibit 4 is a true and correct copy of excerpts from the

  transcript of the April 17, 2023 deposition of Andy Birchfield, taken in In re: LTL

  Management LLC, No. 23-12825 (Bankr. D.N.J.).

          13.   Attached as Exhibit 5 is a true and correct copy of a letter from James

  Murdica to Mr. Conlan, dated November 5, 2023.

          14.   Attached as Exhibit 6 is a true and correct copy of a letter and

  attachment from Mr. Conlan to the Johnson & Johnson Board of Directors, dated

  November 9, 2023.

          15.   Attached as Exhibit 7 is a true and correct copy of an email I sent to

  John Gasparovic, copying Mr. Conlan and others, dated November 9, 2023.

          16.   On November 15, 2023, J&J learned that Mr. Conlan and Mr.

  Birchfield were set to appear at a November 29, 2023 symposium hosted by

  Gordon Haskett Research Advisors on “JNJ: Talc Litigation & 3rd Bankruptcy” to

  discuss the “viability” of “J&J’s potential 3rd bankruptcy,” “potential settlement

  issues,” and “how J&J could resolve the litigation outside of bankruptcy.”




                                             3
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 4 of 4 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 21 of 221 PageID:
                                 172414



  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed this 8th day of December, 2023.




                                          Erik Haas
                                          Worldwide Vice President, Litigation
                                          Johnson & Johnson




                                            4
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 1 of 2 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 22 of 221 PageID:
                                 172415




                         EXHIBIT 1
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 2 of 2 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 23 of 221 PageID:
                                 172416                                 Ex. 1




   From: James Conlan <james.conlan@legacyliability.com>
   Sent: Tuesday, August 23, 2022 11:16 AM
   To: Haas, Erik [JJCUS] <EHaas8@its.jnj.com>
   Subject: [EXTERNAL]
    WARNING: This email originated from outside the company. Do not click on links unless you recognize the
    sender and have confidence the content is safe. If you have concerns about this email, send it as an
    attachment to SuspiciousEmail@ITS.JNJ.COM
   Confidential

   Eric, I hope you're well and enjoying the summer. I'm in NY today through tomorrow afternoon and
   would be delighted to buy you a coffee or a drink.
   I am among those who think the likelihood of plan confirmation/injunction (for solvent non debtor
   affiliates) in a Texas two step bankruptcy case (particularly outside of the asbestos context) has gone
   from low to essentially non existent.
   I would like to talk to you about a dismissal -- with Legacy taking the ownership of LTL and causing an
   indemnity to be issued that would provide J&J and its other affiliates with the best available
   protection -- sufficient to cause your auditors to remove your ASC 450 disclosure relating to
   talc/baby powder. J&J would have to fund LTL with cash in excess of the PV of the tort system value
   of all current and future talc related claims against LTL.
   The capital markets, not the bankruptcy courts, are the answer to achieving closure (current and
   future claims) for solvent mass tort defendants.




   James F. Conlan
   Chief Executive Officer and Co-Founder
   Legacy Liability Solutions
   Bermuda | Dallas | Chicago | Paris
   Email | james.conlan@legacyliability.com
   Mobile | +312.927.7572
   www.legacyliability.com
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 1 of 18 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 24 of 221 PageID:
                                 172417




                          EXHIBIT 2
            ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 2 of 18 Trans ID: LCV20233584887
 Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 25 of 221 PageID:
                                  172418                                 Ex. 2
0123456ÿ819 ÿ 154549
ÿÿÿÿÿ ÿ!""ÿ#$%&
 019K2656ÿLMÿHNOPQ41554
 R49L51ÿSTUÿVWVX                                                                  (ÿ*+,-.'
/ÿ012ÿ3456ÿ789:;<:95ÿ*=5>;<=4ÿ;=ÿ;12ÿ?=85@ABÿC==D<4Eÿ.428E6ÿF8<B<BÿGH6I
J&$%&
!%&YÿZY$[&\Y
 ] ^`22B5Bÿ0<:159aÿ_=    =82
                     26534ÿbÿc3K5a491ÿd5N4293a
 ] ^hi=5B2je412Kÿ5^ÿ̀2
                      fÿ?=5g
                          5ÿ015a26534UÿkP258ÿl2332NÿR88251
 ] ^hi=514jÿ4F2Kf5ÿ-ÿ̀2225@ÿ015a26534Uÿ0P1 5j42NaUÿdmn
 ] ^kP=92o1><43ÿÿp>396;ÿk=P258ÿhi5j42K5ÿR88251
 ] .q98<g1Nÿ6+9r2695Bÿ̀25ÿ015a26534ÿ98ÿs242t4293
 ] ,v119D2     ;ÿ02u25
         jOÿkP21 3ÿ36ÿvN9LNÿw56ÿ98ÿ56x5Pÿc339K4293ÿ36ÿdmn

y"z&
p9{<@ÿ-<B<4E28Uÿs55123ÿ0 14351a
_9;;ÿ_<gB<:Uÿ|98:596Bÿ7CF
F18<Bÿ*1<}>;94<Uÿ012ÿ~=5@D94ÿ*9:1Bÿ~8=>eÿ4:f
~2=ÿ_29:19DUÿ 3ÿ98ÿH 512ÿ5112NNÿsM3P
^=B1ÿ^244<4EBUÿ0pÿF=24
F18<Bÿ*:1=;;Uÿ0ÿ91t3
C9886ÿ|<2E25B24Uÿ?255Bÿ98E=ÿÿF=De946
02824:2ÿ5644Uÿ_=8E94ÿ*;94526
^=9442ÿ?>24B:1Uÿk242L3
9D<5ÿp<{94Uÿvjtt53P52ÿQ5j12425a
p94<2552ÿ,4;956Uÿ|*ÿ~8=>eÿ,~
C=><B2ÿF124UÿF94;=8ÿ<;uE2895@
           ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 3 of 18 Trans ID: LCV20233584887
012324565784
 Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 26 of 221 PageID:
                                  172419                                 Ex. 2

9 ÿ
          
            ÿÿÿ!ÿ"#$ÿ%ÿ"#$&$ÿ'#ÿ()!ÿ*+*,ÿ-$ÿ./ÿ.0ÿ123!ÿ4$!)!$5
         4ÿ)ÿÿ6ÿ!ÿ!)ÿ!#ÿÿ7ÿ!ÿ"#$ÿ%ÿ"#$0ÿ8)ÿ9ÿ:0

  ;<<=>ÿ@
  AÿB$!ÿCÿ47$!ÿD!$ÿ!ÿ"#$ÿ%ÿ"#$
  ÿ0ÿ'#$ÿ$ÿ"$$ÿEÿAÿB$!ÿ/ÿ47$!ÿD!$ÿ/ÿ"#$ÿ%ÿ"#$0ÿFÿ!ÿ)
  .39&$ÿ7ÿ/ÿ!#ÿ*+*,ÿ!#ÿG)!ÿ:)$$$ÿ$)!$ÿÿ/)C9ÿ/ÿ)!60
  Hÿ/ÿ$!$ÿ:/ÿÿ!ÿ!ÿ!#ÿ!$0ÿH$ÿÿÿ9)ÿÿ/ÿ!ÿ!$ÿ)ÿ!9&$ÿ3$!!
  ÿ$$!ÿ$#)$ÿÿ!#ÿ47$!ÿD!$ÿ$!ÿ/ÿ!#ÿ"#$ÿ%ÿ"#$ÿ:$!ÿ!ÿ7$!0II00
  B$ÿ!ÿ!#!ÿ!#$ÿ3$!!ÿ!$ÿ/C6ÿ$!!!$ÿÿÿ!#ÿ!#$ÿ!#ÿ.39&$ÿ/)!)
  3!ÿÿ/ÿ3/ÿ6!ÿ3$!ÿÿ:)$$$ÿ$!!90ÿ8)ÿÿ)!ÿ!ÿ!ÿ9ÿÿ!#$ÿ/C
  6ÿ$!!!$ÿ##ÿÿ:$ÿÿ)!ÿJ3!!$ÿ/ÿ/)!)ÿ7!$ÿ)$ÿ!#ÿ/!ÿ7:ÿ$ÿ/ÿ!#ÿ!
  /ÿ!#$ÿÿÿÿ$):I!ÿ!ÿ!ÿ$6$ÿÿ)!!$ÿ!#!ÿ9ÿ)$ÿ!#ÿ.39&$ÿ!)ÿ$)!$ÿ!ÿ//
  !9ÿ/ÿ!#$ÿ3I!0ÿHÿ$3!ÿ/ÿ!#$ÿ$6$ÿ)!!$ÿÿ!#ÿ/!$ÿÿ:ÿ/)ÿÿ)ÿK-.ÿ/$
  )ÿ)ÿ*+**ÿLÿM+CNÿ##ÿ$ÿ7:ÿ!ÿ7$!0II0ÿÿÿ!#ÿK-.&$ÿ:$!0
  H!9ÿ$7ÿ/ÿ!#ÿ3)!$ÿÿ3)$ÿ$)$$ÿ!9ÿÿ:ÿ73ÿÿ:!ÿ!#ÿ$!!
  3!$ÿÿ$ÿ/ÿ!#ÿ3$0ÿ'#$ÿ$ÿ6$ÿ!#$ÿ!$#3$0
  E7ÿ!ÿ!9&$ÿ0ÿ4ÿÿ$!!ÿ:9ÿ7ÿ!#ÿ!#ÿG)!ÿ$$ÿÿB%Oÿ$)!$ÿ/ÿ!#ÿ3!ÿÿ###!$
  !ÿ!ÿ)ÿ!ÿ:)$$$$0ÿ"ÿF6ÿ)ÿ.L2ÿÿ!#ÿ37ÿ!ÿ:)$$$ÿÿ/ÿ!9ÿ:/
  $#ÿÿ77ÿ/ÿ)ÿ$#ÿ3$!ÿ3!ÿ!ÿ3!$ÿÿ)3!ÿ)ÿ/ÿ*+*,0ÿ'#ÿÿ!ÿ
  :ÿ7:ÿ/ÿ9)ÿG)$!$0ÿ"G)ÿP)!ÿ)ÿ.#ÿÿ.-2Qÿ"#ÿDÿÿH#!ÿ'Rÿ)ÿ47!7ÿE
  ÿE'#ÿD%Pÿ$Qÿ$ÿÿ$ÿ-6ÿS$ÿ)ÿABÿ/ÿO!!ÿÿ:ÿIÿ)$ÿ/ÿ(%H0ÿ'ÿ$)ÿÿ37ÿ)#
  !ÿ!ÿ$$ÿ9)ÿG)$!$ÿÿ!3!ÿ!#ÿ:$!ÿÿ$!ÿ33J!9ÿT+ÿ)!$0
  H$ÿÿÿÿH))$!ÿ*,ÿ*+*,ÿ"#$ÿ%ÿ"#$ÿ)ÿ!#ÿ/ÿ$)!$ÿ/ÿ!#ÿJ#ÿ//ÿÿ3!ÿ/
  !#ÿ$3!ÿ/ÿN7)ÿ40ÿU$$ÿ!#$ÿ$!!ÿ!#ÿ/ÿ$)!$ÿÿ)ÿ###!ÿ!9ÿ/!ÿ!#
    !)ÿ3!$ÿ/ÿ"#$ÿ%ÿ"#$0ÿFÿÿ3!ÿ!#ÿ.$)ÿS!#ÿ/ÿ$)!$ÿ$ÿ$!)
  3!$0ÿH!9ÿÿ/ÿ!#ÿB#)!ÿ$!ÿÿ:ÿ/ÿ!ÿ$ÿ47!7ÿE0
  K!!ÿ!#ÿ(,ÿ*+*,ÿ$$ÿ$)!$0ÿFÿ$$ÿÿV*M0Wÿ:ÿ/ÿ!#ÿ!#ÿG)!ÿ/ÿ*+*,ÿÿ$ÿ/ÿT0XY
  7$)$ÿ!#ÿ!#ÿG)!ÿ/ÿ*+**0ÿ23!ÿ$$ÿ!#ÿ##ÿJ)$ÿ!#ÿ//!ÿ/ÿ!$!ÿ)9ÿ$ÿT0WY
  $ÿ)9ÿ#ÿÿ3$!7ÿ3!ÿ/ÿ+0Wÿ3!$0ÿ4ÿ!#ÿUKÿ$$ÿ$ÿMM0MY0ÿ4ÿ$ÿ)!$ÿ!#ÿUKÿ)ÿ3!
  !#ÿ$ÿM0TY0ÿ23!ÿ$$ÿ!#ÿ)!$ÿ!#ÿUKÿ$ÿ+0ZYÿ!#ÿ)9ÿ3$!79ÿ3!ÿ)ÿ3!ÿ2UK
  $)!$ÿ:9ÿ+0[ÿ3!$0ÿ4!ÿ$ÿ3!!ÿ!ÿ!ÿ!#!ÿ3!ÿ$$ÿÿ-)3ÿÿ!79ÿ3!ÿ:9ÿ!#ÿ.2A4PCM[
  7 ÿÿ$$ÿ/ÿJ)$7!9ÿ/ÿ\8'4H0ÿ-J)ÿ!#ÿ!ÿ3!ÿ/ÿG)$!$ÿÿ7$!!)$ÿI)$!ÿ3!
  $$ÿ!#ÿ$ÿW0[YÿÿX0[Yÿÿ!#ÿUKÿÿ+0,Yÿ)!$ÿ!#ÿUK0
  ')ÿÿ!ÿ$0ÿLÿ!#ÿG)!ÿ!ÿ$ÿÿVW0,ÿ:ÿÿ)!ÿ$ÿ3ÿ$#ÿ$ÿVM0T[ÿ7$)$
  )!ÿ$ÿ3ÿ$#ÿ/ÿVM0T*ÿÿ9ÿ0ÿ-J)ÿ/!C!Jÿ!:ÿ$$!ÿ!R!ÿJ3$ÿÿ$3ÿ!$
  /ÿ:!#ÿ3$ÿI)$!ÿ!ÿ$ÿ/ÿ!#ÿG)!ÿÿVT0Xÿ:ÿÿI)$!ÿ)!ÿ$ÿ3ÿ$#ÿ$ÿV*0TT
  3$!ÿ$$ÿ/ÿMW0MYÿÿM[0,Yÿ$3!79ÿ3ÿ!ÿ!#ÿ!#ÿG)!ÿ/ÿ*+**0ÿ2ÿÿ3!ÿ:$$
  I)$!ÿ)!ÿ$ÿ3ÿ$#ÿ$ÿM,0[Y0
  4ÿÿÿ!ÿÿ:)$$$ÿ$$ÿ3/0ÿU$$ÿ!#$ÿ$!!ÿ3!$ÿG)!ÿ3$!ÿ!#ÿ3!
  $$ÿ#ÿÿ3$ÿ!ÿ!#ÿ!#ÿG)!ÿ/ÿ*+**ÿÿ!#/ÿJ)ÿ!#ÿ3!ÿ/ÿ)9ÿ!$!0
  ]ÿ!#ÿ47!7ÿE0ÿFÿ47!7ÿEÿ$$ÿ/ÿVM,0[ÿ:ÿ$ÿ^0MYÿ!#ÿ!#ÿ/
  M+0[Yÿÿ!#ÿUKÿÿÿÿ/ÿ*0,Yÿ)!$ÿ/ÿ!#ÿUK0ÿ23!ÿ$$ÿ!#ÿ$ÿW0,Yÿ$ÿ)9ÿ#ÿÿ3$!7
  3!ÿ/ÿ+0Xÿ3!$0ÿ-J)ÿ.2A4PCM[ÿ7 ÿ$$ÿÿ3!ÿ$$ÿ!#ÿ$ÿX0*Yÿ!#ÿ!#ÿ/ÿM+0[Yÿ
  !#ÿUKÿÿ!#ÿ/ÿW0,Yÿ)!$ÿ/ÿ!#ÿUK0ÿK$ÿ)!$ÿ!#ÿUKÿJ)ÿ!#ÿ.2A4PCM[ÿ7 ÿÿ!79
  3!ÿ:9ÿ33J!9ÿ^++ÿ:$$ÿ3!$ÿ)ÿ!ÿ!#ÿ$$ÿ/ÿJ)$7!9ÿ/ÿ\8'4Hÿÿ-)30
         ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 4 of 18 Trans ID: LCV20233584887
011234563:16-md-02738-MAS-RLS
Case    37ÿ976617ÿ 25ÿ4ÿ 6371ÿÿ2ÿ7Document
                                          ÿ41ÿ41172420
                                                   ÿ228976
                                                     15617ÿ54Filed
                                                                 7ÿ2ÿ7715ÿ41Page
                                                                       02/02/24     7ÿ227
                                                                                         5ÿof65221
                                                                                                    ÿ PageID:
                                                                                                        Ex. 2
475ÿ763761ÿ27665ÿ 25ÿ7ÿ215617ÿ52ÿ 637ÿ521ÿ47ÿ 25ÿ2ÿ25ÿ !"#ÿ41ÿ"!"ÿ65
61 747ÿ2ÿ$%&'ÿ41ÿ$&'(ÿ775637(ÿ7ÿ52ÿ215617ÿ47ÿ461ÿ41ÿ475ÿ 25ÿ6561ÿ6122(ÿ7ÿ4
   25ÿ61ÿ)*"!ÿ41ÿ*"9+,ÿ65ÿ61 747ÿ2ÿ-.'ÿ41ÿ$-'(ÿ775637ÿ*6ÿ 25ÿ4ÿ7261415ÿ 6371ÿ
43247ÿ456715ÿ6/ÿ41ÿ475ÿ 25
*161ÿ52ÿ17ÿ417ÿ25ÿ7ÿ215617ÿ52ÿ47ÿ2 7ÿ21ÿ2ÿ417ÿ2ÿ01,2*0ÿ41ÿ)31*4ÿ7ÿ47
42ÿ71247ÿÿ57ÿ74ÿ 7ÿ2ÿ2ÿ417ÿ2ÿ*"01,!0ÿ41ÿ*!1",(ÿ47ÿ2ÿ6ÿ47ÿ 6361ÿ57ÿ 25ÿ61ÿ257
2122ÿ7ÿ7/75ÿ52ÿ761ÿ6261ÿ*"01,!0ÿ47ÿ61ÿ5ÿ$%$6ÿ*254ÿ0112345637ÿ976617ÿ47ÿ 25ÿ4ÿ4564
275ÿÿ57ÿ2ÿ2ÿ7/6365ÿ2ÿ,*07ÿ41ÿ"900"(ÿ421ÿ65ÿ4ÿ7 747ÿ61ÿ0989100ÿ47ÿ7ÿ52ÿ27565637
77
0:ÿ12ÿ51ÿ2ÿ455715621ÿ52ÿ97*7ÿ267ÿ97*7ÿ47ÿ2ÿ;&-ÿ6621ÿ61 747ÿ%'ÿ65ÿ 25ÿ2ÿ<'ÿ61ÿ57
9)ÿ41ÿ.='ÿ2567ÿ2ÿ57ÿ9)ÿ47456214ÿ47ÿ 25ÿ61 747ÿ%6'ÿ4ÿ 71ÿ4ÿ4ÿ1745637ÿ645ÿ2ÿ%6ÿ2615
627ÿ215657ÿ6<'ÿ52ÿ27456214ÿ 25ÿ"/61ÿ57ÿ645ÿ2ÿ4>665621ÿ41ÿ6375657(ÿ267ÿ4?57
27456214ÿ47ÿ 25ÿ4ÿ<'ÿ41ÿ4ÿ2ÿ24ÿ46ÿ566@61ÿ47ÿ61ÿ57ÿ62ÿ74ÿ2ÿ627ÿ4ÿ4ÿ5414217
  241(ÿ97*7:ÿ 25ÿ2ÿ57ÿ>457ÿ2ÿ7ÿ<6'
97*7ÿ4ÿ1745637ÿ6457ÿ4 2ÿ4ÿ452ÿÿ61571456214ÿ415621ÿ61ÿ64ÿ25ÿ42/6457ÿ<%ÿ46
2615ÿ41ÿ32747ÿ27715ÿ61ÿ0614(ÿ646ÿ61ÿ637ÿ97*7ÿ452Aÿ)617(ÿ*44(ÿ"12557(ÿ"17 ÿ41
"752622ÿÿ216457ÿ45ÿ>457(ÿ7ÿ4ÿ57ÿ751ÿ52ÿ27ÿ1246@7ÿ7421465ÿ65ÿ27457
  77745621ÿ61ÿ57ÿ56ÿ>457
*7ÿ015737156214ÿ)25621ÿ4167ÿ76377ÿ27456214ÿ 25ÿ2ÿ6.'(ÿ6ÿ617ÿ;=ÿ6621ÿ7457ÿ52ÿ627
*6ÿ775ÿ 25ÿ61ÿ627ÿ456715ÿ277ÿ61ÿ57ÿ65771ÿ41ÿ215617ÿ521ÿ425621ÿ2ÿ074ÿ--
57122ÿ61ÿ) 7ÿ"752622ÿ6ÿ4ÿ4?2ÿ215652ÿ52ÿ56ÿ 25ÿ65ÿ4ÿ27665ÿ61 747ÿ2ÿ$%='ÿ*6
 775ÿ521ÿ 25ÿ61ÿ4ÿ7621(ÿ6161ÿ"27(ÿ 6371ÿÿ2ÿ24ÿ4757461ÿ25262(ÿ6161ÿ57ÿ25
 7715ÿ417ÿ54*ÿ+ÿ445621ÿ41ÿ43*"!!ÿ9461ÿ045757ÿ47456214ÿ 25ÿ2ÿ=$'ÿ61ÿ) 7ÿ4ÿ 6371
646ÿÿ277ÿ7237ÿ41ÿ5715ÿ2ÿ2ÿ62 7ÿ41ÿ21ÿ27ÿ25262ÿ725ÿ4ÿ4564ÿ275ÿ
57ÿ645ÿ2ÿ32747ÿ27715ÿ61ÿ0614ÿ41ÿÿ4717
724ÿ 25ÿ2ÿ-6'ÿ61ÿ16621ÿ4ÿ 6371ÿÿ67ÿ45621ÿ61ÿ021545ÿ!717ÿ41ÿ457(ÿ4ÿ7ÿ4ÿ5715ÿ2ÿ17ÿ25(
6161ÿ0919"ÿ4),)ÿ4ÿ46ÿ2ÿ25ÿ61ÿ021545ÿ!717ÿ41ÿ*"0B0)ÿ"417(ÿ2ÿ21224ÿ615424ÿ71ÿ61
 64ÿ36621ÿ725ÿ2ÿ021545ÿ!717ÿ4ÿ4564ÿ275ÿÿ54576ÿ25262ÿ267ÿ41ÿÿ4717ÿ452
577ÿ215617ÿ52ÿ6237ÿ724ÿ16621ÿ 25ÿ4ÿ1745637ÿ6457ÿÿ%%ÿ46ÿ2615ÿ7ÿ52ÿ57ÿ861ÿ6375657
452476:ÿ27456214ÿ 25ÿ2ÿ$<'ÿ775ÿ277ÿ 25(ÿ 7ÿ2ÿ7715ÿ417ÿ25(ÿÿ4ÿ57
  24ÿ7/41621ÿ2ÿ2ÿ1"!,)ÿ6654ÿ)25621ÿ41ÿ7/41621ÿ61ÿ4452ÿ 64ÿ7157(ÿ4564ÿ275ÿÿ57ÿ645
2ÿ32747ÿ27715ÿ61ÿ0614ÿ61ÿ)617ÿ41ÿ*44
B2(ÿ5161ÿ52ÿ2ÿ2126457ÿ5457715ÿ2ÿ74161ÿ2ÿ57ÿ56ÿ>457ÿ2ÿ$%$=ÿ0:ÿ67ÿ52ÿ665ÿ4ÿ7ÿ125725
657ÿ545ÿ437ÿ417ÿ247ÿ52ÿ57ÿ47ÿ>457ÿ2ÿ45ÿ74ÿ025ÿ2ÿ25ÿ2ÿ4 61ÿ4ÿ45ÿ7ÿ52ÿ43247
456715ÿ6/ÿ41ÿ27ÿ0410Cÿ34 617ÿÿ1752ÿ7457ÿ7/65ÿ25ÿ61ÿ57ÿ0112345637ÿ976617ÿ617(ÿ4564ÿ275
ÿ2265ÿ6145621(ÿ143247ÿ25ÿ6/(ÿ41ÿ75561ÿ7457ÿ52ÿ7/7ÿ6137152ÿ25ÿ61ÿ57ÿ97*7
617
)761(ÿ47561ÿ41ÿ4616545637ÿ4 61ÿ773747ÿ6%ÿ46ÿ2615(ÿ 6371ÿÿ61 747ÿ7/717ÿ4 2ÿ57
715767ÿ7ÿ215617ÿ52ÿ61375ÿ545764ÿ61ÿ774 ÿ41ÿ7372715ÿ45ÿ27565637ÿ737(ÿ6137561ÿ;=6ÿ6621ÿ2
<$'ÿ2ÿ47ÿ56ÿ>457ÿDÿ4ÿ73747ÿÿ$%ÿ46ÿ2615(ÿ646ÿ 6371ÿÿ25262ÿ62656@45621(ÿ4564ÿ275
ÿ67ÿ675217ÿ4715ÿ61ÿ57ÿ0112345637ÿ976617ÿ617ÿ 656214(ÿ03Dÿ646715ÿ77ÿ;$%<ÿ6621ÿ61ÿ57
56ÿ>457ÿ2ÿ$%$=
015775ÿ6127ÿ4ÿ;.$ÿ6621ÿ61ÿ57ÿ56ÿ>457ÿ2ÿ$%$=ÿ4ÿ247ÿ52ÿ;CCÿ6621ÿ2ÿ6127ÿ61ÿ57ÿ56ÿ>457ÿ2
$%$$ÿ*7ÿ61 747ÿ61ÿ6127ÿ4ÿ 6371ÿÿ67ÿ615775ÿ457ÿ7417ÿ21ÿ4ÿ4417(ÿ4564ÿ275ÿÿ67ÿ615775
 457ÿ21ÿ75ÿ4417
*7ÿ257ÿ6127ÿ41ÿ7/717ÿ617ÿ4ÿ41ÿ7/717ÿ2ÿ;6CCÿ6621ÿ61ÿ57ÿ56ÿ>457ÿ2ÿ$%$=ÿ247ÿ52ÿ41ÿ7/717ÿ2
;$$<ÿ6621ÿ61ÿ57ÿ56ÿ>457ÿ2ÿ$%$$ÿ*6ÿ4ÿ646ÿ 6371ÿÿ67ÿ1746@7ÿ452475ÿ27ÿ21ÿ6
76567(ÿ4564ÿ275ÿÿ57ÿ27ÿ0410Cÿ34 6177457ÿ7/65ÿ25ÿ41ÿ27ÿ65645621ÿ7/717
         ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 5 of 18 Trans ID: LCV20233584887
123456743:16-md-02738-MAS-RLS
Case    6589ÿ89ÿ42ÿ485ÿ65425ÿ3ÿÿ88Document
                                              9ÿ5858ÿ52172421
                                                              428976
                                                                 2ÿ4ÿ42ÿ9Filed
                                                                           948202/02/24
                                                                                   ÿ287892ÿ52345Page
                                                                                                 6746589ÿ28
                                                                                                         5of5221 PageID:
                                                                                                                     Ex. 2
996972ÿ89ÿ42ÿ8534ÿ65425
12589ÿ423ÿ89ÿ42ÿ65425ÿ65ÿ227482ÿ4ÿ542ÿ3ÿ!"#ÿ25363ÿ$!#ÿ89ÿ42ÿ32ÿ258ÿ34ÿ25ÿ%83ÿ8975232ÿ3
5858ÿ5829ÿ&ÿÿ99'26748&2ÿ99'52765589ÿ524ÿ752ÿ44ÿ776552ÿ89ÿ42ÿ7655294ÿ65425ÿ(7689ÿ3278ÿ8423
42ÿ227482ÿ4ÿ542ÿ3ÿ$#ÿ25363ÿ)#ÿ89ÿ42ÿ32ÿ258ÿ34ÿ25
*3ÿÿ52364ÿÿ42ÿ72489ÿÿ42ÿ2792ÿ25ÿ+939ÿ,ÿ+939ÿ83ÿ52329489ÿ42ÿ-93625ÿ.24ÿ&6389233ÿ89978
523643ÿ3ÿ8379489689ÿ254893ÿ897689ÿÿ89ÿÿ5842ÿ/ÿ&889ÿÿ297652ÿ6ÿ4ÿ5282ÿ65ÿ6789
485ÿ65425ÿ0'1ÿ889ÿ5ÿ 8489ÿ2483ÿ9ÿ327887ÿ4ÿ9ÿ325489'5242ÿ44253
234ÿ3ÿ85274ÿ65ÿ4429489ÿ4ÿ42ÿ&ÿ327489ÿÿ42ÿ382ÿ 252ÿ2ÿ2ÿ3ÿ582ÿ65ÿ8972ÿ&252ÿ4ÿ924
259893ÿ9ÿ259893ÿ25ÿ352ÿ46342ÿ4ÿ2762ÿ42ÿ874ÿÿ89498&2ÿ5485489ÿ22932ÿ9ÿ3278ÿ8423
6ÿ2433ÿ7ÿ4ÿ46342ÿ8972ÿ&252ÿ4ÿ&ÿ32294ÿ9ÿ42ÿ485ÿ65425ÿÿ/0/8ÿ65ÿ46342ÿ8972ÿ&252ÿ4ÿ5ÿ42
294255832ÿ3ÿÿ2572942ÿÿ323ÿ8975232ÿ5ÿ88#ÿ4ÿ8!$#ÿ5858ÿ5829ÿ&ÿ5&2ÿ48294ÿ8ÿ89ÿ99482
287892ÿ548ÿ324ÿ&ÿ695&2ÿ5674ÿ8ÿ9ÿ784ÿ89489ÿ89ÿ2%27ÿ99482ÿ287892ÿ5893
852ÿ5ÿ""#ÿ4ÿ""#ÿ5858ÿ5829ÿ&ÿ5&2ÿ48294ÿ8ÿ9ÿ1,9ÿ548ÿ5858485489ÿ2%27ÿ5893
 27892ÿ5ÿ/#ÿ4ÿ/"!#ÿ5858ÿ5829ÿ&ÿ784ÿ89489ÿ9ÿ695&2ÿ5674ÿ8ÿ548ÿ324ÿ&ÿ
 823484652ÿ89
%83ÿ797623ÿ42ÿ323ÿ9ÿ259893ÿ5489ÿÿ42ÿ+939ÿ,ÿ+939ÿ485ÿ65425ÿ523643ÿ3ÿ9ÿ232ÿ4ÿ4659ÿ42
7ÿ25ÿ4ÿ+2ÿ:7ÿ+2;

0      <=>?@Aÿ<CÿD=EF
       (276482ÿG872ÿH5238294ÿ- 82ÿI89978ÿJ8725ÿ4ÿ+939ÿ,ÿ+939
       %97ÿ6ÿ+23387Kÿ9ÿ4973ÿ22592ÿ5ÿ48989ÿ63ÿ4ÿ%83ÿ6542533ÿ7ÿ573ÿÿ92ÿ25ÿ5ÿ+939ÿ,ÿ+939
       84ÿÿ35292ÿ763ÿ9ÿ99482ÿ287892ÿ9ÿ2%27ÿ: 4ÿ3ÿ52892ÿ793834294ÿ83ÿ65ÿ752ÿ9ÿ65
       784294ÿ4ÿ482943ÿ:2ÿ52ÿ58822ÿ4ÿ&68ÿ69ÿ65ÿ8!'25ÿ27ÿÿ47789ÿ42ÿ533ÿ34ÿ72ÿ24752
       72923ÿ9ÿ289ÿ482943ÿ84ÿ325863ÿ6924ÿ24ÿ9223ÿ569ÿ42ÿ5ÿ*3ÿ2ÿ7ÿ55ÿ2ÿ52ÿ2'
       384892ÿ4ÿ5ÿ65ÿ&6389233ÿ9ÿ89942ÿ7533ÿ42ÿ327456ÿÿ24752ÿ:2ÿ52ÿ27842ÿ&64ÿ 433ÿ2ÿ9
        4ÿ2ÿ79ÿ7822ÿ89ÿ42ÿ64652
       L252ÿ2ÿ82ÿ894ÿ65ÿ255972ÿÿ94ÿ4ÿ&582ÿ467ÿ69ÿ425ÿ8423ÿ85494ÿ4ÿ65ÿ&6389233ÿ%2ÿ8534ÿ83ÿÿ&582
       527ÿÿ42ÿM2962ÿ325489ÿ 87ÿ3ÿ525ÿ7242ÿ6589ÿ42ÿ65425ÿ%2ÿ45937489ÿ3ÿ227642ÿ8489ÿ65
       45242ÿ48252ÿ9ÿ6925ÿ&6 24ÿ 82ÿ2925489ÿ38988794ÿ73ÿ9ÿ62ÿ5ÿ65ÿ352253ÿ%56 ÿ42
       325489ÿ2ÿ5832ÿ8/ÿ&889ÿ89ÿ73ÿ57223ÿ4ÿ42ÿM2962ÿ2&4ÿ2589ÿ9ÿHJ
       :232ÿ52672ÿ+939ÿ,ÿ+93933ÿ6434989ÿ352ÿ7694ÿ&ÿ)ÿ889ÿ3523ÿ5ÿ5842ÿ!#ÿ8464ÿ42ÿ632ÿ
       73ÿ9ÿ89ÿÿ4'522ÿ9925ÿ:2ÿ894892ÿ65ÿ7655294ÿ65425ÿ8829ÿ25ÿ352ÿ9ÿ232ÿ524892ÿ5842ÿ0
       889ÿ3523ÿÿM296233ÿ3477ÿ44ÿ5823ÿ73ÿ57223ÿ5ÿ64652ÿ28&884ÿ:2ÿ8ÿ322ÿ42ÿ6ÿ874ÿ4ÿ(HNÿÿ42
       352ÿ5267489ÿ89ÿ/0/"
       *9425ÿ842ÿ559489ÿ7294ÿ83ÿ42ÿ9489ÿ1267489ÿ*74ÿ:2ÿ7948962ÿ4ÿ&2822ÿ42ÿ1*33ÿ5872ÿ324489ÿ583893ÿ52
         89ÿ4ÿ899489ÿ9ÿ8ÿ52294ÿ42ÿ2825ÿÿ45935482ÿ425823ÿ9ÿ76523ÿ4ÿ482943ÿ*3ÿ2ÿ84
       4687489ÿÿ2ÿ5722893ÿ8984842ÿ&ÿ63ÿ9ÿ4253ÿ2ÿ8ÿ36&84ÿÿ5262342ÿ895489ÿ89ÿ78972ÿ84
       -N33ÿ56ÿ5872ÿ324489ÿ3722ÿ4ÿ7948962ÿ365489ÿ4829433ÿ77233ÿ4ÿ65ÿ2878923ÿ44ÿ2ÿ42ÿ34ÿ24ÿ9
       82ÿ925
       89ÿ4ÿ32294ÿ8 8 43ÿ89ÿ42ÿ65425ÿ*3ÿ+23387ÿ52863ÿ352ÿ65ÿ423ÿ28252ÿ3459ÿ523643ÿ89ÿ42ÿ485
       65425ÿ 82ÿ79489689ÿ4ÿ972ÿ65ÿ82892ÿ4ÿ29972ÿ64652ÿ54ÿ:8489ÿ42ÿ99482ÿ287892ÿ&6389233ÿ4
       85494ÿ52645ÿ8234923ÿ252ÿ996972ÿ6589ÿ42ÿ65425ÿN27887ÿ2ÿ527282ÿ(6529ÿ-83389ÿ5
       5ÿÿ52672ÿ&8227ÿ389ÿ526297ÿ5ÿ%(-G*O2ÿ5ÿ288&2ÿ482943ÿ84ÿ5232ÿ9ÿ525745ÿ6482ÿ2
       *9ÿPNÿI9*ÿ9ÿ(6529ÿ-83389ÿ5ÿÿ%*2G(Oÿÿ8534'89'733ÿ&8327887ÿ425ÿ5ÿ42ÿ4524294ÿÿ482943
       84ÿ28ÿ5245242ÿ6482ÿ2
        ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 6 of 18 Trans ID: LCV20233584887
Case 012345672ÿ967693ÿ533ÿ1ÿ341ÿ19615ÿDocument
     3:16-md-02738-MAS-RLS              ÿ31ÿ37ÿ7172422
                                                    41928976
                                                       151715ÿ1Filed
                                                                 17ÿ3102/02/24
                                                                         413672ÿ343Page
                                                                                      9ÿ67929
                                                                                             5672of
                                                                                                 ÿ41221
                                                                                                      1ÿ13PageID:
                                                                                                           Ex.
                                                                                                            415ÿ672
        1ÿ41651763ÿ6ÿ1672ÿ411715ÿ3ÿ1ÿ4137ÿ961ÿÿ15693ÿ792ÿ11672ÿ6ÿ11175ÿ!6262
         6ÿ67951ÿ1ÿ41ÿ4ÿ3ÿ411ÿ31ÿ"ÿ561ÿÿ0#$0%&'(ÿ67ÿ72ÿ937914ÿ6795672ÿ&0)&ÿ&0)&*ÿ375
       &'(!'ÿ&556673ÿ5315ÿ533ÿ4ÿ1ÿ70)1+ÿ5ÿÿ(&0*,,ÿ67ÿ7791ÿ67361ÿ35514ÿ937914ÿ6ÿ1
       3415ÿ3ÿ1ÿ3ÿ1ÿ64114ÿ533ÿÿ(&0*+,ÿ67ÿ3617ÿ6ÿ-.-0ÿ367ÿ/1ÿ3ÿÿ4345ÿÿ4117672ÿ31ÿ*
       533ÿ4ÿ'69363ÿ67ÿ41365ÿ34466ÿ3ÿ1ÿ&146937ÿ0121ÿÿ0132ÿ&773ÿ11672ÿ67ÿ'114ÿ375ÿ31
       34135ÿ37915ÿ3ÿ31ÿ*ÿ967367ÿ5ÿ67ÿ0&
       13ÿ1ÿ37ÿÿ676631ÿ61ÿ967693ÿ51117ÿ4243ÿ4ÿ4ÿ(342115ÿ43ÿ1651ÿ2'2*++"ÿ(6ÿ67951ÿ1
       6766367ÿÿ1ÿ&'(!ÿ31ÿ*ÿ5ÿ67ÿ914361ÿ966ÿ69ÿ6ÿ1267ÿ6ÿ7ÿ375ÿ1ÿ31ÿ"ÿ967693ÿ4243
        615ÿ)0')0ÿ4ÿ35ÿ6ÿ514311141ÿ331ÿ4636ÿ11915ÿÿ1267ÿ67ÿ'114
       672ÿÿ15(19ÿ'31ÿ6262ÿ67ÿ1ÿ33414ÿ67951ÿ62766937ÿ35379117ÿ67ÿ119462ÿ394ÿ4
       0345639ÿ&367ÿ34ÿ/1ÿ4191615ÿ-4&ÿ91343791ÿ4ÿ61ÿ&463ÿ-646367ÿ&367ÿ459ÿ67ÿ4ÿ46ÿÿ1
       15ÿ67ÿ3ÿ4 ÿ6ÿ49ÿ(6ÿ-4&ÿ67569367ÿ6ÿ7631ÿÿ277ÿ5ÿ277ÿ375ÿ6ÿ3ÿ62766937
       35379117ÿ141ÿ93412614ÿ375ÿ3617ÿ341ÿ7ÿ115ÿÿ34ÿ4941315ÿ4356367ÿ54672ÿ164ÿ9345639
       3367ÿ491541ÿ)ÿ3ÿ3 ÿ4ÿ1ÿ413ÿÿ13135ÿ41961ÿ13617ÿ3ÿ3ÿ135ÿÿ41569
       969367ÿ4ÿ9341ÿ13
       )7ÿ15ÿ-615ÿ&367ÿ1ÿ31ÿ9115ÿ4ÿ967693ÿ463ÿ67ÿ41ÿ375ÿ615ÿ4ÿ0ÿ34ÿ4ÿ4ÿ%&0)61
       03114ÿ/1ÿ119ÿ1ÿ9167ÿ4ÿ4ÿ6ÿ%&0)61ÿ5ÿÿ994ÿ67ÿ1ÿ4ÿ33414ÿ/1ÿ341ÿ3ÿ6371
       35379672ÿ967693ÿ561ÿ4ÿ ÿ3556673ÿ15ÿ-615ÿ&367ÿ93114ÿ1ÿ(-ÿ43ÿ7142ÿ03114ÿ9331ÿ
       51614672ÿÿ-ÿ375ÿ0-ÿ17142ÿ42ÿ1ÿ31ÿ516917ÿ375ÿ'#61ÿ3ÿ34216ÿ93ÿ93114
       $175ÿ19462ÿ1ÿ31ÿ9115ÿ17417ÿ67ÿ1ÿ&615ÿ)13ÿ0ÿ967693ÿ5ÿ3ÿ37534ÿ63ÿ463
       5162715ÿÿ517431ÿ1ÿ31ÿ375ÿ16939ÿÿ1ÿ)13ÿ0ÿ54672ÿ6246ÿ0)ÿ491541ÿ)13ÿ0ÿ6ÿ1
         458ÿ31ÿ134ÿÿ375ÿ1ÿ7ÿ134ÿÿ9361ÿ6ÿ3ÿ41ÿ3991ÿ375ÿ941ÿ197631ÿ/61ÿ7ÿ3
       967693ÿ35379117ÿ1ÿ31ÿ3ÿ317ÿ1ÿ67ÿ1ÿ33414ÿÿ641ÿ15(198ÿ41ÿ34267ÿ461ÿ6117672ÿ3
       41494672ÿ4243ÿ5162715ÿÿ66ÿ375ÿ9ÿ1ÿ14367ÿÿ4ÿ41569ÿ671ÿ&ÿ34ÿÿ6ÿ 134
       4243ÿ1ÿ119ÿÿ16ÿ914367ÿ341ÿ375ÿ459ÿ671ÿ394ÿ3ÿ671
       /1ÿ3769631ÿ1ÿ414ÿ51ÿ41171ÿ56467ÿ67ÿ41569ÿÿ34631ÿ9*:,ÿ667ÿ67ÿ3ÿ14ÿ1ÿ71
          ÿ134ÿ2617ÿ1ÿ341ÿ375ÿ459ÿ671ÿ16ÿ$ÿ1611ÿ11ÿ3967ÿ6ÿ641ÿ4ÿ366ÿÿ11ÿ51375ÿ41672
       67ÿ399114315ÿ24 ÿ375ÿ1737915ÿ46366ÿ(1ÿ4243ÿ6ÿ11915ÿÿ1ÿ9115ÿÿ1ÿ175ÿÿ*,*:ÿ6ÿ3
       4243ÿ9ÿ16315ÿÿ1ÿ1 117ÿ9;,,ÿ667ÿ375ÿ9<,,ÿ667
       118ÿ7 ÿ47ÿÿ93ÿ375ÿ9363ÿ39367ÿ/1ÿ17515ÿ1ÿ645ÿ33414ÿ6ÿ34631ÿ9*=ÿ667ÿÿ93ÿ375
       34131ÿ194661ÿ375ÿ34631ÿ9",ÿ667ÿÿ51ÿ4ÿ3ÿ71ÿ51ÿ667ÿÿ9>ÿ667ÿ-411ÿ93ÿ ÿ134531
        42ÿ1ÿ645ÿ33414ÿ3ÿ34631ÿ9+*ÿ667ÿÿ4ÿ1ÿ9:ÿ667ÿ1ÿ41415ÿ134531ÿ67ÿ1ÿ1975ÿ33414
       ÿ*,*"
       4ÿ9363ÿ39367ÿ464661ÿ41367ÿ7937215ÿ/1ÿ6ÿ97671ÿÿ1191ÿ3ÿ431269ÿ375ÿ56966715ÿ3439ÿ66?672
       4ÿ472ÿ94156ÿ461ÿ375ÿ4ÿ411ÿ93ÿ ÿ21714367ÿÿ46466?1ÿ976715ÿ67117ÿ67ÿ4ÿ671ÿ679413672
       5665175ÿ7ÿ37ÿ3773ÿ36ÿ119672ÿ431269ÿ671ÿ51117ÿ6766361ÿ4ÿ67423769ÿ24 ÿ375ÿ119672ÿ341
       414931ÿ17ÿ344631
       672ÿ7ÿÿ4ÿ*,*"ÿ2653791ÿ531ÿ$315ÿ7ÿ1ÿ472ÿ41ÿ5161415ÿ67ÿ1ÿ33414ÿ375ÿ1ÿ64ÿ7671ÿ7ÿÿ6
       134ÿ337915ÿ6ÿ37715ÿ67117ÿ67ÿ1ÿ4ÿ33414ÿ1ÿ341ÿ436672ÿ1ÿ43721ÿ4ÿ134ÿ31ÿ375ÿÿ2653791
       /1ÿ7 ÿ119ÿ143673ÿ31ÿ24 ÿ4ÿ1ÿÿ134ÿ*,*"ÿÿ1ÿ67ÿ1ÿ43721ÿÿ<:@ÿÿA,@ÿ4ÿÿ9>,,ÿ667ÿ3ÿ1
       6567ÿ67ÿ1ÿ43721ÿÿ9<==ÿ667ÿÿ9<=<ÿ667ÿ7ÿ3ÿ9737ÿ944179ÿ36ÿ375ÿ35B15ÿ143673ÿ31ÿ24 ÿ67
        1ÿ43721ÿÿ;*@ÿÿ;;@
       2ÿ3ÿ4167514ÿ4ÿ31ÿ2653791ÿ97671ÿÿ1951ÿ37ÿ0%)4+Aÿ399671ÿ41171ÿ/61ÿ1ÿ5ÿ7ÿ1931ÿ7ÿ41
       944179ÿ117ÿ66?672ÿ1ÿ14ÿÿ431ÿ3ÿÿ3ÿ11ÿ3ÿ9+,>ÿ1ÿ7 ÿ3769631ÿ37ÿ67941173ÿ712361
       944179ÿ639ÿÿ9=,,ÿ667ÿ41672ÿ67ÿ3ÿ134ÿ639ÿÿ712361ÿ+@ÿ4ÿ9<,,ÿ667
       1672ÿ394ÿ1ÿ51ÿ&5B15ÿ413ÿ143672ÿ34267ÿ6ÿ6ÿ11915ÿÿ641ÿÿ34631ÿ:,ÿ36ÿ67
       14ÿ464ÿ134ÿ54617ÿÿ47214ÿ34267ÿ461ÿ375ÿ671ÿ6ÿ'1ÿ14ÿ6791ÿ6ÿ3ÿ1672ÿ36736715ÿ4372672ÿ4
       9+;ÿ667ÿÿ9+Aÿ667ÿ41ÿÿ6214ÿ67141ÿ431ÿ134715ÿ7ÿ4ÿ93ÿ1ÿ7 ÿ119ÿ71ÿ67141ÿ6791ÿ67ÿ1ÿ43721ÿ
           ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 7 of 18 Trans ID: LCV20233584887
 Case 6788ÿ'$$ÿÿ6988ÿ'$$(
      3:16-md-02738-MAS-RLS         Document 28976 Filed 02/02/24 Page 30 of 221 PageID:
                                          172423                                 Ex. 2
         ÿ2$$-ÿ&ÿÿ"* ÿ:ÿ$1-ÿ*ÿ'ÿ2ÿ.ÿ22"ÿ:ÿÿ2ÿ;8;7ÿ1$$ÿ&ÿ&1ÿ<=(8>ÿÿ<=(=>(ÿ3.
          ÿ'ÿ$ÿÿÿ"ÿÿ*ÿ?*ÿ!$ÿ#ÿ!ÿ.ÿ#*"ÿ&ÿ68(<8ÿÿ.ÿ'!(
         @*ÿ1ÿ#ÿÿ6<8(8;ÿÿ6<8(8A-ÿÿ<;(=>ÿ#1.ÿÿ.ÿ'!ÿÿ?*ÿ!ÿ#ÿ!ÿ.ÿÿ.ÿ#ÿ2
         6<8(8Bÿÿ6<8(<7-ÿÿ<7>ÿ#1.ÿÿ.ÿ'!(
         5"ÿC*-ÿ1/ÿ&ÿ&$ÿÿ"ÿ*ÿ#*"ÿ.*#.*ÿ.ÿÿ2ÿÿ"*'*$ÿ'!"ÿ2ÿ67ÿ&$$ÿ
         !$ÿ$ÿÿ68(;=ÿÿ?*ÿ!$ÿ#ÿ!ÿ.-ÿ1.".ÿ"$*ÿ&&#ÿ68(<8ÿ2ÿ*ÿ$"#ÿ$
         1.ÿD$$*$ÿ)'"ÿ0*!ÿ*"ÿÿ.ÿ"ÿ4*ÿ2ÿ;8;7(
         E1-ÿFÿ!!"ÿ.ÿ'ÿ2ÿ*ÿÿ*#ÿ*ÿÿÿ;8;9-ÿÿ*ÿ'ÿÿ"$ÿ2$G#ÿ*ÿ!$ÿ2ÿ:
         (ÿ+.ÿ.ÿ":-ÿ$$1ÿ'ÿÿ!ÿ'ÿ!$'ÿ!!"ÿ2ÿ*ÿÿ"(
         HÿFÿ"-ÿ1ÿ'ÿ"2ÿÿ*ÿ&$ÿÿ$ÿ#1.ÿ2'ÿ,ÿ&ÿÿ"!ÿ"*
         !#ÿ2'ÿ*ÿ1$ÿ$*".ÿ!*"-ÿ$$ÿ"#ÿ*ÿ&*ÿ!!$ÿ1.ÿ'ÿ:"#ÿÿ*-ÿ2$#ÿ
         !!$ÿ.ÿ2ÿ*(ÿ3.ÿ"$*ÿÿ!ÿÿ#*$ÿ*&'ÿ2ÿ3IJHKÿÿF)L-ÿ!#ÿ
         2'ÿ*ÿM.ÿ7ÿ*ÿ2ÿE!"$'&ÿÿ.ÿ0-ÿÿ*ÿ2'ÿ1ÿM.ÿ7ÿJINJLÿ$ÿÿ$O#
         !ÿ""(ÿ+ÿÿÿ:!"ÿ.ÿÿ2ÿ53JNIÿ&'$ÿÿ.ÿPÿ5ÿ*#ÿ;8;9(ÿQ1-ÿÿÿ'-
         53JNIÿÿ.ÿÿ"'!ÿ2ÿ'ÿ!ÿ:!ÿÿ'O;8;9ÿÿJ*!(
         Hÿ3".-ÿ1ÿ:!"ÿ*ÿ"''"$ÿ"!&$ÿÿ"*ÿ!ÿ2ÿ"$ÿ$*".ÿ!*"ÿ"ÿ$$
         3".ÿ&*ÿ1$$ÿ"*ÿÿÿ*ÿ#1.ÿÿ'!ÿ"'!-ÿ1.$ÿ"*#ÿÿ"ÿ*ÿ!!$
         !#'-ÿ"$*#ÿÿÿM*$ÿH$ÿ&$-ÿ&'ÿÿ5*#"$ÿI&"(ÿ+ÿ:!"ÿ!"*ÿÿ;8;9ÿ
          'ÿ"ÿ1.ÿ$ÿ;8;7ÿ$$(
         +.ÿ!"ÿÿ:-ÿÿ*ÿ'ÿ&ÿ1-ÿ.ÿJ*!ÿPÿ''&ÿÿÿÿ.ÿ!"ÿ2ÿ"#ÿ.ÿJP/ÿM$$ÿ;
         L"-ÿ1.".ÿ#$$ÿ!ÿ2ÿÿ<=>ÿ''*'ÿ:ÿÿÿ&$.ÿ&ÿ.ÿ@JDLÿM$$ÿ;ÿH'1,(ÿ3.ÿ2ÿJP
         22"ÿÿ2ÿ"ÿ!"ÿ2ÿ.ÿ$1ÿÿC*ÿ<-ÿ;8;9(ÿÿÿ*$-ÿ1ÿ"* $ÿ'ÿÿ*!ÿÿÿ<>ÿ:ÿ
         "ÿÿ;8;9(ÿFÿ-ÿ.ÿP5ÿ3*/ÿ"* ÿ!!"ÿÿM$$ÿ;ÿ1$$ÿ&ÿ.'2*$ÿÿÿ$ÿÿ.ÿ'ÿ2
         P5ÿ"ÿ2ÿÿÿ1$$ÿ*$ÿÿP5O&ÿ'*$$ÿ"'!ÿ!#ÿ'ÿ:ÿ*ÿÿ2#
         #'(
         I##ÿ.ÿ"*ÿ#ÿ.ÿR*ÿ!-ÿ.ÿ2*$$ÿ&2ÿ2ÿ.ÿ!!:'$ÿ6<S<ÿ'$$ÿÿ.ÿ*"ÿ
         C.ÿTÿC.ÿ.ÿ*#ÿ2'ÿ.ÿ:".#ÿ22ÿ1$$ÿ&ÿ2$"ÿÿ*ÿ;8;9ÿ2"$(
         -ÿ2$$-ÿ1.$ÿ1ÿ/ÿ!"*$ÿÿ2**ÿ"* "ÿ'!"-ÿ*$G#ÿ.ÿ"* ÿ*ÿ!ÿÿ1*$ÿ$ÿ
         !!:'ÿ68(<=ÿ#ÿ"* "ÿ'!"ÿÿ;8;9ÿ2*$$Oÿ?*ÿ#ÿ!ÿ.(
         +ÿÿ!$ÿ1.ÿ*ÿ#ÿ!2'"ÿ*#ÿ.ÿ2ÿÿ'.ÿ2ÿ.ÿÿÿ.ÿ!ÿ''*'ÿÿ1
         'ÿÿ;8;9(ÿ+ÿ$,ÿ21ÿÿ.#ÿ'ÿ&*ÿ.ÿ#.ÿ2ÿ*ÿ&*-ÿ!'ÿ2ÿ*ÿFÿ"ÿ
         3".ÿ!!$-ÿÿ.ÿ$#O'ÿ#ÿ2ÿC.ÿTÿC.ÿÿ*ÿ*!"'#ÿ!ÿ&*ÿ1ÿ
         L"'&ÿ=.ÿÿ.ÿE1ÿK,ÿ5",ÿJ:".#(ÿÿ2'-ÿ"$*#ÿÿ1ÿ2ÿ.ÿ/ÿ".*$-ÿ1$$ÿ&ÿ.
         .$(ÿ+ÿ.!ÿ*ÿ1$$ÿ&ÿ&$ÿÿ?ÿ*ÿ.ÿÿ!ÿÿÿ.ÿ$&$ÿ1&"(
         Fÿ1ÿÿ""$*ÿ'ÿ',ÿ&ÿ.,#ÿ*ÿ'ÿ*ÿ.ÿ1$ÿ2ÿ.ÿ"*ÿ.ÿ1,ÿÿ*1#
         "'''ÿÿ:"$$"ÿÿ&.$2ÿ2ÿ*ÿ!(ÿ+ÿÿ"2ÿ.ÿ*ÿ#ÿ1$$ÿ!ÿ*ÿÿ$ÿ$#O'
         #1.ÿÿ"ÿ#2"ÿ$*ÿ2ÿ*ÿ..$(
         +.ÿ.-ÿ/ÿ'ÿ!$*ÿÿ*ÿÿRÿÿ&#ÿ.ÿUTÿ!ÿ2ÿ.ÿ"$$(

01ÿ3456ÿ78955ÿ4 ÿ
ÿÿ!"ÿ#$ÿÿÿ%&#%ÿ'(ÿ)*ÿ""#ÿÿ+,-ÿ./ÿÿ#ÿ.#(ÿ0$ÿ.$!ÿÿ$!
*$ÿÿÿ!ÿ1$.ÿÿ"ÿÿ.#ÿ#ÿ2$(ÿ3-ÿ./ÿÿ*4*ÿ1ÿÿÿÿ#$-ÿ1.ÿ$ÿ#
ÿ"ÿÿ'#ÿ",(
5ÿ1.ÿ.ÿ"*$ÿ&ÿÿ.*#ÿ*!!ÿ#$
            ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 8 of 18 Trans ID: LCV20233584887
012345673ÿ97 ÿ73 23
 Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 31 of 221 PageID:
                                  172424                                 Ex. 2

    
     ÿÿ!"#$%&%ÿ'(&%)&*(+ÿ"%ÿ,*%(&ÿ-$(&*ÿ*(ÿ).*/ÿ,%.ÿ01*2ÿ3*(*/$%ÿ,%.ÿ4$$%*ÿ5%&$%(ÿ6%ÿ7*$ÿ*(ÿ8
          7*1$

  9:;<ÿ>;?;@A                                                                                                                        
  B7(&ÿ&ÿ4$$%*ÿ5%&$%(
  (ÿ1$%ÿ.)ÿ,%ÿ&*/ÿ.ÿ-$(&*Cÿ2ÿ)/%&(ÿÿ&$ÿ(&%/ÿ,*)*7ÿ#$%,%.)$ÿDCÿ.ÿ-$(&*ÿ*(ÿ
  E$).%*/ÿFB3'5"DBÿ%$(7&(Cÿ#7$($ÿG72ÿÿ(%$ÿ%ÿ&/&(ÿÿ$ÿ)(*2$%&*(Cÿ*)72*/ÿB(&%H$$)I(
  %$)$&ÿJ4BK3BLÿ%$(7&(Cÿ8*)ÿ*)72$2ÿÿ*$M.&ÿ5JDÿE$$,*&Nÿ(ÿ1$%ÿ.)

         OP@ÿQRÿ><
          ST$)&*1$ÿU*)$ÿ5%$(*2$&Cÿ5%.)$&*)7(Cÿ3V0ÿ&ÿW(ÿVÿW(
          X*ÿWÿ3$$2ÿ$%$ÿ'&I(ÿ/%$&ÿ&ÿY*ÿ&$ÿ)77ÿ*(ÿ*(ÿ.ÿ,*%(&ÿ&*.$ÿ(ÿÿ$8).$%ÿ&ÿWVWÿB2ÿE$,%$ÿ'ÿ(8$%ÿ%ÿ-$(&*C
          01*2Cÿ'ÿ872ÿY(&ÿ7*$ÿ&ÿ(ÿ'ÿ1$ÿ&ÿ&$77ÿÿ'I.ÿ%$77ÿ$Y*/ÿE$*/ÿÿ$8ÿ.$.E$%ÿ,ÿ&$ÿWVWÿ&$.ÿ'I1$ÿ%$77ÿE$$
          *.#%$(($2ÿ8*&ÿ&$ÿ)7&%$ÿ*(#*%$2ÿEÿ%ÿ)%$2ÿ8*&ÿ&$ÿ)7*E$%ÿ,ÿ%ÿ&7$&Cÿ%ÿ#$#7$ÿ$%$ÿ&ÿWVWCÿ2ÿ8*&ÿÿ%$77ÿ(&%/
          #$%,%.)$ÿ,ÿ&$ÿ#*#$7*$
          Z$I1$ÿ7%$2ÿ7)$2ÿ&8ÿ[FS(ÿ&*(ÿ$%CÿB\SS]Bÿ,%ÿ#%(&&$ÿ))$%ÿ2ÿB4US6ÿ,%ÿ.$7.ÿ)&**/ÿ%ÿ&%2*&*ÿ*
          E%*/*/ÿ$8ÿ&$%#*$(ÿ2ÿ&($ÿ/$&(ÿ2ÿ8$I%$ÿ#(*&*$2ÿ&ÿ2$7*1$%ÿÿ1$%/$ÿ,ÿ.%$ÿ&ÿ&8ÿ[FS(ÿ#$%ÿ$%
          E$&8$$ÿ8ÿ2ÿ&$ÿ)7($ÿ,ÿ&$ÿ2$)2$ÿL^_^ÿDCÿ&$ÿ#*#$7*$ÿ*(ÿ1$%ÿ%E(&Cÿ2ÿ*&I(ÿ$T)*&*/ÿ&ÿE$ÿ$%$ÿ2ÿ&ÿE$ÿÿ#%&ÿ,
          *&
          DCÿÿ&ÿ%ÿ-$(&*Cÿ&$ÿ2&ÿ8*77ÿE$ÿ#%$($&$2ÿ&ÿSDF"ÿ*ÿÿ5%$(*2$&*7ÿ($((*ÿDCÿ8$ÿ%$ÿ$.E%/$2ÿ&*7ÿ&$
          BE(&%)&(ÿ8*77ÿE$ÿ1*7E7$ÿÿZ$2$(2ÿ'ÿ)ÿ7ÿ(ÿ&&ÿ&$ÿ36`3SUB[M4a$%&**Eÿ).Eÿ2*2ÿ#$%,%.ÿ8$77ÿ$2M&M
          $2ÿ/*(&ÿ"(*.$%&**Eÿ"%ÿ%$/*.$ÿ*(ÿÿ)$.M,%$$ÿ#&*ÿ,%ÿ#&*$&(Cÿ8*)ÿ8$ÿ&*ÿ*(ÿ*.#%&&Cÿ2ÿ8$I77ÿ#%$($&
          &($ÿ2&ÿ&ÿSDF"

         
          ÿÿ[$T&ÿ-$(&*ÿ&2ÿ).*/ÿ,%.ÿF&&ÿF*(*)ÿ,%.ÿ̀%)7(ÿ6%ÿ7*$ÿ*(ÿ8ÿ7*1$

  bÿb;c?;d                                                                                                                           
  B7(&ÿ&ÿ̀%)7(
  X*ÿ(ÿ(ÿ.)ÿ,%ÿ&*/ÿ&$ÿ-$(&*ÿDCÿ'ÿ&*ÿ.(&ÿ,7(ÿ.ÿ7ÿ&ÿ&$ÿ"%&#$2*)ÿ%$(7&(ÿ*ÿ.$2*)7ÿ2$1*)$(
  .E$ÿE$*/ÿÿ7*&&7$ÿE*&ÿ(,&$%M&M$T#$)&$2ÿB2ÿ'ÿ8ÿ&&I(ÿ&ÿ$1$%&*/ÿEÿÿ7/ÿ(&ÿ,%ÿWVWÿ̀&ÿ/*1$ÿ&$
  $T#$)&&*(ÿ8$%$ÿ,%ÿ*2ÿ,ÿ)&*$2ÿ(&%$/&ÿ$2*/ÿ*&ÿe_Cÿ*,ÿÿ)72ÿ&7ÿ.E$ÿÿ7*&&7$ÿE*&ÿE&ÿ%ÿ)..$&ÿ
  .%$ÿ&%2*&*7ÿ($(7*&ÿ2ÿ&/&(ÿÿ&$ÿ((&*E*7*&ÿ,ÿ&&ÿ(&%$/&Cÿ(ÿ8$77ÿ(ÿ&$ÿ(%&ÿ,ÿ2*1$(&*&%$ÿ2ÿ(%&ÿ,
  %$7*/.$&ÿ#7CÿW$Cÿ&&ÿÿ2$()%*E$2Nÿ(

         Ofg;@ÿ9g
          G*%.ÿ2ÿG*$,ÿST$)&*1$ÿ",,*)$%ÿ&ÿW(ÿVÿW(
          DCÿ&ÿÿ,%ÿ&$ÿ-$(&*ÿB2Cÿ$Cÿ'ÿ.$Cÿ%ÿ%$(7&(ÿ*ÿ"%&#$2*)(ÿ8$%$ÿLhiÿ/%8&ÿ1$%77ÿB2ÿ#%&ÿ,ÿ*&Cÿ(ÿ
          .$&*$2Cÿ*(ÿ2%*1$ÿEÿ($(7*&ÿB(ÿ8$ÿ1$ÿ)..$&$2Cÿ8$ÿ%$ÿ*ÿÿY%$ÿ,ÿ*.#%1$.$&ÿ*ÿ"%&#$2*)(ÿZ$ÿ8&ÿ&
          E$ÿ.E$%ÿ$ÿ2ÿ.E$%ÿ&8ÿ*ÿ$1$%ÿ($/.$&ÿ8$ÿ).#$&$ÿB2ÿ&&ÿ*(ÿÿ#7)$ÿ8$%$ÿ8$ÿ%$ÿ&ÿ&$%$ÿ$&CÿE&ÿ8$ÿ%$ÿ1$%
          ),*2$&ÿ&&ÿ8$ÿ%$ÿ/*/ÿ&ÿ)&*$ÿ&ÿ.$ÿ*.#%1$.$&(ÿEÿ*1$(&*/ÿ2ÿEÿ/%8*/ÿ*ÿ&$ÿ*/$(&ÿ/%8&ÿ($/.$&(
          Z$ÿ1$ÿ.2$ÿ*.#%1$.$&(ÿ*ÿ%ÿ#%&,7*ÿJ%ÿ$T.#7$Cÿÿ&$ÿ\$$(ÿ(*2$ÿZ$ÿ1$ÿÿ.%$ÿ).#7$&$ÿ#%&,7*ÿ8ÿÿ&$
          3$1*(*ÿ(*2$Cÿÿ&$ÿG$.$&7$((ÿ(*2$ÿZ$ÿ%$ÿ7)*/ÿ8ÿ%ÿUS46Dÿ"%&#$2*)(Cÿ&&7ÿ%E&ÿMMÿ&&7ÿ$$ÿ(%/$%
          %$#7)$.$&ÿ*ÿS%#$ÿB2ÿ8$ÿ7%$2ÿ1$ÿE&ÿ_^C^^^ÿ#%)$2%$(ÿ&&ÿ1$ÿE$$ÿ#$%,%.$2ÿ8*&ÿ%ÿUS46Dÿ%E&*)
          ((&$.
        ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 9 of 18 Trans ID: LCV20233584887
Case 23456778ÿ4ÿ654ÿ 546 ÿ5ÿ4456Document
                                        ÿ67ÿÿ4ÿ172425
                                                    28976
                                                      8ÿ ÿÿ6Filed
                                                                 ÿ6502/02/24
                                                                          ÿ44Page
                                                                                   8ÿ6ÿ4ÿ32
                                                                                          44ÿof5ÿ221
                                                                                                    4556
                                                                                                          Ex.42
     3:16-md-02738-MAS-RLS                                                                                PageID:
        4ÿÿ534ÿÿ4ÿÿ6ÿ7677ÿÿÿ65765ÿ!65458ÿ4ÿ67ÿ6ÿ4ÿ6ÿ4ÿÿ4ÿ6ÿÿ3674
       64ÿ5544ÿÿ 6ÿ6ÿ67ÿ464ÿÿ4ÿ6ÿÿ4ÿ"6ÿ6 ÿ6ÿ6ÿ44ÿ67546ÿÿ4
       54654ÿ5465#
       8ÿ3456778ÿÿ254 8ÿ4ÿ654ÿ445 4ÿÿ4ÿ5ÿ$54ÿÿ5344ÿ%4ÿ654ÿ ÿÿ63 ÿ4ÿ5
       57ÿ%4ÿ634ÿ6ÿ345ÿ5ÿ46ÿÿ4ÿ47ÿ 8ÿ6ÿ&4ÿ6ÿ6  48ÿ6ÿ&4ÿ6ÿ4ÿÿ68ÿ4ÿ634ÿ6ÿ76
       ÿ4ÿ674ÿÿ4ÿÿ534ÿ5ÿ65 ÿÿ254 

0      '()*+,ÿ'.ÿ/(01
       23434ÿ4 4ÿ55448ÿ4ÿ6 6 67ÿ245ÿ6ÿ&ÿ7ÿ&
       846ÿ&ÿ345ÿ! #78ÿ96ÿ:6#ÿ5ÿ4ÿ!4ÿ%ÿ544ÿÿ4ÿ5455ÿ556ÿ6ÿ4ÿ6  4
       4 677ÿÿ254 8ÿ4;54ÿ7# ÿÿ43ÿ4ÿ74ÿ5674ÿ65#4ÿ6ÿ5ÿ74ÿ8ÿ4;77ÿ634ÿ48ÿ746578
         345ÿ54 ÿ6ÿ6ÿ547ÿÿ6ÿ2345ÿ4ÿ43ÿÿ4658ÿ454ÿ 77ÿ4ÿ4ÿ4ÿ54344ÿ58ÿÿ4
       6677ÿÿ #ÿ44ÿ6ÿÿ7ÿ6 474564ÿ5 ÿ ÿ5658ÿÿ 77ÿ534ÿ567

1      <+*=>?(=
       :6#ÿÿ@43ÿ!4ÿÿ ÿ5ÿ5ÿ6 ÿ5ÿA76ÿ6ÿ85ÿ74ÿÿ ÿ734

B,=C)ÿD,CEF?>GC                                                                                                        0
 67ÿ6ÿ:4ÿA76ÿ6ÿA5
A546ÿ:6#ÿÿ345ÿÿ6ÿÿ534ÿÿ ÿ4ÿÿÿ64ÿÿ4ÿ67ÿ76ÿ54Hÿ ÿ48
478ÿÿÿ7ÿ$ÿ48ÿ&48ÿÿ4ÿ4ÿ5ÿ356 ÿ76ÿ4ÿ ÿ5ÿ644ÿ5ÿ 4ÿ43474
5 4ÿI ÿ4ÿ6ÿ5ÿ6ÿ77ÿÿ45ÿÿ5ÿ644ÿÿ4ÿ54Hÿ:6#ÿ

0      '()*+,ÿ'.ÿ/(01
       23434ÿ4 4ÿ55448ÿ4ÿ6 6 67ÿ245ÿ6ÿ&ÿ7ÿ&
       I4ÿ8ÿ25#8ÿÿ;ÿÿ5ÿÿ345ÿÿÿÿÿ4ÿ67ÿ76ÿ6458ÿ6ÿ4ÿ;77ÿ4ÿ6#ÿ6ÿ6 45ÿ5;
       4ÿ!4H

0      J=C1ÿK>>)
       %57 4ÿ4 4ÿ5544ÿÿL6ÿ6ÿ&ÿ7ÿ&
       A546ÿ:6#8ÿ&4ÿ:4ÿ5ÿ6 45ÿÿ6ÿ4ÿ4ÿÿ54ÿ4ÿ554ÿ564ÿ6ÿ4ÿ 64ÿ6#ÿ
       &7ÿ8ÿ74ÿ4ÿ! #7ÿ65M4ÿ4ÿ55ÿ6ÿ7ÿ4ÿ477ÿ6ÿ43474ÿ6ÿ456ÿ6 64ÿ4
       77 ÿ!4ÿ6ÿ67
       8ÿ4ÿ5ÿ58ÿ4ÿ654ÿ5 ÿ4ÿ6467ÿ5ÿÿ4ÿ544ÿ5ÿÿ4ÿ 4ÿ64ÿÿ4ÿ&7ÿ57ÿÿ4
       @4 ÿ&454ÿN6#5ÿ5ÿ6ÿ4ÿL:L;ÿ6#5ÿ64ÿ@678ÿ5ÿ6467ÿ5447ÿ6ÿ$ 4ÿÿ 7
       54544ÿ4ÿ36ÿ6$5ÿÿ4ÿ67ÿ766ÿ78ÿ4546458ÿ4ÿN6#5ÿ5ÿ454ÿ4ÿ64ÿ5ÿ6ÿ54
       6467ÿÿ4ÿ:5ÿ5ÿ6 ÿ4ÿO5ÿ58ÿ464ÿ4ÿN6#5ÿ5ÿÿ6ÿ4ÿ6467ÿ564ÿ645ÿ
        6ÿ7ÿ4548ÿ4ÿ547ÿÿ ÿ7ÿ645677ÿ636 4ÿ4ÿ554ÿÿ4ÿ648ÿ6ÿ4ÿ77ÿ6544ÿ 
       6ÿ644
       2 ÿ4ÿ458ÿ4ÿ6467ÿ67744ÿÿ4ÿ3678ÿ6ÿ477ÿ6ÿ4ÿ676ÿÿ4ÿ347ÿ665ÿ6ÿ6ÿ4ÿÿ4
       :5ÿ5ÿ6ÿ54!54ÿ6ÿ ÿ8ÿ!48ÿ464ÿ6 67ÿ548ÿÿ544ÿ ÿ4ÿ6#5ÿ64ÿ:6
        464ÿ6 67ÿ54ÿ54!5448ÿ ÿ4ÿ:5ÿ5ÿÿÿ4 677ÿ44ÿÿ 454ÿÿ4ÿ6#5
        48ÿ6ÿÿ565ÿÿ4ÿ665ÿ6ÿ654ÿ74ÿÿ45ÿ5ÿ9543458ÿ45ÿ6ÿ546674ÿ45546ÿÿ6
       6658ÿ4ÿ47434ÿ4ÿ545ÿ6ÿ77ÿ4674ÿ6ÿL:Lÿ64ÿ464ÿ6 67ÿ54ÿ4ÿÿ4ÿ7654ÿ374ÿ
       67ÿ76ÿ6ÿ454ÿ6454ÿ66 ÿ
        ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 10 of 18 Trans ID: LCV20233584887
Case 1
     2ÿ45678ÿ9ÿ472 ÿ45ÿ6ÿ64ÿ9Document
     3:16-md-02738-MAS-RLS              ÿ65ÿ4ÿ2ÿ7975
                                                        24ÿ545Filed
                                                       28976      6ÿ4ÿÿ02/02/24
                                                                          45ÿ45ÿ654ÿPage
                                                                                          5ÿ9633
                                                                                                  ÿ294ofÿ1ÿ221
                                                                                                            4ÿ958PageID:
                                                                                                                  ÿEx.
                                                                                                                   5 2
       554ÿ652ÿ49ÿ45ÿ5ÿ956ÿ45ÿ254ÿ95ÿ9ÿ79248ÿ4ÿÿ5892ÿ2ÿ45ÿ56!ÿ475675ÿ"2ÿ585ÿ5ÿ9
                                                     172426
       2445ÿ45ÿ6ÿ64ÿ676ÿ 67ÿ45ÿ492ÿ9ÿ48ÿ84268ÿ5ÿÿ77545ÿ4565456ÿ65#584ÿ45
       $6575ÿ964ÿ49ÿ65895ÿ45ÿ64ÿ84ÿ2ÿ55ÿÿ45ÿ6ÿ64%8ÿ295ÿ69ÿ8ÿ2ÿ69645ÿ8426ÿ96
       52ÿÿ79492ÿ49ÿ8788ÿ5ÿ9ÿ294ÿ42ÿ4ÿ8ÿ&5ÿ95ÿ49ÿ8#55'5ÿ45ÿ8565ÿ54492ÿ49ÿ45ÿ$6575ÿ964ÿ249ÿ45ÿ684
       4567ÿ2ÿ!ÿ(4ÿÿ294ÿ5ÿÿ685ÿ4ÿ2ÿ45ÿ8592ÿ4567
       5ÿ8592ÿ692ÿ9ÿ96ÿ84645ÿ2958ÿ962ÿ4ÿ45ÿ92ÿ656585242ÿ45ÿ84ÿ7)964ÿ9ÿ45ÿ4ÿ7248ÿ7965
       42ÿ5ÿÿ6598ÿ44ÿ565ÿ92ÿ4ÿ8ÿ92ÿ4ÿ45ÿÿ2ÿ2ÿ492ÿ49ÿ45ÿ465ÿ78%ÿ65658524458ÿ"2
       495456ÿ4ÿ45ÿ92ÿ2ÿ45ÿ465ÿ78ÿ65658524458ÿ5%65ÿ682ÿÿ928528ÿ6589492ÿ9ÿ45ÿ4ÿ78
       469ÿ29456ÿ264ÿ"2ÿ44ÿ8ÿ54ÿ4ÿ45ÿ(264ÿ964ÿ45ÿ*5ÿ+5685ÿ(264ÿ964ÿ65ÿ2
       84692ÿ65977525ÿ44ÿ5ÿ9ÿ2ÿ48ÿ5892ÿ44ÿ4ÿ87885ÿ45ÿ85ÿ"2ÿ45ÿ*5ÿ+5685ÿ964ÿ75ÿ4985
       65977524928ÿ2ÿ92ÿ44ÿ,,ÿÿ75ÿ65765ÿ696588ÿ4968ÿ2ÿ5#45ÿ2ÿ5 524ÿ6589492ÿ4945
       $9ÿ5ÿ65ÿ92422ÿ92ÿ2ÿ44ÿ69588
       12ÿ45678ÿ9ÿ472ÿ92ÿ45ÿ8592ÿ692 ÿ45ÿ928528ÿ6589492ÿ8ÿ92ÿ45ÿ875ÿ46)5496ÿ8ÿ45ÿ24ÿ264ÿ2
       4ÿÿ945ÿ5545ÿ2ÿ45ÿ254ÿ8ÿ79248ÿ49ÿ5456725ÿ5456ÿ45ÿ65#845ÿ8567)964ÿ9ÿ7248ÿ8964ÿ45ÿ2
       6ÿ5ÿ4985ÿ25944928ÿ65ÿ69552 ÿ5ÿÿ92425ÿ49ÿ 9698ÿ552ÿ45ÿ7564588ÿ4ÿ78ÿ2ÿ45ÿ4964
       88457ÿ"8ÿ9ÿ7ÿ5ÿ8552ÿ)84ÿ48ÿ84ÿ55ÿ5ÿÿÿ8 2 24ÿ965ÿ62ÿ2ÿ44ÿ656ÿ4ÿ45ÿ*5ÿ+5685%8
       "545ÿ964ÿ2ÿ45ÿ(652ÿ85ÿ655682ÿÿ-.ÿ792ÿ564ÿ284ÿ45ÿ972ÿ5ÿ"545ÿ964ÿ655685
       585ÿ4ÿ5456725ÿ45ÿ92928ÿ9ÿ45ÿ52ÿ24 %8ÿ55648ÿ565ÿ2892ÿ565ÿ28524 ÿ2ÿ565
       28842445ÿ"2ÿ4ÿ8ÿ44ÿ85588ÿ2465ÿ9ÿ4985ÿ5564ÿ92928ÿÿ5ÿ5ÿ655ÿ2ÿ45ÿ84ÿ7)964ÿ9ÿ45
       858ÿ44ÿ5ÿ552ÿ465ÿ4945
       12ÿ45678ÿ9ÿ472ÿ9ÿ45ÿ4492ÿ4565ÿ65ÿ49ÿ492ÿ75894597ÿ858ÿ44ÿ5ÿ554ÿÿ5ÿ465ÿ48ÿ56ÿ4
       7965ÿ49ÿ975ÿ2ÿ!ÿ"8ÿ4ÿ45ÿ(652ÿ85ÿ4%8ÿ796424ÿ49ÿ55ÿ2ÿ72ÿ44ÿ45ÿ4745ÿ6589492ÿ9ÿ4985ÿ744568
       9452ÿ8ÿ5456725ÿ4ÿ45ÿ"545ÿ55ÿ294ÿ4ÿ45ÿ46ÿ55ÿÿ8ÿ45ÿ5ÿ2ÿÿ968ÿ2ÿ45ÿ9678ÿ44ÿ45
       24 ÿ568ÿ9985
       /2ÿ5ÿÿ 65885ÿ525ÿ45ÿ858ÿ9ÿ45ÿ)ÿ88457ÿÿ45ÿ788ÿ4964ÿ78ÿ(652ÿ2ÿ48ÿ55648ÿ4
       456ÿ92ÿ 6745ÿ4492ÿ&5ÿ7524925ÿ84ÿ475ÿ44ÿ5ÿ694ÿ49ÿ4928ÿ284ÿ45ÿ24 ÿ8ÿ6ÿ8ÿ5
       55648ÿ96ÿ572ÿ96ÿ4ÿ6948ÿ4ÿ4928ÿ65785ÿ2292ÿ85ÿ69984928ÿ2ÿ4985ÿ65ÿ792
        966ÿ5%5ÿ552ÿÿ655ÿ4ÿ65854ÿ49ÿ45ÿ24ÿ85ÿ794928ÿ"2ÿ2ÿ45678ÿ9ÿ472 ÿ5ÿ554ÿÿ62ÿ8964
        697ÿ45ÿ/556ÿ08464ÿ964ÿ2ÿ*5ÿ+5685ÿ5456ÿ4985ÿ744568ÿ7ÿ6955ÿ49ÿ45ÿ8956ÿ85
       $9ÿ44%8ÿÿ#ÿ8776ÿ1%ÿ5ÿÿ49ÿ2856ÿ2ÿ99ÿ#584928ÿ9ÿ7ÿ5ÿ6562ÿ45ÿ84645

0      123456ÿ18ÿ92:;
       <545ÿ=5ÿ>658524ÿ5ÿ/22ÿ? 56ÿ4ÿ+92892ÿ@ÿ+92892
       A654ÿ2ÿ9ÿ<6ÿ68ÿ6562ÿ96ÿ8592ÿ#58492ÿÿ+@+ÿÿÿ25ÿ96ÿ556ÿ475ÿ9698ÿ8ÿ#945ÿÿ49
       75ÿ825ÿ45ÿ8592ÿ#6456ÿ56228ÿ5ÿ69ÿ9ÿ5ÿ452ÿÿ25ÿ552ÿÿ445ÿ4ÿ7965ÿ"2ÿ5ÿ44%8ÿ9452
       88945ÿ4ÿ242ÿ96ÿ5962ÿ654ÿ#24458ÿ1ÿ42ÿ4%8ÿ65ÿ45ÿ8592ÿ52492ÿ2ÿ&58456%8ÿ565ÿ2ÿ
       56ÿ556ÿ69ÿ49ÿ2ÿ44ÿ8ÿ45ÿ928464ÿ2ÿÿ1ÿ7524ÿ44ÿ4567ÿ2ÿ45ÿ8592ÿ#6456
       $9ÿ1ÿ9ÿ5ÿ8ÿ44ÿ5ÿ568ÿ9ÿBÿ568ÿ9ÿ7ÿ655588968ÿ9ÿ5ÿ8ÿ44ÿ&5ÿ69425ÿ7984ÿ55
       7554ÿ92ÿ25ÿ99642458ÿ44ÿ7ÿ9757524ÿ96ÿ5842ÿ96499ÿ96ÿ96ÿ465ÿ525ÿ2ÿ94ÿC55ÿ2ÿ122945
       C5258ÿ2ÿ45ÿ66524ÿ797524ÿ8ÿ29ÿ 56524ÿ12ÿ4ÿ5%65ÿ2ÿÿ56ÿ99ÿ98492ÿ52ÿ45ÿ9ÿ558ÿ9ÿ254ÿ54ÿ45
       8ÿ5ÿ565ÿ5ÿ49ÿ685ÿ49ÿÿ925ÿ9ÿ96ÿ4ÿ9492ÿ696458ÿÿ9%65ÿ69ÿ56ÿ56ÿ76ÿ4ÿ4
       48ÿ924ÿ2ÿ475
       (4ÿ5%65ÿ294ÿ92ÿ49ÿ9769785ÿ96ÿ6258ÿ2ÿ72ÿ865ÿ44ÿ4%8ÿÿ84645 ÿ4ÿ$9ÿ4ÿ48ÿ249ÿ45ÿ8524 ÿ556485
       45ÿ97756ÿ458ÿ4ÿÿ9ÿ65ÿ44ÿÿÿ5ÿ49ÿ44ÿ8854ÿ2ÿ96ÿ28ÿ5688ÿ8975925ÿ585ÿ"2ÿ5%65
        92ÿ49ÿ75ÿ865ÿ44ÿ5%65ÿ825ÿ2ÿ44ÿ69ÿ22ÿÿ52862ÿ44ÿ5ÿ5ÿÿ65462ÿ44%8ÿ977528645
       4ÿ45ÿ68ÿ44ÿ5%65ÿ562ÿ92ÿ5ÿ9ÿ8659568
        ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 11 of 18 Trans ID: LCV20233584887
Case 234ÿ6789ÿ ÿ7ÿ7ÿÿ3ÿ97ÿDocument
     3:16-md-02738-MAS-RLS              ÿÿÿ172427
                                                  ÿ28976
                                                      7ÿÿ9Filed
                                                               ÿ97ÿ02/02/24
                                                                        9ÿ8ÿ9ÿ3Page
                                                                                       ÿ7ÿ347ofÿ221
                                                                                                          ÿ678PageID:
                                                                                                                Ex.
                                                                                                                 ÿ7ÿ23
       778ÿ3ÿ97ÿ8ÿ33ÿÿ7ÿ3ÿ79ÿ4ÿÿ67ÿÿ3ÿÿ7ÿ9ÿÿÿ36ÿ773ÿ 4
       ÿ3ÿ364ÿ6787ÿ9ÿ7ÿ 7ÿ93ÿ 7ÿ77ÿ7ÿ97ÿÿ67ÿ787ÿ3ÿ6ÿ77ÿ3ÿ6 77ÿ89
       7ÿ!!ÿ7ÿ7"ÿ37ÿ7ÿ#797 ÿ3ÿ$37ÿ#7974ÿ67ÿ7ÿÿ33ÿ3ÿ7ÿ7!%79ÿ97ÿÿ77ÿ3
       7ÿ9ÿÿ 77
       234ÿ374ÿÿ67ÿ3ÿ%73ÿ&7"ÿ%734ÿ'7(

0      )*+,-./,
       0 ÿ7"ÿ%73ÿÿ3 ÿ3 ÿ173ÿ#7  ÿ3 ÿÿ3ÿ 7ÿ23ÿ7ÿÿ36ÿ7

3+/44ÿ6+-78-9                                                                                                              1
ÿÿÿ3ÿ 7ÿ#7ÿ:
;74ÿÿ1339ÿ3ÿÿ3ÿ ÿ3ÿ7ÿ%73ÿ$8ÿÿ6ÿ37ÿ234ÿ3ÿ<=>2'$4ÿÿ3ÿÿ3ÿ7
 3 7ÿ93ÿ?ÿ6ÿ77ÿ3ÿ76ÿ77ÿ3ÿ77(ÿ9ÿ779ÿ3ÿ4ÿ3ÿÿ7ÿ
 97ÿ3ÿ7ÿ73ÿ3ÿ9ÿ7ÿ6 7ÿÿ39ÿ7ÿ7779(ÿÿ3ÿ3ÿ 

1      @/-ABCDÿEB-./
       <  ÿ9ÿ< 7ÿF"7 7ÿ07ÿÿG33ÿHÿG33
       ÿ34ÿ173ÿ9ÿÿ3ÿ7ÿ77ÿÿ7ÿ373ÿ%7!37!%7ÿ3ÿ<=>2'$4ÿ67ÿ37ÿ3ÿ74ÿ3ÿ37
        94ÿ3ÿ97 94ÿ9ÿ3ÿ7ÿ37ÿ94ÿÿ37ÿÿ3ÿÿ787ÿ3ÿ7ÿ7379ÿÿ7ÿ9ÿ
         7ÿ3ÿ6ÿ<=$IJF!Kÿÿ774ÿ67ÿ7ÿ<=>2'$ÿ3ÿÿ797ÿÿ77ÿ7ÿ3ÿ7
       234ÿ6 7ÿÿ3 7ÿ3ÿ3ÿÿ374ÿ$8 ÿ3ÿ3ÿ7ÿG3ÿ7"ÿ6 ÿ7ÿ67ÿ93ÿÿ397ÿ3ÿ7ÿ7ÿ3
       ÿ7ÿ3ÿ97 9ÿÿ67ÿ7ÿ77ÿÿ<=>2'$ÿ3!97ÿ074ÿ6 ÿ3ÿÿ7"74ÿ1734ÿÿÿ3ÿ6
        37ÿ3ÿ77ÿ%7!37!%7ÿ37 7ÿÿLMLNÿ3ÿ3ÿLMLK

1      @/8DÿOPÿQ++R
       F"7 7ÿ>7ÿS7974ÿS  74ÿ=HJÿÿG33ÿHÿG33
       27ÿ3ÿ336ÿÿ3ÿG3%8ÿ3 74ÿ6787ÿ77ÿ377ÿ99ÿ37ÿ9ÿ37ÿÿ8ÿ979ÿÿ3
       3ÿ ÿ7ÿÿ&76ÿG774ÿÿ67ÿ7ÿ37ÿ3ÿÿÿ993ÿÿ7ÿÿ9ÿ3ÿÿF374ÿ
       7 ÿ9ÿ34ÿ7ÿ77ÿ779ÿ3ÿÿÿÿ3 7ÿ7"7ÿÿÿ&3ÿ9ÿ3ÿ7ÿ37
       7ÿ 7ÿ3ÿ3ÿÿ67ÿÿ 3 397
       07ÿ3ÿ7ÿ93ÿ7!ÿ3 37ÿ3ÿ7ÿ7ÿÿ77ÿ7ÿ7ÿ3 37ÿ9ÿ774ÿ6787ÿ97
       7ÿ39ÿ37ÿ!374ÿ7ÿÿ7 334ÿ7ÿ7ÿ7ÿÿ3ÿ3ÿÿ26T79ÿ9ÿ6787
       ÿ7ÿ37ÿ!!ÿ6787ÿ9ÿ!!ÿ9ÿ$ÿÿÿ6ÿ7ÿ7ÿ7"ÿ74ÿ37ÿ3ÿÿ7ÿ&779ÿ3ÿ3ÿ7
       7ÿ3 374ÿ6  ÿÿ3 77ÿ77ÿ37ÿ3ÿ7ÿ7!ÿ7ÿ234ÿ3774ÿ7ÿÿ37ÿ3
        ÿ4ÿ9ÿ67ÿ37ÿ3ÿ77ÿ7ÿ7 334ÿ$ÿ639ÿÿ2 7ÿÿ6ÿ7ÿ 7ÿ3ÿ77ÿÿ7ÿ%79ÿ3
       9 7ÿ7ÿ7ÿ9ÿ6787ÿ3ÿÿ37ÿ3ÿ7ÿ 7ÿ3ÿ37ÿ6 77ÿ<=>2'$ÿ6ÿ7ÿ7
       234ÿ7ÿ7"794ÿ334ÿ3ÿ7ÿ3 7 ÿ6ÿ4ÿ7ÿ7!!ÿ<=ÿ7ÿ7ÿ<=$IJF!Kÿ94ÿÿ3
       364ÿ3679ÿ779779ÿ373!77ÿÿ774ÿÿT9ÿ3ÿ3ÿMLU4ÿ37ÿ737ÿ7ÿ3ÿVVW4ÿXUW
         3 77ÿ7374ÿ7ÿ97ÿ3ÿÿ37!9!937ÿ7ÿÿ6ÿ67ÿ3779ÿ7ÿ197ÿNÿ3ÿ37ÿ37ÿ777
       93 7ÿ6ÿ3ÿYYWÿ234ÿÿÿ74ÿ$ÿ4ÿ36ÿ7 7ÿÿ7ÿ7779ÿ739!7ÿ7ÿ9ÿ67ÿ37ÿ3ÿ93
         374ÿ ÿÿÿ7ÿ3ÿ7ÿÿÿ37ÿ77ÿ3ÿ7 ÿ7ÿ

1      @/-ABCDÿEB-./
       <  ÿ9ÿ< 7ÿF"7 7ÿ07ÿÿG33ÿHÿG33
       94ÿ1734ÿ3ÿ3ÿ34ÿÿ 7ÿ73 ÿ9ÿ76ÿ39 ÿ 74ÿ67ÿ7ÿ3ÿ7ÿ7379ÿÿ7ÿ ÿ3
       F<>2:$ÿ9ÿ3ÿ7ÿ77ÿ3ÿ3ÿ:>F2ÿ7ÿ373ÿ3ÿ77ÿ797ÿÿ7"779ÿ3ÿ7ÿ7"73
       9ÿ67ÿ79ÿ7ÿ3ÿL4MMMÿ7 7ÿ373ÿÿ7ÿI2ÿÿ7ÿ=F#2ÿ779ÿ3ÿ7ÿ7ÿ3ÿ9 7
        ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 12 of 18 Trans ID: LCV20233584887
Case 23456789ÿ ÿ268537ÿÿÿDocument
     3:16-md-02738-MAS-RLS             ÿ172428
                                                  ÿÿ28976
                                                     ÿÿ  02/02/24
                                                                Filed    ÿÿÿPage
                                                                                      ÿ35ÿ
                                                                                               ofÿ
                                                                                                 !221
                                                                                                   ÿPageID:
                                                                                                         Ex.
                                                                                                          ÿ"ÿ2"
       ÿ"#ÿÿ23456789ÿ ÿ" ÿÿ$%$&

0      '()*+,-*
       2 #ÿÿ.!ÿ/ÿÿÿ0ÿ1ÿ1 ÿ0ÿ22ÿ4ÿ7ÿÿÿÿ

3-45ÿ3)778794                                                                                                       1
6 ÿÿ22ÿ4
:ÿ;ÿÿ2 #ÿ0ÿ#ÿÿ/ÿ9ÿ ÿÿÿ#ÿÿ2386<6ÿ ÿÿ"ÿÿÿÿ=
 ÿ!ÿÿ$%$>ÿ2?ÿÿÿÿ@ÿ ÿÿ#ÿÿÿ"0ÿÿÿ!ÿÿ0ÿÿ9 
Aÿ"?ÿ0ÿÿ9ÿÿ0ÿÿBÿÿÿ0ÿ2<3AC76ÿÿ#ÿÿ0ÿ
DEFÿÿ ÿÿÿ ÿ0 ÿ"ÿÿ ÿ6 ÿÿÿ ÿÿ
0ÿÿÿÿÿÿÿ ÿÿÿÿÿ0ÿ$%$>ÿ0ÿÿ ÿGÿ2 #

1      3-+HI87ÿJI+,-
       4 ÿ ÿ40ÿ3!ÿK00ÿÿ1ÿLÿ1
       2 #ÿÿ0ÿÿ/ÿ4ÿÿÿ ÿ"ÿÿ0ÿÿ"ÿ"ÿÿÿÿM>Nÿ"ÿÿÿ$%$>
       0ÿ 
       6ÿ9ÿÿ! ÿ"0ÿÿÿÿ"ÿ0ÿ0ÿÿ2ÿ0ÿÿ ÿÿ ÿÿÿÿÿ?
       ÿÿÿ#ÿOÿ2<3AC76ÿ3<83626ÿ=E2<659ÿÿPÿB"ÿ ÿ ÿ26<Q683RÿSÿ
       ÿÿÿ ÿBÿÿÿÿ0PÿSÿÿÿÿ9ÿBÿÿ"ÿÿÿ0
       46<57T29ÿÿÿ0ÿE<6562Kÿ ÿÿÿÿÿÿÿÿÿ ÿ0ÿ23456789ÿ
       268537
       6 ÿ#ÿÿ$%$&ÿÿ  ÿ0ÿÿÿ ÿÿÿ$%$>ÿÿÿÿÿ!ÿÿÿÿÿ
       0ÿÿÿ"ÿ ÿÿCÿ!ÿÿ0ÿP0ÿÿÿ0Pÿÿ3;C<ÿÿP
        ÿ ÿSÿÿ"ÿÿÿ ÿ0ÿA6<9EK6ÿÿ3AKÿ ÿÿ ÿÿ"ÿÿ0ÿ ÿ ÿ ÿ
       $%$>ÿ2ÿ ÿ"ÿÿÿ ÿ0ÿÿÿÿÿ0ÿÿÿÿÿ ÿÿ0ÿ
       Sÿÿÿÿ"ÿÿ"ÿÿÿÿÿ26<9ÿÿÿ 0ÿ7ÿÿÿÿÿÿ ÿ"
       ÿÿ3AKÿ5ÿ ÿ0ÿÿ9ÿÿ!ÿÿÿÿ"ÿÿ ÿÿ2<3AC76ÿÿ9@2ÿ"ÿ
       4?ÿ ÿÿÿÿ0ÿÿÿ ÿÿÿ$%$&ÿ2?ÿÿÿ"ÿÿÿ0 ÿÿÿ0
       2<3AC76
       2#ÿÿÿÿÿÿ2386<6ÿÿ9@2ÿÿN>Uÿ0ÿÿ ÿÿÿÿÿÿÿ0ÿÿÿ0ÿ0
       ÿÿ2<3AC76ÿÿÿÿÿÿ3<83626ÿÿÿÿÿÿ ÿÿ VÿP#ÿÿ ÿS?ÿ
       ÿÿ"ÿ"ÿÿÿÿ ÿ0ÿ.  "ÿÿAÿ;ÿ ÿ0ÿÿÿÿ ÿÿ ÿÿÿÿ0
       ÿÿÿ$%$&ÿ ÿ$%$>ÿ4ÿÿ ÿ0ÿÿ"ÿÿ$%$>ÿÿÿ=ÿÿ ÿ0ÿÿ"ÿ
       0ÿÿÿÿÿÿ"ÿ"ÿÿÿÿM>Nÿ"
       Cÿÿÿÿ ÿÿÿÿÿ#ÿ0 ÿ ÿÿ#ÿ"ÿÿÿ0ÿ0ÿÿ9 ÿA
       ÿÿÿ ÿ 0ÿ0ÿÿ ÿSÿÿÿ"ÿ0ÿÿÿÿÿ ÿÿÿ9?ÿ"ÿ"
         ÿÿÿ0ÿÿÿ"ÿÿÿÿÿ ÿÿÿ0ÿÿÿÿÿ ÿÿ
       ÿÿ0ÿÿÿ ÿ 0ÿ0ÿÿ ÿ6 ÿ?ÿÿ0ÿÿÿÿ"ÿ#ÿ0 ÿÿÿ
       ÿÿÿÿÿ"ÿÿ0ÿÿÿÿÿÿ"ÿÿÿ0ÿÿÿ ÿ 0ÿ0ÿ
         

0      '()*+,-*
       2 #ÿÿ.!ÿ/ÿÿÿ0ÿ4ÿÿ0ÿ1EÿA ÿ7ÿÿÿÿ

W5*84ÿXY5-,,                                                                                                        1
6 ÿÿ1EÿA
        ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 13 of 18 Trans ID: LCV20233584887
234567ÿ93:16-md-02738-MAS-RLS
Case     5 ÿÿÿ3ÿ64ÿ467ÿ ÿ5Document
                                        4ÿ4ÿ6172429
                                                     ÿ5ÿ28976
                                                        664ÿ6ÿ3Filed
                                                                      4ÿ3ÿ02/02/24
                                                                                ÿ7ÿÿ5!!34Page
                                                                                             564ÿ6436
                                                                                                     ÿ465ofÿ221
                                                                                                                PageID:
                                                                                                                   Ex. 2
!3"47ÿ#44 ÿ4ÿ5ÿ453ÿÿ5643ÿ456ÿ6!4ÿ$3%67ÿ&6ÿ5ÿÿ6ÿ$"4ÿÿ4ÿ3465ÿ3ÿÿ53$
 4'6ÿ453(ÿÿ %ÿ6434ÿ534ÿ4ÿ 43$4ÿ%6ÿ)4"4ÿ6ÿ4537ÿ*ÿ6ÿ63$ÿ6ÿ$46ÿ5ÿ4 4ÿÿ%ÿÿ6 ÿ56
53$ÿ!3$34 ÿ434ÿ5ÿÿÿÿ554ÿ4ÿÿ644ÿÿÿ64ÿ!!44ÿ!!3664ÿ5ÿ4ÿÿ644ÿ6!4
$3%6ÿ656"4ÿ"43ÿÿÿ3!!$ÿ656ÿ6ÿ64ÿ66ÿ47ÿ#ÿ6ÿ5ÿ3465ÿ3ÿ%ÿ4ÿ5!!345647ÿ95 7

0      +,-./0ÿ+2ÿ3,45
       6'46"4ÿ74ÿ83446ÿ9 4ÿ:55ÿ;43ÿ56ÿ ÿ<ÿ 
       =457ÿ#34ÿ9 37ÿ95 ÿ3ÿ64ÿ467ÿ#ÿ36ÿÿ%4*34ÿ"43ÿ!454ÿ%6ÿ64ÿ53$ÿ!3$34 ÿ656ÿ%4*"4ÿ44ÿ54ÿ6
       54ÿÿ>7ÿÿ6 ÿ%4ÿ65364ÿ64ÿ453ÿ6ÿ3$ÿ56ÿ6ÿ%ÿ!3"$ÿÿ?ÿ5ÿ!67ÿÿ6ÿÿ656ÿ5ÿ345ÿ$4ÿ@@ÿ
       346ÿ5663654ÿ6ÿ64ÿ436ÿÿ5ÿ!4!4ÿÿ64ÿ3$5A56ÿ% ÿ345ÿ6ÿ64ÿ!!366ÿ6ÿÿ56ÿ3
       3563634ÿ5ÿ5ÿ6%@4$46ÿ!5ÿ"43ÿ5ÿ6344@4$46ÿ!57
       #ÿ64ÿ 43$4ÿ656ÿ%4ÿ%534ÿ56ÿ5ÿ654ÿ56ÿ453ÿÿÿ64ÿ)4"4ÿ4!5356ÿ!34 ÿ345ÿ5"4*6ÿ4ÿ6
       5467ÿÿ56ÿ5ÿ%4ÿÿ6ÿ6ÿÿ%4ÿ44ÿ5ÿ6ÿ56ÿÿ!56ÿ3ÿ 43$4ÿ3ÿ64ÿ4!53567ÿB4ÿ534
       ÿ64ÿ!34 ÿÿ5A$ÿ3ÿ4 ÿ!5 ÿ3ÿ7ÿ*ÿ4ÿ6ÿ$46ÿ5ÿ664ÿ6ÿ46643ÿ5 4 46ÿÿ%ÿ64ÿ5
       4"4!46ÿ!!44ÿÿ 5!$ÿ!ÿ% 56ÿ64ÿ"4646ÿ534ÿ3434ÿ64347ÿ&6ÿ%4*34ÿ5ÿ53$43ÿ!5ÿ%4ÿ654ÿ64
       !!366ÿ6ÿÿ45ÿ5ÿ4"43ÿ453ÿ56ÿ4447ÿ#ÿ%4*34ÿ6ÿÿ5ÿ!6ÿ6ÿ$"4ÿÿ53$ÿ$54ÿ3$6ÿ%7ÿ&6
        ÿ%ÿ4'!46ÿ656ÿ46$ÿ53ÿ6ÿÿ %ÿ% 434ÿ%4ÿ65364ÿ6ÿ453ÿ%ÿ6ÿ4ÿ5ÿ5ÿ6536$ÿ!6ÿ3ÿ4'6
       4537
       $5ÿ6*ÿ$$ÿ6ÿ4!4ÿÿ64ÿ"4646ÿ656ÿ64ÿC<Dÿ645 ÿ3ÿ6ÿE494ÿ5ÿ "56"4ÿE44ÿ5ÿ3$
       367ÿ ÿ%4*ÿ"ÿÿ6ÿ5443564ÿ3$$ÿ4ÿÿ644ÿ$3456ÿ!36ÿ6ÿ!5646ÿ43ÿÿ%4ÿ5"4ÿ656
       !!3667

1      F/.GHI,G
       95 ÿ7ÿ94ÿ4'6ÿ46ÿÿ$ÿ3ÿJ533ÿ&4$44ÿ3ÿB4ÿ:53$7ÿ=3ÿ4ÿÿ%ÿ"47

KHGGLÿMN.O.4-.P                                                                                                        0
 56ÿ56ÿB4ÿ:53$ÿ<ÿ9!5
2ÿ3$7ÿ95 ÿ3ÿ65$ÿ64ÿ467ÿ4ÿ6ÿ@@ÿÿÿ6ÿ53ÿ% 56ÿÿ456ÿÿ56ÿ!3434ÿÿÿ
E494(ÿ34ÿÿ5 $ÿ@@ÿ4ÿ656ÿ45ÿ56ÿÿE494ÿ$3%6(ÿ ÿ6ÿ3ÿÿ46ÿ5ÿÿ65ÿ56ÿ% 56
*34ÿ44$ÿ%6ÿ53563ÿ3ÿ2J8@Qÿ6ÿÿ5ÿ%ÿ*34ÿ6 $ÿ56ÿ64ÿ!6465ÿ!56ÿÿ2J8@Qÿ53 ÿ3
4"4ÿ4 ÿ$ÿ643ÿ4!45ÿÿ53ÿ5ÿ36(ÿ95 ÿ7

0      +,-./0ÿ+2ÿ3,45
       6'46"4ÿ74ÿ83446ÿ9 4ÿ:55ÿ;43ÿ56ÿ ÿ<ÿ 
       #ÿ*ÿ$"4ÿ64ÿ4ÿ5ÿÿ656ÿ46ÿ6ÿ5ÿ6ÿ65 ÿ3ÿ64ÿ53$ÿ46ÿ%6ÿ34!46ÿ6ÿ5346ÿ$3%67
       B4ÿ534ÿ6ÿ$$46$ÿ56ÿ5346ÿÿE494ÿ4'6ÿ4537ÿB 56ÿ%4ÿÿÿ@@ÿ534ÿ3444$ÿ3$6ÿ%ÿ54ÿÿ% 56ÿ%4ÿ %
       65ÿÿ64ÿ44"564ÿ4"4ÿ64ÿ5346ÿ"435ÿ4$ÿ?Rÿ6ÿSRÿ"43ÿ% 56ÿ63565ÿ5ÿ44ÿ54ÿRÿ6ÿTR7ÿB4ÿ44
       656ÿ54ÿ?Rÿ6ÿSRÿ4'6ÿ4537
       5(

0      +,HUVNPÿWVHI,
       9 535ÿ5ÿ9 4ÿ6'46"4ÿ;43ÿ56ÿ ÿ<ÿ 
       95 ÿ7ÿ ÿ65 ÿÿJ5337ÿ ÿ65$ÿ5ÿ64!ÿ5ÿ%4ÿ44ÿ64ÿ4"6ÿÿ3ÿE494ÿ4 ÿÿ5ÿ"43ÿ!6"4
       %57ÿ; 4ÿÿ3ÿ4ÿ$5ÿ3ÿÿÿ6ÿ4ÿ5ÿ6!@643ÿ$3%43ÿÿE4947ÿB 4ÿÿÿ56ÿ64ÿ346ÿÿE494ÿ6ÿ453ÿ%4ÿ534
       4"43$ÿÿ6567ÿ;3ÿ$3%6ÿÿ64ÿ53643ÿ!3ÿ35ÿ%5ÿT7Rÿ% 4ÿÿ!534ÿ%6ÿ4ÿ5ÿ5ÿ65@54
       !57ÿ ÿ% 4ÿÿÿ56ÿ3ÿ!3ÿ35ÿ$3%6ÿ453@6@564ÿÿE494ÿÿS7XR7ÿ#ÿ"43ÿ!454ÿ%6ÿ64ÿ!43354
         ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 14 of 18 Trans ID: LCV20233584887
Case 23ÿ256ÿ7898 ÿ58ÿ9ÿ8ÿ8ÿ8Document
     3:16-md-02738-MAS-RLS             82ÿ172430
                                                   2ÿ28976
                                                     258ÿ256Filed
                                                                ÿ626802/02/24
                                                                        2ÿ2ÿÿPage
                                                                                        ÿ6ÿ3537
                                                                                                 889ÿofÿ221
                                                                                                            8ÿ62PageID:
                                                                                                                  89562
                                                                                                                 Ex.
       62ÿÿ8ÿ88ÿ9ÿ2ÿÿ256ÿ2589ÿ6288ÿÿ256ÿ8852ÿ9ÿ8ÿ5 ÿ23ÿ8ÿ6295ÿ28ÿ23ÿ8
       8ÿÿ95ÿ86ÿ!26ÿ88"ÿ8ÿÿ8ÿ5 ÿ256ÿ36ÿ#!ÿ886ÿÿ$5628ÿ2ÿ
       9ÿ 8ÿÿ28ÿ2ÿ%&#'("ÿ)ÿ229ÿ326ÿ8ÿ2ÿ8ÿ8ÿ22ÿ326ÿ688"ÿ88ÿÿ28"ÿ  ÿÿ8
         ÿ88ÿÿ*89ÿ988ÿÿ  ÿ8ÿ868ÿ2ÿ22+ÿ326ÿ688ÿ958ÿ2ÿ8ÿ*2ÿ23ÿÿ,86"
       ÿ25ÿ2889"ÿ8)68ÿ88ÿ28ÿÿÿ256ÿ66ÿ58ÿÿ8ÿ26ÿ86ÿÿ28ÿ8ÿ68ÿ682986
       5686"ÿ88ÿ2ÿ8ÿ688ÿ-5"ÿ286"ÿ 8ÿ8ÿ+ÿ2ÿ5682"ÿ66ÿ5682"ÿ ÿ8ÿ88ÿÿ
        2886ÿ628ÿ23ÿ5686ÿ9ÿ%&#'(ÿ9ÿÿ23ÿ8ÿ28ÿ2ÿ8ÿ3ÿÿ8ÿ259ÿ88ÿÿ9ÿ326
         66ÿ5686ÿ92ÿ8ÿ629"ÿ8ÿÿ2886ÿ568"ÿ8ÿ6889ÿ688ÿ25ÿ28"ÿ268ÿ8
       88+ÿ688ÿ9ÿÿ23ÿ8ÿ8"ÿ25ÿ./ÿ23ÿ8"ÿ68ÿ2ÿ2ÿ2ÿ8ÿ286ÿ88ÿ892ÿ2"ÿ868
       259ÿ8ÿ286ÿ358ÿ326ÿ256ÿ66ÿ58
       0ÿ8ÿ68ÿ23ÿ256ÿ7898 ÿ58"ÿÿÿ2"ÿ8ÿ258ÿ2ÿ88ÿ625ÿ6289568ÿ688"ÿ9ÿ8ÿ92)ÿ8ÿ
          8ÿ''ÿÿÿ''ÿÿ8ÿ ÿÿ8ÿ3268888ÿ35568

0      12345674
         +ÿ25ÿ88ÿ9582ÿÿ2ÿ362ÿ8688ÿ!ÿ362ÿ726ÿ8ÿ:256ÿ8ÿÿ2ÿ8

;343<=3ÿ?@A<<                                                                                                                   1
ÿÿ726ÿ8
%68ÿ +ÿ2ÿ5 ÿ326ÿ+ÿ8ÿ9582ÿ0ÿÿB5ÿ2986ÿ3ÿ25ÿ259ÿ8268ÿÿ8ÿÿ268"ÿC2"ÿ2
82ÿÿDÿ0ÿ+2"ÿ8)68ÿ2ÿ2ÿ88ÿ8ÿ35ÿ9ÿ868ÿÿ,Dÿ-5ÿÿÿÿ965ÿÿ25ÿ88ÿ28ÿ26+ÿ
ÿ629ÿ252"ÿ26ÿÿ868ÿÿ26+86ÿ58ÿ625ÿ)ÿ268ÿ+8ÿ2ÿ6829Eÿ9ÿ8"ÿ2ÿ68ÿ25ÿ+ÿ25
# 8ÿ.ÿÿ868ÿÿÿ92Eÿ +ÿ25

1      F7G<ÿHIÿJ33K
       $858ÿL8ÿ#6898"ÿ# 685"ÿDMNÿÿC22ÿMÿC22
       :8ÿ +ÿ326ÿ8ÿ9582"ÿ9ÿ8ÿ22+ÿ32669ÿ2ÿ6ÿ28ÿ9ÿÿ8ÿ,Dÿÿ828 86ÿÿÿN82ÿO8)68
       22+ÿÿ82ÿÿ886ÿÿ2286ÿ2 89ÿÿ8ÿ682ÿ898ÿ68ÿ26ÿÿÿ2 2ÿ326ÿÿ629
       252"ÿ 868ÿ8ÿÿ2ÿ2 8ÿÿÿ'8!ÿ8ÿ9ÿ8ÿ88ÿ28ÿ2ÿ8 ÿÿ8ÿ86
        2886"ÿ6895ÿ8ÿ88ÿ23ÿ52298ÿÿ82ÿ9ÿ8ÿÿ326ÿ8 ÿÿ8ÿ8!
          ÿ2'89ÿN0:ÿ59"ÿ8ÿ# 8ÿÿÿ5986ÿ2"ÿ9ÿ8)ÿ8ÿÿ2 2ÿ2ÿ"ÿÿ886"ÿÿ88ÿ8
       ÿ8)68ÿ22+ÿÿD"ÿ2ÿ2ÿ326ÿ82"ÿ5ÿ286ÿ8ÿÿ256ÿ88"ÿ 868ÿ8ÿ88ÿ8ÿ35568ÿ8ÿ22868ÿ
       68ÿ6889ÿÿÿ682ÿ898ÿÿ26ÿ629ÿ868ÿÿ68ÿ2 2ÿÿÿ6ÿ2886ÿ86ÿ8 
       ÿÿ38ÿÿO8)68ÿ889ÿ2ÿ8ÿ5 ÿ8ÿN0:ÿ626ÿ2ÿ22+ÿÿÿ2 2ÿ9ÿ8)68ÿ2ÿÿÿÿ6
       98886"ÿ268ÿ9568ÿ682ÿ326ÿ8ÿÿ8ÿ6ÿ28ÿ8ÿ8 ÿ2886

0      12345674
         +ÿ25ÿ88ÿ9582ÿÿ2ÿ362ÿC28ÿO58 ÿ362ÿ,+ÿ:256ÿ8ÿÿ2ÿ8

F75<<3ÿPQ3<R=G                                                                                                                  1
ÿÿ,+
%229ÿ26"ÿ9ÿ+ÿ25ÿ326ÿ+ÿ8ÿ9582ÿ0ÿÿ28ÿ2ÿ8ÿ5ÿÿ8ÿÿ268ÿ98ÿ2ÿÿ258ÿ23ÿE
:25ÿ8289ÿ899ÿ362ÿL-#ÿ9ÿ0)ÿB5ÿ5625ÿ3ÿ868)Sÿ"ÿÿÿ2ÿ953ÿTÿ9ÿ-"ÿÿÿ2ÿÿ3ÿ)ÿÿ8
 886ÿ26ÿ268ÿ26ÿ8ÿ8ÿÿÿÿ88ÿÿ8ÿÿ258ÿ23ÿ95686Eÿ9ÿ8"ÿ6"ÿÿ286ÿ8ÿ23ÿ, "ÿ8)8
 88ÿ86ÿÿ2ÿ25ÿ26652ÿ28"ÿ8ÿ03ÿ25ÿ259ÿ28ÿ2ÿ"ÿÿ259ÿ8ÿ68ÿ +ÿ25

1      F75UQV<ÿWQ567
       , 6ÿ9ÿ, 83ÿ$858ÿX3386ÿÿC22ÿMÿC22
        ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 15 of 18 Trans ID: LCV20233584887
Case 23456ÿ89 ÿ9455ÿ5ÿÿÿ ÿ48ÿDocument
     3:16-md-02738-MAS-RLS               34ÿ354ÿ9172431
                                                      ÿ28976
                                                          ÿÿ4ÿ68ÿ46ÿ4502/02/24
                                                                    Filed  ÿ4ÿ46ÿ5ÿ33ÿ ÿ438
                                                                                         Page      ÿ8of9ÿ221
                                                                                                          659ÿPageID:
                                                                                                                 25
                                                                                                                Ex.
       93ÿ59ÿ45ÿ ÿ4ÿ95ÿ9ÿ955 ÿ9ÿÿ4ÿ95ÿ93ÿ59ÿÿ9ÿ!ÿ4ÿ68ÿ93ÿÿ9ÿ
         9ÿ95ÿ95ÿ345ÿ458ÿ"#$ÿ%5ÿ4ÿ345ÿ5ÿ%ÿ5ÿ95ÿ3ÿ93ÿ345ÿÿ49ÿ%5ÿ45ÿ9%%958ÿ4
       89ÿ45ÿ&%45ÿ'48ÿ%9ÿ 4ÿ3599ÿ59ÿ9ÿ%45ÿ9ÿ3ÿ4ÿ4ÿ5(ÿ9ÿ) 23ÿ%49ÿ59
       58ÿ595ÿ"#$ÿ345*ÿ+9%38998ÿ%5 ÿ244ÿ45ÿ+59ÿ45ÿ+58ÿ5ÿ3ÿÿ
       4ÿ5ÿ,ÿ45ÿ%4ÿ9ÿÿ- ÿ34ÿ448ÿ45548ÿ9ÿ4ÿ.95ÿ"#$ÿ9ÿ4ÿ3ÿ%95ÿ ÿ34ÿ4(9ÿ/0ÿ9
       9ÿ%49ÿ34ÿ34ÿ( 5ÿ448ÿ4ÿ(8ÿ"#$ÿ45ÿ4ÿ ÿ996ÿ59ÿÿ ÿ&%ÿ9ÿ955 ÿ9ÿÿ4ÿ95
       93ÿ5ÿ354ÿ45ÿ354ÿ455ÿ4ÿ68ÿ%4ÿ9ÿ9ÿ93
       -35ÿÿ9 ÿ9ÿ3ÿ' 95ÿ34ÿ89ÿ ÿ465ÿ5ÿ459%95ÿ ÿ ÿ34ÿ4ÿ95ÿÿ9ÿ9%45ÿ5ÿ9
       (5ÿ5ÿ4ÿ3ÿ%95ÿ ÿ48ÿ ÿ9 ÿ495ÿ4ÿ9ÿ%3845ÿ45ÿ95ÿ4ÿ(ÿ ÿ4ÿ59ÿ 5ÿ458
       44ÿ%4ÿ5ÿ458ÿ%4ÿ9ÿ9ÿ(5ÿ ÿ9ÿ34ÿ45ÿ !ÿ955 ÿ9ÿ959ÿ3ÿ495ÿ14ÿ4ÿ2ÿ4ÿ !
       955 ÿ9ÿ ÿ354ÿ4ÿ4ÿ68ÿÿ9ÿ9ÿ93ÿ45ÿ49ÿ4ÿ4ÿ68ÿ9ÿ9ÿ559495ÿ95ÿ59ÿ3ÿ

0      34567896
       23456ÿ89ÿ: &ÿ' 95ÿÿ95ÿ9ÿ"4ÿ;45ÿ9ÿ< 53ÿ ÿ=9ÿ5ÿÿ59ÿ

>7?@AÿC@D7E                                                                                                            1
548ÿ4ÿ< 53ÿ 
<4ÿ23456ÿ9ÿ465ÿ8ÿ' 95ÿ2ÿ.ÿ45ÿ9ÿ48(ÿÿ4ÿÿ %ÿ95ÿ3ÿ 5998ÿÿ2ÿ4%%4ÿ3
9 5ÿ89ÿ4ÿ3ÿ48ÿ9ÿ3ÿ'4ÿ3ÿ%945ÿ4ÿ8ÿ95ÿ9ÿ4ÿ9ÿ89ÿ%9ÿ3ÿ9
2!ÿ.ÿ9ÿÿ3ÿ ÿ458ÿ9ÿ9ÿ95F ÿÿ3ÿ34ÿ ÿ39ÿ(ÿ44ÿ9ÿ2ÿ95ÿ6ÿ3!ÿ4ÿ9ÿ4(9
%45ÿ&ÿ45ÿ46ÿ93ÿ34ÿ89ÿ4ÿ9ÿ9ÿ9 55ÿ95ÿ2!ÿ9ÿÿ89ÿ45ÿ.ÿ333ÿ5ÿ59ÿ9
965ÿ9ÿ9ÿ9ÿ95F ÿ%5ÿ4. 5ÿ34ÿ ÿ39ÿ46ÿ59ÿ495ÿ4ÿ ÿ996ÿ4ÿÿ'4Gÿ23456ÿ89

1      H97IJ@EÿCJ789
       3445ÿ45ÿ3ÿ+&ÿ1ÿ4ÿ93595ÿKÿ93595
       23456ÿ89ÿ- ÿ4ÿ8ÿ%4ÿ3ÿ3ÿ%945ÿ9ÿ9ÿ 5998ÿ(5ÿ%48ÿ !ÿ%4ÿ3ÿ3
       %945ÿ9ÿ2L+)M=ÿ3ÿNO0ÿ93ÿ5ÿ3ÿ'4ÿ33ÿ39ÿ9ÿ4(8ÿ9ÿÿ93ÿ3ÿÿ2ÿ4ÿ(9
       2L+)M=ÿ58ÿÿ59ÿ54ÿ5ÿ%94ÿ43ÿ45ÿ%94ÿ4ÿ45ÿ4549ÿ5ÿ3ÿ4ÿ9ÿ2+PLÿ34ÿ%5
       4(9ÿN0ÿ9ÿ3ÿ4ÿ9ÿ3ÿ3ÿ%95ÿ49ÿ5ÿ45ÿ%954ÿ4%%94ÿ9ÿ4ÿ9ÿ45ÿ395!
       4 ÿ ÿ&%ÿ9ÿ34ÿ545ÿ93ÿ5ÿ2L+)M=ÿ- ÿ46ÿ4(9ÿ2L+)M=ÿ4ÿ4ÿQNÿ(95ÿ%9ÿ4ÿ5ÿ9
       548ÿ;48ÿ5ÿOÿ:9ÿ89ÿ45ÿ ÿ48ÿ34ÿ !ÿ95ÿ59ÿ958ÿ9ÿ ÿ34ÿ(ÿ9ÿ48ÿ& ÿ34ÿ(5346ÿ9
       2L+)M=
        9ÿ35ÿÿ9 ÿ9ÿ2+PLÿ ÿ34ÿ49ÿ4ÿ8ÿ9(ÿ93ÿ9ÿ9ÿ9ÿOR0ÿ25ÿ34ÿ4 ÿ3ÿÿ4ÿ%9ÿ%9
       4. 5ÿ5ÿ3ÿ'4ÿ4ÿ84ÿ49ÿ34ÿ%5ÿ4(9ÿRÿ(4ÿ%95ÿ9ÿ89ÿ39ÿ46ÿ34ÿ59ÿ95495
       35ÿ89ÿ356ÿ4(9ÿ3ÿ2+PLÿ93
       - ÿ4ÿ8ÿ%4ÿ94ÿ4ÿ2ÿ4ÿ3ÿ9ÿ 5998ÿ%999ÿ14ÿ9ÿ 5998ÿ%999ÿ5ÿ3ÿ'4ÿ
       O0ÿ33ÿÿ8ÿ95ÿ955ÿ34ÿ ÿ49ÿ34ÿ345ÿ3ÿ9ÿL+)2;+ÿ(94ÿ5ÿ ÿ45ÿ8
        &ÿ4(9ÿ3ÿ 5998ÿ%999ÿ4ÿ4ÿ68ÿÿ9ÿKÿ1 ÿ25594ÿ) 5ÿ4ÿ95ÿ9ÿ(ÿ(55ÿ545
       %9 5ÿ3ÿ5ÿ2#;ÿ3ÿ2L+)M=ÿ4ÿ2!ÿ4ÿ# ÿ49ÿ485ÿ3ÿ ÿ34ÿ9ÿ4ÿ94ÿ%% ÿ33ÿ
       95ÿ9ÿ(ÿFFÿ%55ÿ9 ÿ44ÿ995ÿ34ÿ ÿ448ÿ%5ÿ44ÿ5ÿ%94ÿ5ÿ49ÿ ÿ34ÿ3ÿ9(5495ÿ9
       < 64(ÿ45ÿ<9 4(ÿ5ÿ2#;ÿ33ÿ34ÿ%5ÿ49ÿ95(465ÿÿ9ÿ8ÿ594ÿ4(9ÿ9
        5998ÿ%999ÿ45ÿ3ÿ4(8ÿ9ÿÿ93ÿ5ÿ3ÿ95ÿ34ÿ9ÿ3ÿ4ÿ9ÿ9ÿ(ÿ 5ÿ5ÿ9ÿ+#Lÿ4ÿ5ÿ3
       84

0      34567896
       23456ÿ89ÿ: &ÿ' 95ÿÿ95ÿ9ÿ;45ÿ548ÿ9ÿS# ÿ=9ÿ5ÿÿ59ÿ
        ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 16 of 18 Trans ID: LCV20233584887
23456776ÿ9437
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 39 of 221 PageID:
                                                                        Ex. 2                                                        0
 ÿÿÿ             172432
ÿÿ!"#$ÿ%ÿ&'(ÿÿ!)'ÿ*ÿ("#ÿ'ÿ+"ÿ'!$ÿ,ÿ-ÿÿ)ÿ."#ÿÿ"ÿ'
)%"ÿ'ÿÿ(ÿ.ÿ!ÿ*ÿ'ÿ"%"ÿ"ÿ/&)'ÿ$ÿÿ(-$ÿ)"*")$ÿÿ#ÿ'%ÿÿ0%
1ÿ)!"#ÿÿÿ2ÿ)"ÿ-'ÿÿ)ÿÿ.3ÿ$ÿ-'ÿ-ÿ)ÿ4)ÿÿ$ÿ.%"$ÿ)""#ÿ5ÿ
#"#ÿÿÿÿ'ÿ("!ÿÿ*ÿÿ'ÿ6ÿ.ÿ$ÿÿ..ÿ!ÿ"!$ÿÿ*ÿ-'ÿÿÿ0%
"!ÿ*""#ÿ"ÿ'ÿ.")ÿ)ÿÿ'"#ÿ)".ÿÿÿ)"ÿ!%ÿ'"#'ÿ.")ÿ"7ÿ&'(
ÿ!)'

0      9896ÿ:6;67
       ÿ<'"!ÿÿ.ÿÿ*ÿ/&)'ÿ,%"ÿÿ=>1ÿÿ?'ÿ>ÿ?'
       ÿ*"ÿ*ÿ$ÿ'(ÿÿ*ÿ'ÿ+"ÿ"!"ÿÿ?'$ÿ'"ÿ"ÿ!ÿ*"ÿ)ÿÿ-ÿÿÿ4)"ÿÿ.ÿ'$ÿ+
       4)"ÿÿ.ÿ"#ÿÿ!ÿ*ÿÿ)""$ÿ#"$ÿÿ'")"ÿÿ-ÿÿÿÿ!$ÿÿ"%"%ÿÿ!
       "@ÿ"ÿ*ÿÿ"
       ÿ-"'ÿ)ÿÿ0%$ÿ-ÿ'%ÿ!ÿ#ÿ#ÿÿ'ÿ*!ÿ&'ÿ!ÿ"ÿÿ*)ÿÿ)!.""#ÿÿ
        "**"ÿ)'")ÿ.ÿÿ"ÿ*-ÿÿ'-ÿ#'ÿ-"'ÿÿ.A"A)ÿ"!$ÿÿ-ÿ."%
       'ÿ)!.""ÿ*ÿÿ"**"ÿ)'")ÿ-"'ÿ"!ÿ"ÿ#"#ÿÿ.ÿÿÿ'%ÿ'"#'ÿ%ÿ*!ÿÿ
       B-$ÿ-ÿ-"ÿ'%ÿ!ÿÿÿ0%ÿ4ÿ!'$ÿÿÿ!"ÿÿÿ'ÿ"!$ÿ-ÿ-"ÿ%"ÿÿÿ!ÿ"
       ÿ'ÿÿ"ÿ,5ÿ!(ÿ"ÿ'ÿ%ÿ$ÿ.")A"ÿ#ÿ"ÿ"ÿ"ÿ"#ÿ"#"ÿÿ'5ÿ"ÿÿÿ*
       #-'ÿ*ÿ"ÿ'ÿ#!ÿÿ-5ÿÿ4)"ÿ.)ÿ0%ÿ."#ÿÿÿ*ÿ"**""ÿÿ-5ÿ%ÿ4)"ÿ'
       -ÿ)ÿ!(ÿÿ."#ÿ("ÿ*ÿ'ÿAAÿ-ÿ)ÿÿÿ'ÿÿ#-'ÿ'ÿ"ÿ'ÿ#!ÿÿ-

0      CD3EF54ÿ2F3D
       <'"!ÿÿ<'"*ÿG4)"%ÿ0**")ÿÿ?'ÿ>ÿ?'
       1"$ÿ"*ÿ,ÿ!ÿ"2)ÿ'ÿÿ0%$ÿ,5%ÿ.ÿ"ÿ)'ÿ-"'ÿ!"ÿ#ÿÿ'ÿ-ÿÿÿ)!!ÿAA
       )!!ÿ'ÿ,ÿ*"ÿ"ÿ'ÿ'ÿÿ-ÿ&'ÿÿÿ"#ÿ*ÿ?'ÿ>ÿ?'ÿÿ)!ÿ"ÿ'ÿ.")ÿ#")ÿ)
       &'ÿ-ÿÿ'%ÿ'ÿ%")ÿÿ'ÿÿ'ÿ'ÿ'%ÿ))!ÿ"#ÿ)ÿ-"'ÿÿG'")ÿ."ÿÿ'
       ÿ-ÿÿ.ÿ.ÿÿ""@ÿ'ÿ%)ÿ"!ÿ-"'ÿ-'!ÿ'ÿ'%ÿ#-ÿÿ-'ÿ,ÿÿ"ÿ'ÿ#")ÿ)ÿ"
       'ÿ'ÿ#ÿ-ÿÿ'%ÿ"%ÿÿ'ÿÿÿ("#ÿ*-ÿÿ'%"#ÿ?'ÿ>ÿ?'ÿÿÿ"!
       ÿ"ÿ.")ÿ#

0      C6HH5I3ÿJDDK6
       L")ÿM"ÿAÿ,%ÿ="ÿÿ?'ÿ>ÿ?'
       &'(ÿ$ÿ1"ÿNÿ'%ÿ"!ÿ*ÿÿÿ+"

1      OP6K3DK
       &'(ÿÿ0ÿ*"ÿ+"ÿÿ"ÿ)!"#ÿ*!ÿQ"ÿ<'ÿ*!ÿ<ÿR"@#ÿSÿ"ÿ"ÿ-ÿ"%

TDF5H6ÿU864                                                                                                                          0
 ÿÿ<ÿR"@#
"ÿ&'(ÿ*ÿ("#ÿ!ÿ+"ÿ,ÿ-ÿÿ(ÿÿÿ'ÿRQ = Vÿ$ÿ"*ÿ'ÿ"!)ÿÿÿÿ'"("#ÿÿ
!(ÿ"ÿ*ÿ/ =,M0 7ÿÿ-'ÿÿ-'ÿ7ÿ&'(ÿ

0      CD84ÿUWÿX66Y
       G4)"%ÿL")ÿM"$ÿM'!)")$ÿ=>1ÿÿ?'ÿ>ÿ?'
       B$ÿ,ÿ5ÿ'"(ÿ"ÿ"*)$ÿ.)ÿ"5ÿÿ"!ÿÿÿ"ÿÿÿÿ#"A*ÿ%"%$ÿ.ÿ
       %ÿ%"%$ÿÿ-ÿÿ'ÿMRÿÿ'ÿ%"%ÿÿ'ÿ)ÿ"ÿ*ÿ'ÿ*$ÿ-"'ÿ5ÿ'"$ÿ!
       ÿ#ÿ))ÿ"ÿ-"ÿ%ÿÿ&'ÿ-"ÿÿÿ)A"ÿ'ÿÿ-ÿ'"(ÿ)'!ÿ-ÿ.ÿ%
        ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 17 of 18 Trans ID: LCV20233584887
Case 
     ÿÿ !"#$ÿ%##ÿ#ÿ&#"ÿ"Document
     3:16-md-02738-MAS-RLS                     %ÿ!ÿ'#172433
                                                           (ÿ28976
                                                              #ÿ"'"#ÿFiled
                                                                           )##(02/02/24
                                                                                   ÿ#&#!* Page 40 of 221 PageID:
                                                                                                              Ex. 2
       +ÿ,ÿ%'(ÿ#''-ÿ!-$ÿ&-ÿ#""ÿÿ.#''ÿ!..'$ÿ&-ÿ#""ÿÿÿ&)#!!"/##ÿ!..'ÿÿ#"(&"ÿ0#!#
       #!#ÿ#ÿ)")ÿÿ0#$ÿ,ÿ"1$ÿ#''-ÿ")!ÿÿ#ÿ"ÿ# !ÿÿ%ÿ#ÿ'")/# ÿ #ÿ!ÿÿ&#"!ÿ%ÿ234
       ##&ÿ"ÿ'")ÿ"#*ÿ5#ÿ//ÿ%#ÿ//ÿ%#ÿ0#'#.#ÿ0!#(ÿ"ÿ#ÿ(ÿ%#6''ÿ&#!#"ÿ"ÿ#ÿ7#!(#"'ÿ!#!!"ÿÿ2+89ÿ
       #ÿ 0""ÿÿ:;<:2=>?5$ÿÿ0!&#ÿ"0(-$ÿ#ÿ!ÿ0!&#ÿ#.#ÿ&&.#(ÿÿÿ!'(ÿ ÿ"("
       "(#"''-$ÿ''-ÿ "$ÿ!ÿ%#''ÿ!ÿ#ÿ(/)#"#"ÿ! ''ÿ'#'#ÿ'ÿ234ÿ##&ÿ@A#"0$ÿ%ÿ!ÿ0"ÿ&#"#"$
       ,ÿ# "(*ÿB#ÿ0#'#.#ÿ$ÿÿ%''ÿ0# #ÿ#ÿ"#%ÿ"'"#ÿ!"((ÿÿ#ÿÿ234ÿ##&ÿ"ÿ'")ÿ"#ÿ"(ÿ#
       &#"!ÿ(0'#ÿ# !!"!ÿÿ#ÿ#.#(ÿ"ÿÿ# /##ÿ#)#"*

      CDEFGHIF
       5"1ÿ-*

      JEKKLMGÿOIIFE
       =#ÿ7#!(#"ÿ/ÿ,".#!ÿ:#'"!ÿÿP"!"ÿQÿP"!"
       5"1ÿ-ÿ"(ÿ"1!ÿÿ#.#-"#ÿÿ-ÿR#!"!ÿ"(ÿ-ÿ""#(ÿ"##!ÿ"ÿÿS &"-*ÿB#ÿ&')A#ÿÿ!#ÿ
       %#ÿ'("6ÿ)#ÿÿ0#!#ÿÿ#$ÿ0ÿ("6ÿ#!#ÿÿ#ÿÿÿ#ÿ,".#!ÿ:#'"!ÿ# ÿ%ÿ"-ÿ# "")
       R#!"!ÿ-ÿ-ÿ.#*
       ,ÿ%''ÿ"%ÿ"ÿ#ÿ''ÿ01ÿÿPR"ÿÿ! #ÿ0#ÿ'!")ÿ# 1!*

      JIGTULVÿWUGHI
       S "ÿ"(ÿS#ÿ2X#.#ÿ9#ÿÿP"!"ÿQÿP"!"
       5"1ÿ-$ÿP#!!$ÿ"(ÿ"1ÿ-ÿÿ''ÿÿ-ÿÿY"")ÿ!ÿ(-*ÿ,6 ÿ&(ÿÿ&#!#"ÿ(-ÿ#ÿ &"-6!ÿ&# "#*
       5!ÿ!ÿ#ÿ!ÿR#ÿÿ%#ÿ#&ÿ!ÿÿ"#%ÿPQP$ÿ!#(ÿ"ÿ#'ÿ#ÿ""."$ÿ"ÿ8#(5#$ÿ"(ÿ"ÿ7 #'!*
       >"(ÿ,ÿ0#'#.#ÿ!ÿ//ÿ!ÿ"#%ÿPQPÿ!ÿÿ0##ÿ"("ÿÿ""#ÿÿ(.#ÿ)%ÿÿ#ÿ"#Xÿ(#(#*
       B#ÿ#ÿ#.")ÿ!")ÿ#!'!ÿ"ÿZ[Z\ÿ%ÿÿ]*^_ÿ(Y!#(ÿ&#"'ÿ)%ÿ"ÿ#ÿR#*ÿ,6!ÿ#ÿ!#"(ÿR#ÿ"ÿ
       %ÿÿ%#ÿ.#ÿÿ//ÿ0#ÿ"(ÿ!#ÿÿÿ)("#*ÿ>"(ÿ%#ÿ""#ÿÿ0#'#.#ÿÿ%#6#ÿ)")ÿÿ.#ÿÿ.#-ÿ!")ÿ"!
       "ÿZ[Z\*ÿ>"(ÿÿ#(!ÿ%#''ÿÿÿ!")ÿZ[Z`ÿ*ÿB#ÿ.#ÿÿ(#(#(ÿ# ÿ0ÿ"ÿ,""..#ÿ8#("#!ÿ"(ÿ"
       8#(5#*ÿ>"(ÿ%#ÿ"1ÿ%#ÿ#ÿ.#-ÿ%#''ÿ&!"#($ÿ!ÿ,ÿ!($ÿÿ-ÿ#ÿ #" ÿÿ-ÿ#ÿ!##")ÿ"ÿZ[Z\ÿ"ÿZ[Z`*
       4"''-$ÿ%#ÿ#ÿ'1")ÿ%(ÿÿ#"))")ÿ''ÿÿ-ÿÿ#"#&!#ÿ0!"#!!ÿ#.#%ÿ"ÿa## 0#ÿ^*ÿ5"1ÿ-ÿ.#-ÿ
       "(ÿ#"Y-ÿ#ÿ#!ÿÿ-ÿ(-*

      CDEFGHIF
       b9&#ÿS'!")ÿ:# 1!c


ÿ

0123ÿ5627879ÿ31 23ÿ21ÿ062336
               ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 18 of 18 Trans ID: LCV20233584887
  Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 41 of 221 PageID:
                                                                          Ex. 2
                      0123456789ÿ877ÿ8536172434
                                                ÿÿÿÿ!"#ÿ$%&ÿ!'"(ÿ)*ÿ!+ÿ,-&
                                                                                                                                  : ÿ; ÿ< ÿ= ÿ> ÿ?
                                                '.##/012#3#4'0
                                                567ÿ8,69$%,

@ABCDÿF@GHIDAI@D                                RBRCS@GÿDBBST                                    Z[\@\][@Sÿ]@SI\^@GT                              DIGFTÿaÿ[\ZB
J3'"#                                           !#'2ÿU*#*                                      J.X*#ÿ#._*                                  JV1#*._
K#'1ÿL".*                            Q'0N1ÿ!#'2*                                   +V.*                                        J**3#Xÿ!##0.#
1**ÿ''0                                      +V.ÿQ"#'1                              K1.._*                                         +'ÿ'#ÿ!ÿWXÿ̀.b'10#'.
MNÿ.ÿM'O9P'                                 WXÿW12#Y#                                    .̀*1ÿP1*                                   1VXÿ'X
Q11*                                         !#'2ÿ!1.1                                   !#'2ÿW12#ÿM'X*                            !!ÿ)*
Q'.##                                                                                                                                           P10*ÿ'bÿ!1V

cÿJ01.ÿQ'.*"01ÿO*ÿUUQÿ3ÿW12#Y#dÿ%&-&9%&%4ÿJÿ1_e#*ÿ1*1V4
cÿ%&%ÿW12#ÿ#ÿN1'Vÿ*ÿ#ÿ*#ÿ-&90."#*ÿXÿ.ÿe'*#ÿ3XÿY1e1#ÿ!'"#'.*4ÿ̀.b'10#'.ÿ*ÿN1'Vÿf*9*fÿ.ÿ*'Xÿb'1ÿ.b'10#'.ÿN"1N'**ÿ.'#ÿb'1ÿ#1._ÿN"1N'**ÿ'1
Vÿ.ÿ*ÿX4ÿP'ÿ*ÿÿ(e._ÿX*ÿ.ÿ#10*ÿ'bÿ"*ÿN*ÿ*ÿg6hi6jÿ7h71564ÿ
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 1 of 6 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 42 of 221 PageID:
                                 172435




                         EXHIBIT 3
        ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 2 of 6 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 43 of 221 PageID:
                                 172436                                 Ex. 3

   From:              James Conlan
   To:                Van Arsdale, Duane [JJCUS]
   Cc:                Douglas Dachille; Doug Dachille; Haas, Erik [JJCUS]; White, Andrew [JJCUS]
   Subject:           [EXTERNAL] Re: Legacy Liability Solution
   Date:              Wednesday, October 18, 2023 4:21:12 AM



    WARNING: This email originated from outside the company. Do not click on links unless you recognize the
    sender and have confidence the content is safe. If you have concerns about this email, report it by clicking on
    the “Report Suspicious Email” button in the Outlook toolbar above.




   Duane,

   Thank you for your efforts to evaluate our proposal. To further enhance our solution and to
   address potential auditor concerns, Legacy has the support of lead counsel for the OC
   Claimants (including Andy Birchfield) for an MDL opt-in settlement matrix with Legacy that
   will require (and is expected to garner) a 95% opt-in of current OC Claimants. The
   establishment of a settlement matrix should greatly reduce the uncertainty surrounding the
   estimation of future claims and the associated challenges of determining the quantum of
   funding necessary for your auditors to remove the non-cash charge for J&J’s current and
   future talc related liabilities.

   Andy Birchfield, Doug Dachille, and I are prepared to meet with you, and your team, in
   person to share and discuss the terms of such matrix as part of the Legacy acquisition.

   Thank you again for your time and consideration.



   James F. Conlan
   Chief Executive Officer and Co-Founder
   Legacy Liability Solutions
   Bermuda | Dallas | Chicago | Paris
   Email | james.conlan@legacyliability.com
   Mobile | +312.927.7572
   www.legacyliability.com




          On Oct 6, 2023, at 12:43 PM, Van Arsdale, Duane [JJCUS]
          <DVanArs@its.jnj.com> wrote:



          Hi Doug and Jim,

          Thank you for the follow-up note to our discussion a few weeks ago.
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 3 of 6 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 44 of 221 PageID:
                                 172437                                 Ex. 3


       To close the loop, we have discussed both internally and with our auditors, and at this
       time, we do not have an interest in pursuing this strategy. While unlikely, we will let
       you know if this perspective changes in the future.

       Thanks again for your time and thoughts.

       Duane

       From: Douglas Dachille <ddachille@non-canonical.com>
       Sent: Thursday, September 28, 2023 10:16 PM
       To: Van Arsdale, Duane [JJCUS] <DVanArs@its.jnj.com>
       Cc: James Conlan <james.conlan@legacyliability.com>; Doug Dachille
       <doug.dachille@legacyliability.com>
       Subject: [EXTERNAL] Re: RE:

        WARNING: This email originated from outside the company. Do not click on links unless you
        recognize the sender and have confidence the content is safe. If you have concerns about this
        email, report it by clicking on the “Report Suspicious Email” button in the Outlook toolbar above.



       Hi Duane,
       I wanted to thank you for arranging our meeting and for the time you and
       your colleagues afforded Jim and myself to outline the components of a
       transaction which we believe could provide J&J with legal finality to its
       talc liabilities, comparable to what it hoped to achieve through
       bankruptcy.

       As Jim explained, our solution will relieve J&J of both its current and
       future talc liabilities in the tort system, as well as talc-related claims
       made against it by Imerys, Cyprus and other third parties (e.g. retailers).
       It should be noted that bankruptcy would not have resolved direct talc
       claims against affiliates of LTL, but the Legacy Liability solution will.

       To achieve that outcome, Legacy will acquire LTL plus all other legal
       entities in the J&J corporate family that have any current or future talc
       liability in the tort system or contractually. This will require a further
       structural optimization (e.g. divisional merger) of J&J and likely other
       J&J affiliates. Once this additional structural optimization work is
       completed, and Legacy becomes the owner of all J&J entities with talc
       liabilities, J&J will no longer have any liability in the tort system or
       contractually for talc.

       The transfer of ownership of the talc liable entities to Legacy, and the
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 4 of 6 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 45 of 221 PageID:
                                 172438                                 Ex. 3

       disaffiliation of those entities from J&J, requires that such entities have
       assets at the time of transfer that equal or exceed the best estimate of the
       projected current and future talc claims. By doing so, there can be no
       fraudulent transfer or unlawful dividend. As a closing condition for the
       acquisition transaction by Legacy, J&J auditors must reach the foregoing
       conclusion in order for the ASC 450 non-cash charge to be removed
       from the financial statements of J&J.

       Importantly, any talc claimant who disagrees with the above will lack
       standing to assert any “avoidance” theories, as all talc claims will
       continue to be paid in the ordinary course.

       In addition to the legal construct of our proposed
       transaction, we briefly outlined a number of the other
       considerations - tax, investment management, creditor
       issues, claims management, fees and expenses and the
       use of reinsurance in the form of an adverse
       development cover as a way for J&J to participate in
       the favorable development of claims prospectively
       relative to the original projections which determined
       the funding amount at inception. We would be happy
       to provide additional documentation which
       specifically addresses each of these issues in more
       detail.

       Certainly the most important issues to address with
       respect to our proposal are the legal ones, but the
       relevant legal conclusions are quite clear. Please
       contact either Jim or myself if there is any additional
       information we can provide to assist with the internal
       vetting process that our proposal provides J&J finality
       with respect to all of its talc-related liabilities.
       Regards,
       Doug
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 5 of 6 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 46 of 221 PageID:
                                 172439                                 Ex. 3


       From: Van Arsdale, Duane [JJCUS] <DVanArs@its.jnj.com>
       Sent: Monday, August 21, 2023 6:12 PM
       To: Douglas Dachille <ddachille@non-canonical.com>
       Cc: James Conlan <james.conlan@legacyliability.com>; Haas, Erik [JJCUS]
       <EHaas8@its.jnj.com>; White, Andrew [JJCUS] <AWhite23@ITS.JNJ.com>; Rockaway,
       Darlene [JJCUS] <DRockawa@its.jnj.com>
       Subject: RE:

       Hi Doug,

       Thanks for the note and nice to meet you as well. I have copied Erik Haas and Andrew
       White who will also join the discussion.

       I will ask Darlene (copied here) to coordinate and propose a few dates for us to get
       together in the near future. We’ll be back in touch shortly.

       Thank you,
       Duane


       From: Douglas Dachille <ddachille@non-canonical.com>
       Sent: Monday, August 21, 2023 4:41 PM
       To: Huffines, Robert <robert.huffines@jpmorgan.com>
       Cc: Van Arsdale, Duane [JJCUS] <DVanArs@its.jnj.com>; James Conlan
       <james.conlan@legacyliability.com>
       Subject: [EXTERNAL] Re:

        WARNING: This email originated from outside the company. Do not click on links unless you
        recognize the sender and have confidence the content is safe. If you have concerns about this
        email, report it by clicking on the “Report Suspicious Email” button in the Outlook toolbar above.


       Thank you Robert for the introduction.

       Duane,

       Nice to meet you. Jim and I would we happy to meet with you in person at your earliest
       convenience.

       Best regards,
       Doug

       Sent from my iPad


              On Aug 21, 2023, at 4:18 PM, Huffines, Robert
              <robert.huffines@jpmorgan.com> wrote:
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 6 of 6 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 47 of 221 PageID:
                                 172440                                 Ex. 3



            Duane - As I mentioned to you and Joe I’d like to introduce you to Doug &
            James.

            Over to you all to connect.

            Thanks. Let me know if I can be of help.

            Robbie

            Sent with BlackBerry Work
            (www.blackberry.com)

            This message is confidential and subject to terms at:
            https://www.jpmorgan.com/emaildisclaimer including on
            confidential, privileged or legal entity information, malicious content
            and monitoring of electronic messages. If you are not the intended
            recipient, please delete this message and notify the sender
            immediately. Any unauthorized use is strictly prohibited.
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 1 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 48 of 221 PageID:
                                 172441




                EXHIBIT 4([FHUSW
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 2 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 49 of 221 PageID:
                                 172442                     Ex. 4 - EXCERPT


                                                                         Page 1

  1
  2         UNITED STATES BANKRUPTCY COURT OF NEW JERSEY
                          Case No. 23-12825
  3       - - - - - - - - - - - - - - - - - x
          In re:                              :
  4                                           :
          LTL MANAGEMENT LLC,                 :
  5                                           :
                                    Debtor, :
  6       - - - - - - - - - - - - - - - - - -x
          LTL MANAGEMENT LLC,                 :
  7                                           :
                                Plaintiff,    :
  8                                           :
                      v.                      :
  9                                           :
          THOSE PARTIES LISTED ON APPENDIX A :
 10       TO COMPLAINT and JOHN AND JANE DOES:
          1-1000,                             :
 11                                           :
                                 Defendants. :
 12       - - - - - - - - - - - - - - - - - -x
 13                                         April 17, 2023
                                            1:12 p.m.
 14                                         7 Times Square
                                            New York, NY
 15
 16
 17
 18
 19
 20                  VIDEOTAPED AND REMOTE DEPOSITION UPON
 21       ORAL EXAMINATION OF ANDY BIRCHFIELD, ESQ., held
 22       at the above-mentioned time and place, before
 23       Randi Friedman, a Registered Professional
 24       Reporter, within and for the State of New York.
 25

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 3 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 50 of 221 PageID:
                                 172443                     Ex. 4 - EXCERPT


                                                                         Page 2

  1                               A. Birchfield, Esq.
  2       APPEARANCES:
  3                  OTTERBOURG, P.C.
                     Attorneys for Proposed counsel for the
  4                  official committee of talc claimants
  5                  230 Park Avenue
                     New York, New York 10169
  6
                           BY:    RICHARD G. HADDAD, ESQ.
  7
  8
                           GOLOMB SPIRT GRUNFELD
  9                        Attorneys for TCC
 10                        1835 Market Street, Suite 2900
                           Philadelphia, Pennsylvania 19103
 11
                           BY:    RICHARD M. GOLOMB, ESQ.
 12
 13
                           LEVIN PAPANTONIO RAFFERTY
 14                        Attorneys for William Henry
 15                        316 South Baylen Street
                           Pensicola, Florida 32502
 16
                           BY:    CHRISTOPHER V. TISI, ESQ.
 17
 18
                           BEASLEY ALLEN
 19                        Attorneys for Alishia Landrum
 20                        218 Commerce Street
                           Montgomery Alabama 36104
 21
                           BY:    LEIGH O'DELL, ESQ.
 22
 23
 24
 25       (Appearances continued.)

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 4 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 51 of 221 PageID:
                                 172444                     Ex. 4 - EXCERPT


                                                                         Page 3

  1                       A. Birchfield, Esq.
  2       (Appearances continued.)
  3                  COHEN, PLACITELLA & ROTH
                     Attorneys for Estate of Kimberly
  4                  Naranjo
  5                  127 Maple Avenue
                     Red Bank, New Jersey 07701
  6
                           BY:    CHRISTOPHER PLACITELLA, ESQ.
  7
  8
                           JOHNSON & JOHNSON
  9                        Attorneys for Johnson & Johnson
 10                        1 Johnson & Johnson Plaza
                           New Brunswick, New Jersey 08933
 11
                           BY:    ERIC HAAS, ESQ.
 12
 13
                           SKADDEN ARPS SLATE MEAGHER & FLOM, LLP
 14                        Attorneys for LTL Management
 15                        One Manhattan West
                           New York, New York 10001
 16
                           BY:    ALLISON BROWN, ESQ.
 17
 18
                           WHITE & CASE, LLP
 19                        Attorneys for Johnson & Johnson
 20                        555 South Flower Street, Sute 2700
                           Los Angeles, California 90071
 21
                           BY:    GREGORY STARNER, ESQ.
 22                               KATHRYN KUETHMAN, ESQ.
 23
 24
 25       (Appearances continued.)

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 5 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 52 of 221 PageID:
                                 172445                     Ex. 4 - EXCERPT


                                                                         Page 4

  1                                 A. Birchfield, Esq.
  2       (Appearances continued.)
  3
                            KLEHR HARRISON HARVEY BRANZBURG, LLP
  4                         Attorneys for Andy Birchfield, Esq.
  5                         10000 Lincoln Drive East, Suite 201
                            Marlton, New Jersey 08053
  6
                            BY:     CAROL ANN SLOCUM, ESQ.
  7
                                            * * *
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20       ALSO PRESENT:
 21                         Paul Baker - Videographer
                            Jerry Curran - Concierge
 22                         Ted Meadows, Esq.
                            Jim Murdica, Esq.
 23
 24
 25

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 6 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 53 of 221 PageID:
                                 172446                     Ex. 4 - EXCERPT


                                                                         Page 5

  1                                A. Birchfield, Esq.
  2                                   STIPULATIONS
  3                       IT IS HEREBY STIPULATED AND AGREED, by
  4       and among counsel for the respective parties
  5       hereto, that the filing, sealing and
  6       certification of the within deposition shall be
  7       and the same are hereby waived;
  8                       IT IS FURTHER STIPULATED AND AGREED
  9       that all objections, except as to form of the
 10       question, shall be reserved to the time of the
 11       trial;
 12                       IT IS FURTHER STIPULATED AND AGREED
 13       that the within deposition may be signed before
 14       any Notary Public with the same force and effect
 15       as if signed and sworn to before the Court.
 16                                        * * *
 17
 18
 19
 20
 21
 22
 23
 24
 25

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 7 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 54 of 221 PageID:
                                 172447                     Ex. 4 - EXCERPT


                                                                          Page 6

  1                            A. Birchfield, Esq.

  2                           MR. VIDEOGRAPHER:          Good afternoon.     13:12:46

  3              We are going on the record at 1:12 p.m.                     13:12:47

  4              Eastern Daylight Time on Monday, April 17th,                13:12:51

  5              2023.                                                       13:12:54

  6                           Please note that the microphones               13:12:56

  7              are sensitive and may pick up whispering and                13:12:58

  8              private conversation.         Please mute all               13:13:02

  9              cellphones at this time.                                    13:13:04

 10                           This is Media Unit 1 of the                    13:13:05

 11              video-recorded deposition of Andy Birchfield                13:13:06

 12              in the matter of LTL Management LLC, filed                  13:13:08

 13              in the United States Bankruptcy Court,                      13:13:13

 14              District of New Jersey, Case No. 23-12825.                  13:13:14

 15              This deposition is being held at Brown                      13:13:21

 16              Rudnick LLP, located at 7 Times Square, New                 13:13:23

 17              York, New York.                                             13:13:26

 18                           My name is Paul Baker and I am the             13:13:28

 19              videographer.      The court reporter is Randi              13:13:29

 20              Friedman, and we are both from Veritext.                    13:13:31

 21              Appearances have been noted on the                          13:13:34

 22              stenographic record.                                        13:13:36

 23                           Will the court reporter please                 13:13:38

 24              swear in the witness.                                       13:13:47

 25                                                                          13:13:47

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 8 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 55 of 221 PageID:
                                 172448                     Ex. 4 - EXCERPT


                                                                          Page 7

  1                             A. Birchfield, Esq.

  2                                  * * *                                   13:13:47

  3                            ANDY BIRCHFIELD, the witness                  13:13:47

  4              herein, having been duly sworn, was examined                13:13:47

  5              and testified as follows:                                   13:13:47

  6                                  * * *                                   13:13:47

  7                                EXAMINATION                               13:13:47

  8       BY MR. HAAS:                                                       13:13:47

  9              Q      Mr. Birchfield, good afternoon.                      13:13:48

 10              A      Good afternoon.                                      13:13:50

 11              Q      My name is Eric Haas, on behalf of                   13:13:50

 12       Johnson & Johnson.        We've met before; correct?               13:13:53

 13              A      Yes.                                                 13:13:56

 14              Q      Mr. Birchfield, you're a lawyer;                     13:13:56

 15       right?                                                             13:13:58

 16              A      Yes.                                                 13:13:58

 17              Q      Are you affiliated with any law firm?                13:13:59

 18              A      Beasley Allen Law Firm in Montgomery,                13:14:01

 19       Alabama.                                                           13:14:03

 20              Q      Any other law firms?                                 13:14:05

 21              A      No.                                                  13:14:06

 22              Q      Mr. Birchfield, which of the Beasley                 13:14:08

 23       Allen partners have been involved in talc                          13:14:10

 24       litigation or recovery of talc-related claims                      13:14:14

 25       against Johnson & Johnson or its affiliation?                      13:14:18

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 9 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 56 of 221 PageID:
                                 172449                     Ex. 4 - EXCERPT


                                                                                Page 8

  1                               A. Birchfield, Esq.

  2               A       You're going to test my memory here.                    13:14:22

  3       Certainly Leigh O'Dell and Ted Meadows.                     We have     13:14:24

  4       had over the course of the last nine years, had a                       13:14:27

  5       number of law partners that have been involved as                       13:14:34

  6       well.       David Dearing, Ryan Beatty.                We've had a      13:14:36

  7       former law partner, Daniel Mason Ward, was                              13:14:42

  8       involved.       Maybe other law partners that have                      13:14:46

  9       been involved as well, but those are the ones                           13:14:52

 10       that I can think of off the top of my head.                             13:14:55

 11               Q       Okay.     Thank you.                                    13:14:57

 12                       When I refer to talc-related                            13:14:58

 13       litigation or talc claims or talc litigation,                           13:15:00

 14       I'll be referring to the talc litigation against                        13:15:03

 15       Johnson & Johnson and its affiliates; okay?                             13:15:07

 16               A       Yes.                                                    13:15:10

 17               Q       How many individuals with talc claims                   13:15:10

 18       do you and/or Beasley Allen currently represent?                        13:15:13

 19               A       It would be approximately 11,300.                       13:15:19

 20               Q       Now, Mr. Birchfield, of any of those                    13:15:32

 21       11,300 individuals, are any of them claimants who                       13:15:35

 22       have not yet filed their claims in any court?                           13:15:42

 23               A       Yes.     There would be roughly -- my                   13:15:46

 24       best understanding is approximately 100 that                            13:15:52

 25       would have been -- would have been retained                             13:15:55

                                      Veritext Legal Solutions
      212-267-6868                      www.veritext.com                         516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 10 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 57 of 221 PageID:
                                 172450                     Ex. 4 - EXCERPT


                                                                          Page 9

  1                             A. Birchfield, Esq.

  2       and -- during the time of the pendency of                         13:16:00

  3       bankruptcy, and not filed.                                        13:16:03

  4              Q      Why were they not filed?                            13:16:06

  5              A      Because of the pendency of the                      13:16:07

  6       bankruptcy.                                                       13:16:08

  7              Q      In other words, because there was an                13:16:09

  8       automatic stay --                                                 13:16:10

  9              A      Automatic stay.                                     13:16:11

 10              Q      -- that precluded you from filing                   13:16:11

 11       those claims?                                                     13:16:14

 12              A      Yes.                                                13:16:14

 13              Q      Okay.     Of the 11,300 claims that                 13:16:15

 14       Beasley Allen represents, how many of those have                  13:16:23

 15       been filed in the multi-district litigation                       13:16:26

 16       pending in New Jersey?                                            13:16:29

 17              A      I couldn't give you a precise number.               13:16:33

 18       Approximately 5,000.                                              13:16:35

 19              Q      So of the 11,200 claims that are                    13:16:47

 20       filed --                                                          13:16:51

 21              A      Let me back up.                                     13:16:52

 22              Q      Would you like to correct that?                     13:16:54

 23              A      I think it would probably be closer to              13:16:55

 24       6,000.     My best estimate.                                      13:16:57

 25              Q      Okay.    So of the 11,200 claims that               13:17:03

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 11 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 58 of 221 PageID:
                                 172451                     Ex. 4 - EXCERPT


                                                                         Page 10

  1                                A. Birchfield, Esq.

  2       you said are filed, how many of those --                          13:17:06

  3               A        No.     I'm sorry.                               13:17:10

  4               Q        Okay.                                            13:17:11

  5               A        So you asked how many claimants we               13:17:12

  6       represent.                                                        13:17:14

  7               Q        Right.     And you said --                       13:17:14

  8               A        11,300.                                          13:17:15

  9               Q        Okay.                                            13:17:17

 10               A        And you asked how many cases we have             13:17:18

 11       that would be ready to be filed or would be filed                 13:17:22

 12       if -- but for the stay, and that's approximately                  13:17:24

 13       100.        You know, there are -- you know, there are            13:17:28

 14       additional claims that are unfiled claims, but                    13:17:31

 15       would not be -- would not necessarily be cases to                 13:17:34

 16       be filed, you know, in the immediate term.                        13:17:37

 17               Q        What is the distinction you're making            13:17:42

 18       between claims that are not files and claims that                 13:17:45

 19       are not ready to be filed in the immediate near                   13:17:48

 20       term?                                                             13:17:51

 21                              MS. SLOCUM:       I'm going to object      13:17:51

 22               and instruct the witness to the extent it                 13:17:53

 23               calls for work product, don't answer the                  13:17:54

 24               question.                                                 13:17:57

 25                              THE WITNESS:       I will follow the       13:18:03

                                       Veritext Legal Solutions
      212-267-6868                       www.veritext.com                   516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 12 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 59 of 221 PageID:
                                 172452                     Ex. 4 - EXCERPT


                                                                        Page 11

  1                             A. Birchfield, Esq.

  2              advice of my counsel.                                      13:18:04

  3       BY MR. HAAS:                                                      13:18:04

  4              Q      Okay.     So let me just be clear then.             13:18:05

  5       Of the 11,300 claims that you testified that                      13:18:08

  6       Beasley Allen represents, how many of those have                  13:18:14

  7       not yet been filed with any court?                                13:18:17

  8              A      So there would be approximately, you                13:18:21

  9       know, 5,000 claims that are -- that are unfiled                   13:18:23

 10       claims.                                                           13:18:28

 11              Q      So of the 5,000 that are unfiled, 100               13:18:31

 12       have not been filed due to the automatic stay?                    13:18:36

 13              A      Right.                                              13:18:39

 14              Q      And the remaining 4,900 are not filed               13:18:39

 15       for some other reason?                                            13:18:45

 16              A      Correct.                                            13:18:46

 17              Q      Do those 4,900 other claims constitute              13:19:01

 18       viable claims?                                                    13:19:06

 19                          MS. SLOCUM:       Objection.      Instruct     13:19:08

 20              the witness to the extent it requires work                 13:19:09

 21              product to be divulged, do not answer the                  13:19:12

 22              question.                                                  13:19:16

 23                          MR. HAAS:      There has been                  13:19:17

 24              extensive inquiry about claims in this                     13:19:18

 25              litigation by the group that Mr. Birchfield                13:19:21

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 13 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 60 of 221 PageID:
                                 172453                     Ex. 4 - EXCERPT


                                                                        Page 12

  1                             A. Birchfield, Esq.

  2              is a part, so I am inquiring as to which                   13:19:24

  3              claims are viable claims and fall within the               13:19:27

  4              bucket of claims that he believes are                      13:19:30

  5              associated with his views of the case.                     13:19:37

  6                          MS. SLOCUM:       And that requires him        13:19:39

  7              to disclose work product, his analysis of                  13:19:40

  8              the claims and -- or his firm's analysis and               13:19:43

  9              determination of what is viable.                           13:19:47

 10       BY MR. HAAS:                                                      13:19:49

 11              Q      Mr. Birchfield, let me ask it this                  13:19:49

 12       way:                                                              13:19:51

 13                     Do the 4,900 claims that are not filed              13:19:52

 14       for some other reason other than the automatic                    13:19:56

 15       stay represent claims that are not supportive LTL                 13:19:57

 16       bankruptcy claims?                                                13:20:08

 17              A      Okay.     Let me -- a couple of things I            13:20:09

 18       need to correct there.                                            13:20:11

 19                     First of all, in regards to the -- you              13:20:13

 20       know, the 4,900, I was giving you approximate                     13:20:15

 21       numbers.                                                          13:20:19

 22                     In regards to, you know, an LTL plan,               13:20:20

 23       I haven't seen an LTL plan.            I have seen, you           13:20:24

 24       know, the term sheet that has been proposed, and,                 13:20:29

 25       you know, I'm not aware of any of the -- any of                   13:20:35

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 14 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 61 of 221 PageID:
                                 172454                     Ex. 4 - EXCERPT


                                                                        Page 13

  1                             A. Birchfield, Esq.

  2       those claims that, you know, would be outside of                  13:20:40

  3       what is -- what's referenced in that -- in the                    13:20:44

  4       term sheet.     But, you know, I would not -- I                   13:20:48

  5       would not recommend filing some of the types of                   13:20:54

  6       claims that are referenced in the term sheet.                     13:20:57

  7              Q      Okay.     So let me try walking through             13:21:05

  8       this one more time, see if we understand what                     13:21:08

  9       we're talking about here.                                         13:21:10

 10                     So you have 11,300 claims that you                  13:21:11

 11       contend that Beasley Allen represents; correct?                   13:21:14

 12              A      Yes.                                                13:21:18

 13              Q      Of those, 6,000 claims are actually                 13:21:20

 14       filed in the MDL?                                                 13:21:22

 15              A      Approximately.                                      13:21:24

 16              Q      5,000 are unfiled claims?                           13:21:25

 17              A      Correct, approximately.                             13:21:28

 18              Q      Of the 5,000, 100 are claims that you               13:21:30

 19       say would be filed but for the automatic stay?                    13:21:33

 20              A      Right.                                              13:21:36

 21              Q      And the other 4,900 balance represents              13:21:37

 22       claims that you are not sure whether or not they                  13:21:41

 23       would be filed?                                                   13:21:45

 24              A      That's correct.        I mean, first of all,        13:21:48

 25       I am not personally reviewing these cases and                     13:21:53

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 15 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 62 of 221 PageID:
                                 172455                     Ex. 4 - EXCERPT


                                                                         Page 14

  1                           A. Birchfield, Esq.

  2       making these decisions, so there are lawyers at                   13:21:57

  3       Beasley Allen that review these cases.               There's      13:22:01

  4       staff that collect the medical records.               So I'm      13:22:04

  5       not -- I'm not personally reviewing these 5,000                   13:22:07

  6       cases and making decisions.                                       13:22:11

  7              Q      So focusing on the 4900 claims, has                 13:22:13

  8       anyone at Beasley Allen reviewed those claims and                 13:22:17

  9       determined whether they will be filed?                            13:22:20

 10                          MS. SLOCUM:       Objection.      I'm going    13:22:21

 11              to again instruct not to answer based on                   13:22:22

 12              work product.                                              13:22:25

 13                          MR. HAAS:      It's a question of              13:22:25

 14              whether.    I'm not getting into any                       13:22:26

 15              attorney-client privilege or work product                  13:22:28

 16              information.     Has anyone done it, so let's              13:22:29

 17              start --                                                   13:22:32

 18                          MS. SLOCUM:       No.     You asked            13:22:33

 19              whether anybody has determined them to be                  13:22:34

 20              viable.    That was your question.                         13:22:36

 21                          MR. HAAS:      I didn't ask that.              13:22:39

 22       BY MR. HAAS:                                                      13:22:39

 23              Q      Has anyone done an analysis to                      13:22:40

 24       determine whether they can be filed?                              13:22:42

 25              A      So for all of the cases that Beasley                13:22:46

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 16 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 63 of 221 PageID:
                                 172456                     Ex. 4 - EXCERPT


                                                                            Page 15

  1                             A. Birchfield, Esq.

  2       Allen has, you know, has taken in, we would -- we                    13:22:50

  3       would obtain medical records, we would do an                         13:22:55

  4       evaluation, you know, of those claims.                  And that     13:22:59

  5       would have been done for the vast majority of                        13:23:05

  6       those claims.      I cannot say that it has been done                13:23:08

  7       for every claim.        If we got a case in last week,               13:23:11

  8       you know, it may not have happened.                  But for the     13:23:15

  9       vast majority of the claims, we have -- we                           13:23:17

 10       obtained the medical records and we're in the                        13:23:23

 11       process of evaluating those claims.                                  13:23:25

 12              Q      Okay.     So to circle back, you have as               13:23:27

 13       of this time 6,100 claims that you have                              13:23:32

 14       determined that will or have been filed in court?                    13:23:38

 15              A      Approximately.        I'm giving you                   13:23:46

 16       approximate numbers.                                                 13:23:47

 17              Q      Approximately.        Okay.      6,100.     Okay.      13:23:48

 18                     Now starting with the very first claim                 13:23:53

 19       that Beasley Allen was engaged with respect to,                      13:23:58

 20       when was that?                                                       13:24:02

 21              A      If you want a precise date, I can't                    13:24:06

 22       give you that.                                                       13:24:08

 23              Q      Round terms.                                           13:24:09

 24              A      I believe that to have been in the                     13:24:11

 25       2013 time frame.                                                     13:24:13

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                        516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 17 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 64 of 221 PageID:
                                 172457                     Ex. 4 - EXCERPT


                                                                         Page 16

  1                             A. Birchfield, Esq.

  2              Q      Okay.     You indicated that there are               13:24:16

  3       approximately 6,000 claims in the MDL.               By what       13:24:20

  4       time frame had Beasley Allen been retained with                    13:24:25

  5       respect to those 6,000 claims?                                     13:24:28

  6              A      Well, it would have been -- it would                 13:24:32

  7       have been before October of '21.               I can't say.    I   13:24:35

  8       can't say when the last case was retained and was                  13:24:39

  9       filed in the MDL, but I know it would have been                    13:24:43

 10       before October of '21.                                             13:24:45

 11              Q      And just for a general sense,                        13:24:47

 12       Mr. Birchfield, what was the time frame in which                   13:24:49

 13       you acquired those 6,000 claims between 2013 and                   13:24:52

 14       2021, in general terms?                                            13:24:56

 15              A      I really can't answer that question.                 13:25:03

 16              Q      When were the majority of the claims                 13:25:04

 17       obtained by?                                                       13:25:08

 18              A      I can't answer that question.            We have     13:25:09

 19       been taking, you know, cases, you know, from                       13:25:13

 20       lawyers throughout the -- you know, throughout                     13:25:18

 21       this period, but I can't tell you, you know -- I                   13:25:20

 22       can't tell you, you know, how many were in 2014                    13:25:24

 23       versus '15 versus '16.         I don't know that.                  13:25:27

 24              Q      Did you have the majority of the                     13:25:31

 25       claims by 2018?                                                    13:25:33

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                       516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 18 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 65 of 221 PageID:
                                 172458                     Ex. 4 - EXCERPT


                                                                        Page 17

  1                           A. Birchfield, Esq.

  2               A     I can't say.       Probably, but I can't            13:25:39

  3       give you a definitive answer.                                     13:25:41

  4               Q     Did you have the majority of claims by              13:25:42

  5       2019?                                                             13:25:43

  6               A     Probably so, but I can't say                        13:25:47

  7       definitively.                                                     13:25:49

  8               Q     Did you obtain any claims in '20 and                13:25:50

  9       '21 of the 6,000 that were filed in the MDL?                      13:25:51

 10               A     I can't say definitively, but I would               13:25:57

 11       certainly think so.                                               13:25:59

 12               Q     So is it fair to say that you obtained              13:26:03

 13       the majority of the claims that have been filed                   13:26:05

 14       in the MDL by no later than 2019?                                 13:26:07

 15                          MS. SLOCUM:       Objection.                   13:26:10

 16                          THE WITNESS:        When you say               13:26:11

 17               "majority," I mean, you're talking about                  13:26:12

 18               more than 50 percent, I would just have to                13:26:14

 19               guess, but I would think most of those cases              13:26:18

 20               had been retained by then, but I don't know               13:26:22

 21               definitively.                                             13:26:24

 22       BY MR. HAAS:                                                      13:26:25

 23               Q     So with respect to the 6,000 claims                 13:26:28

 24       that have been filed in the MDL, those cases are                  13:26:31

 25       currently stayed; correct?                                        13:26:36

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 19 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 66 of 221 PageID:
                                 172459                     Ex. 4 - EXCERPT


                                                                         Page 18

  1                            A. Birchfield, Esq.

  2              A      Yes.                                                13:26:38

  3              Q      They have been since October 2021;                  13:26:38

  4       correct?                                                          13:26:40

  5              A      Except for a very brief --                          13:26:41

  6              Q      Two hours?                                          13:26:43

  7              A      Yes.                                                13:26:43

  8              Q      And you're aware from your                          13:26:45

  9       participation in the MDL that in September of                     13:26:47

 10       2020, Judge Wolfson ordered the formation of --                   13:26:51

 11       an administration of a common benefit fund for                    13:26:54

 12       the payment of fees and expenses incurred in                      13:26:58

 13       connection with the MDL correct?                                  13:27:01

 14              A      I'm aware that a common benefit fee                 13:27:03

 15       order was entered.        I couldn't give you the date.           13:27:06

 16              Q      Sometime around the September 2020                  13:27:11

 17       time frame?                                                       13:27:13

 18              A      I don't dispute that.            I don't know.      13:27:16

 19              Q      It was sometime before the LTL                      13:27:18

 20       bankruptcy was commenced in October of 2021;                      13:27:21

 21       correct?                                                          13:27:24

 22              A      Yes.                                                13:27:24

 23              Q      And you're generally familiar with the              13:27:25

 24       terms of that agreement?                                          13:27:27

 25              A      Yes.                                                13:27:28

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 20 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 67 of 221 PageID:
                                 172460                     Ex. 4 - EXCERPT


                                                                        Page 19

  1                             A. Birchfield, Esq.

  2              Q      Okay.     So pursuant to the common                 13:27:29

  3       benefit order that Judge Wolfson entered, up to                   13:27:36

  4       12 percent of any amount recovered on talc claims                 13:27:39

  5       in the MDL is assigned to a common benefit;                       13:27:42

  6       right?                                                            13:27:47

  7              A      Could be, yes.        My understanding is           13:27:48

  8       it's -- 10 percent fee is 2 percent cost.                         13:27:51

  9              Q      Right.     So let's say, for example, in            13:27:55

 10       the MDL, if the settlement was obtained for                       13:27:58

 11       $8.9 billion, the common benefit fund would be up                 13:28:02

 12       to $1.068 billion, which is 12 percent; right?                    13:28:07

 13                          MS. SLOCUM:       Objection.      You're       13:28:12

 14              asking him to speculate as to a settlement                 13:28:12

 15              in the MDL which did not occur.                            13:28:15

 16                          MR. HAAS:      I'm asking him to               13:28:18

 17              answer the question of whether or not he                   13:28:19

 18              would agree that if there's a settlement in                13:28:20

 19              the MDL, which is a gross recovery amount in               13:28:21

 20              the MDL, up to 12 percent of that would go                 13:28:25

 21              into the common benefit fund, and that                     13:28:30

 22              number is, I'll represent for the record, is               13:28:32

 23              1.068 billion.                                             13:28:33

 24                          MS. SLOCUM:       Objection.      The          13:28:38

 25              court's order states what it is, okay.                     13:28:39

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 21 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 68 of 221 PageID:
                                 172461                     Ex. 4 - EXCERPT


                                                                         Page 20

  1                           A. Birchfield, Esq.

  2                          MR. HAAS:      No.     If you want to           13:28:42

  3              object, object.      If you want to instruct him            13:28:43

  4              not to answer, do so.                                       13:28:45

  5       BY MR. HAAS:                                                       13:28:46

  6              Q      Answer the question.                                 13:28:47

  7              A      When you say up to that amount, I                    13:28:48

  8       would agree with that.         It would not be that                13:28:50

  9       amount because there are -- there were different                   13:28:53

 10       provisions where firms could agree early on and                    13:29:00

 11       there would be a lesser percentage.                  So it's not   13:29:04

 12       12 percent across the board.                                       13:29:07

 13              Q      You're referring to, let's say,                      13:29:08

 14       Paragraph 24 of the order, which states that if                    13:29:09

 15       you participate early on, the contribution                         13:29:11

 16       percentage would be 8 percent, not 12 percent;                     13:29:15

 17       right?     Is that what you're referring to?                       13:29:19

 18              A      I'm not sure of the paragraph.               I       13:29:20

 19       didn't review it, you know -- I didn't review it                   13:29:22

 20       for this deposition.        I'm not disputing that.                13:29:26

 21       I'm talking to you in terms of -- I'm testifying                   13:29:28

 22       in terms of in my general understanding of the                     13:29:31

 23       common benefit.                                                    13:29:34

 24              Q      So your general understanding is that                13:29:36

 25       the range of fees that could be contributed to                     13:29:38

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                       516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 22 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 69 of 221 PageID:
                                 172462                     Ex. 4 - EXCERPT


                                                                               Page 21

  1                               A. Birchfield, Esq.

  2       the common benefit fund is anywhere from                                  13:29:41

  3       8 percent to 12 percent of the gross recovery                             13:29:44

  4       amount, depending upon whether or not the                                 13:29:48

  5       individual firms were early participation or not?                         13:29:51

  6               A       Yes.                                                      13:29:56

  7               Q       So that would be anywhere between                         13:29:56

  8       $712 million or $1.068 billion for 8.9 gross                              13:29:58

  9       recovery amount; right?                                                   13:30:05

 10               A       I'm trusting your math.                I can't do         13:30:08

 11       that in my head.                                                          13:30:11

 12               Q       Okay.                                                     13:30:11

 13               A       Not quickly, anyway.                                      13:30:12

 14               Q       And that gross recovery amount that is                    13:30:14

 15       put into the common benefit fund is then provided                         13:30:19

 16       to those firms that provide common benefit work                           13:30:25

 17       product for the MDL; correct?                                             13:30:30

 18               A       As a general rule, you know, that is                      13:30:34

 19       true.       I mean, typically what would happen when a                    13:30:36

 20       court enters a common benefit assessment award                            13:30:39

 21       like this, then there would be, you know, a                               13:30:42

 22       determination, you know, at the back end about,                           13:30:45

 23       you know, the amount -- the amount of the overall                         13:30:50

 24       pot, the overall common benefit fund amount.                        And   13:30:54

 25       then that amount would be overseen by, you know,                          13:31:00

                                      Veritext Legal Solutions
      212-267-6868                      www.veritext.com                            516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 23 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 70 of 221 PageID:
                                 172463                     Ex. 4 - EXCERPT


                                                                        Page 22

  1                             A. Birchfield, Esq.

  2       an Article III judge to determine, you know, what                 13:31:04

  3       is an appropriate, you know, allocation of those                  13:31:07

  4       funds.     And that's -- you know, that is the                    13:31:09

  5       typical way, you know, that from my experience                    13:31:13

  6       the common benefit fees are -- you know, are                      13:31:16

  7       handled.                                                          13:31:19

  8                     So the first determination is, okay,                13:31:19

  9       the order is entered, and the order is entered                    13:31:22

 10       to -- you know, as an approximation of what would                 13:31:25

 11       be necessary, the court at the end would                          13:31:29

 12       determine if that is appropriate, and if so, then                 13:31:34

 13       begin the allocation process among the lawyers                    13:31:37

 14       who did the work on behalf of the other                           13:31:39

 15       claimants.                                                        13:31:42

 16              Q      And the allocation of that amount                   13:31:45

 17       among the lawyers that did the work depends upon                  13:31:47

 18       what common benefit work they did; correct?                       13:31:51

 19              A      Yes.                                                13:31:54

 20              Q      Okay.     And the plaintiff steering                13:31:54

 21       committee that's in the MDL is tasked with the                    13:31:58

 22       responsibility of identifying who should do that                  13:32:02

 23       common benefit work; right?                                       13:32:04

 24              A      As a general -- as a general                        13:32:06

 25       principle, yes.                                                   13:32:08

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 24 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 71 of 221 PageID:
                                 172464                     Ex. 4 - EXCERPT


                                                                         Page 23

  1                           A. Birchfield, Esq.

  2              Q       And Beasley Allen sits on that                     13:32:09

  3       plaintiff steering committee; correct?                            13:32:11

  4              A       Correct.                                           13:32:13

  5              Q       And Beasley Allen to date, you would               13:32:14

  6       agree with me, has performed the vast majority of                 13:32:19

  7       the common benefit work product incurred,                         13:32:22

  8       according to Beasley Allen, the largest                           13:32:24

  9       percentage of the common benefit expenses; right?                 13:32:28

 10                          MS. SLOCUM:       Objection.      That's       13:32:30

 11              requiring work product.                                    13:32:32

 12                          MR. HAAS:       No, it's not.      It's a      13:32:35

 13              fact.                                                      13:32:36

 14       BY MR. HAAS:                                                      13:32:36

 15              Q       Go ahead, you can answer.                          13:32:37

 16                          MS. SLOCUM:       Objection still              13:32:38

 17              stands.                                                    13:32:38

 18       BY MR. HAAS:                                                      13:32:39

 19              Q       You can answer.                                    13:32:39

 20              A       I'm not trying to avoid or be evasive              13:32:42

 21       here in any way.       I mean, has Beasley Allen done,            13:32:46

 22       you know, a substantial amount of the, you know,                  13:32:50

 23       the work in the MDL?        Yes.     Sitting here, me             13:32:53

 24       personally, I cannot give you an answer about how                 13:32:59

 25       much, you know, Beasley Allen has done, you know,                 13:33:01

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 25 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 72 of 221 PageID:
                                 172465                     Ex. 4 - EXCERPT


                                                                        Page 24

  1                             A. Birchfield, Esq.

  2       versus, you know, Ashcraft & Gerel or Levin                       13:33:05

  3       Papantonio and Mr. Tisi versus Mr. Golomb.               So to    13:33:08

  4       say vast majority, I think, is more than --                       13:33:14

  5       that's farther than I can go at this point.                       13:33:16

  6               Q     Beasley Allen tracks those amounts;                 13:33:18

  7       right?                                                            13:33:20

  8               A     Beasley Allen -- Beasley Allen tracks,              13:33:23

  9       you know, the work that we do for the, you know,                  13:33:26

 10       for the MDL.                                                      13:33:30

 11               Q     Do you provide any reports?                         13:33:31

 12               A     I don't.                                            13:33:33

 13               Q     Do you know whether Beasley Allen                   13:33:34

 14       does?                                                             13:33:35

 15               A     I'm not sure.       I mean, Ms. O'Dell is           13:33:36

 16       co-lead and --                                                    13:33:41

 17               Q     Do you have --                                      13:33:43

 18               A     She's co-lead of the MDL.                           13:33:43

 19               Q     You're the head of the mass torts                   13:33:45

 20       litigation practice at Beasley Allen, are you                     13:33:47

 21       not?                                                              13:33:47

 22               A     I am.                                               13:33:49

 23               Q     Do you have any sense of whether or                 13:33:49

 24       not Beasley Allen has a claim to be the largest                   13:33:50

 25       percentage of the common benefit fund based on                    13:33:54

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 26 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 73 of 221 PageID:
                                 172466                     Ex. 4 - EXCERPT


                                                                           Page 25

  1                             A. Birchfield, Esq.

  2       fees and work done to date?                                           13:33:57

  3              A      That would be the determination of --                   13:34:00

  4       of an Article III judge if it is administered                         13:34:03

  5       through the MDL court.                                                13:34:07

  6              Q      Based upon the work done to date, is                    13:34:09

  7       it Beasley Allen's position that it has                               13:34:11

  8       undertaken the largest percentage of the common                       13:34:16

  9       benefit work and incurred the largest percentages                     13:34:20

 10       of the expenses to date?                                              13:34:23

 11                           MS. SLOCUM:      Objection.           Asked and   13:34:24

 12              answered.                                                      13:34:24

 13                           MR. HAAS:     No, it's not.                       13:34:25

 14       BY MR. HAAS:                                                          13:34:25

 15              Q      You can answer.                                         13:34:26

 16                           MS. SLOCUM:      He did.         He               13:34:26

 17              already --                                                     13:34:27

 18                           MR. HAAS:     That was not asked.            He   13:34:28

 19              can answer.                                                    13:34:29

 20                           MS. SLOCUM:      He answered.                     13:34:30

 21       BY MR. HAAS:                                                          13:34:31

 22              Q      You can answer.        Go ahead.                        13:34:32

 23              A      If you're asking my opinion as we sit                   13:34:33

 24       here today, my opinion is probably so.                                13:34:35

 25              Q      Yeah.                                                   13:34:38

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                          516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 27 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 74 of 221 PageID:
                                 172467                     Ex. 4 - EXCERPT


                                                                          Page 26

  1                           A. Birchfield, Esq.

  2              A      But I can't say that definitively.                   13:34:39

  3              Q      You're the lead plaintiff counsel in                 13:34:40

  4       the MDL, aren't you?                                               13:34:40

  5              A      We're co-lead.                                       13:34:43

  6              Q      You're not going to go to the court                  13:34:45

  7       and say, "No, no, no, we're not entitled to the                    13:34:46

  8       biggest percentage"?                                               13:34:48

  9              A      But the difference in what you're                    13:34:51

 10       asking and what I am saying is you're not --                       13:34:52

 11       you're saying are you entitled to that.                            13:34:56

 12              Q      No, I understand the process, that you               13:34:59

 13       have to basically make your submission.              The           13:35:01

 14       ultimate determination is made by the                              13:35:04

 15       administrator.      I get that.        My question is              13:35:06

 16       whether with respect to the work done to date                      13:35:09

 17       that would qualify you in the threshold inquiry                    13:35:10

 18       is whether or not Beasley Allen has done most of                   13:35:15

 19       the work and incurred most of the expenses from                    13:35:17

 20       your perspective.                                                  13:35:19

 21              A      So first of all, it would not be -- in               13:35:24

 22       my view, it would not be an administrator.                 It      13:35:26

 23       would be an Article III judge that would make the                  13:35:29

 24       determination.      And I do think Beasley Allen --                13:35:31

 25       you could take the position that we've done the                    13:35:35

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 28 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 75 of 221 PageID:
                                 172468                     Ex. 4 - EXCERPT


                                                                        Page 27

  1                             A. Birchfield, Esq.

  2       majority of the work.         Probably so.                        13:35:39

  3              Q      If the Article III judge, in your view              13:35:43

  4       as the proper determiner, in the end allocates a                  13:35:44

  5       portion of that 700 million to over a billion                     13:35:50

  6       dollars worth of common benefit fees and expenses                 13:35:55

  7       to Beasley Allen, that would be on top of the                     13:36:01

  8       attorney fees that you otherwise would be                         13:36:03

  9       entitled to get; correct?                                         13:36:05

 10              A      Partially.                                          13:36:10

 11              Q      Because there's a participation                     13:36:13

 12       percentage that you pay?                                          13:36:15

 13              A      Yeah, because part of the fees would                13:36:17

 14       be paid, you know, out of the -- you know, of the                 13:36:18

 15       attorneys' fees portion.           And so a substantial           13:36:22

 16       amount of the, you know, the common benefit, you                  13:36:27

 17       know, fund would be, you know, based on our                       13:36:29

 18       attorneys' fees.        So you cannot -- it would be              13:36:33

 19       inappropriate to say that that is on top of the                   13:36:35

 20       attorneys' fees.                                                  13:36:39

 21              Q      Because under the order you are deemed              13:36:40

 22       a participating attorney or participating counsel                 13:36:42

 23       in the common benefit fund agreement; correct?                    13:36:47

 24              A      Yes.                                                13:36:49

 25                            MS. SLOCUM:     Objection.                   13:36:49

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 29 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 76 of 221 PageID:
                                 172469                     Ex. 4 - EXCERPT


                                                                        Page 28

  1                             A. Birchfield, Esq.

  2       BY MR. HAAS:                                                      13:36:50

  3              Q      So to summarize, Beasley Allen would                13:36:51

  4       be entitled to a share of the common benefit fund                 13:36:56

  5       and a portion of its attorney fees that it                        13:36:59

  6       otherwise charged; right?                                         13:37:04

  7              A      If the court made that determination,               13:37:07

  8       yes.                                                              13:37:09

  9              Q      Okay.     And the fees you otherwise                13:37:10

 10       charge is a 40 percent contingency fee; correct?                  13:37:11

 11              A      As a general rule, that's true.                     13:37:15

 12              Q      Yes.     So it's fair to say that in                13:37:17

 13       terms of the relative economic incentives,                        13:37:23

 14       because Beasley Allen is entitled to those                        13:37:29

 15       amounts from the common benefit fund outside of                   13:37:32

 16       bankruptcy, but not entitled to those amounts                     13:37:34

 17       inside a bankruptcy, that Beasley Allen has an                    13:37:38

 18       economic incentive to resolve the cases outside                   13:37:41

 19       of bankruptcy; correct?                                           13:37:46

 20                            MS. SLOCUM:     Objection.                   13:37:47

 21                            THE WITNESS:      No.     Our interest --    13:37:48

 22              our interest is getting fair values for our                13:37:54

 23              clients, period.       And that is our goal.         And   13:37:56

 24              I have been steadfast.          I have been                13:38:02

 25              steadfast on the position that we are not --               13:38:06

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 30 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 77 of 221 PageID:
                                 172470                     Ex. 4 - EXCERPT


                                                                         Page 29

  1                           A. Birchfield, Esq.

  2              that I have urged, you know, everyone on our                13:38:09

  3              side and we have -- we have maintained the                  13:38:12

  4              position we are not going to have the common                13:38:15

  5              benefit, you know, fee issue become a                       13:38:18

  6              barrier to getting reasonable resolution,                   13:38:21

  7              fair values for our clients.                                13:38:26

  8       BY MR. HAAS:                                                       13:38:27

  9              Q      We'll come back to that in a moment,                 13:38:27

 10       but you understand that as a general matter in                     13:38:29

 11       bankruptcy you would not be entitled to any                        13:38:34

 12       portion of a common benefit fund that you would                    13:38:36

 13       be entitled outside of bankruptcy; correct?                        13:38:39

 14              A      No, I do not.                                        13:38:42

 15                          MS. SLOCUM:       Object.         The witness   13:38:44

 16              is not here to testify to bankruptcy law.                   13:38:45

 17                          MR. HAAS:      He can answer the                13:38:47

 18              question.    If you want to instruct him not                13:38:47

 19              to answer --                                                13:38:49

 20                          MS. SLOCUM:       Don't answer the              13:38:50

 21              question.                                                   13:38:50

 22       BY MR. HAAS:                                                       13:38:51

 23              Q      Is it your view, Mr. Birchfield, that                13:38:51

 24       as a general proposition you are entitled to the                   13:38:53

 25       common benefit fee in bankruptcy?                                  13:38:56

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                       516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 31 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 78 of 221 PageID:
                                 172471                     Ex. 4 - EXCERPT


                                                                        Page 30

  1                             A. Birchfield, Esq.

  2                            MS. SLOCUM:     Objection.      Again,       13:38:59

  3               I'll instruct the witness not to answer.                  13:39:00

  4               He's not here to testify as to --                         13:39:02

  5                            MS. O'DELL:     Please don't                 13:39:06

  6               interrupt.                                                13:39:07

  7                            MR. HAAS:     I understand he has his        13:39:07

  8               motivation for participating or not                       13:39:08

  9               participating in the proposed                             13:39:10

 10               reorganization, and that's what I'm                       13:39:12

 11               inquiring as to.                                          13:39:16

 12       BY MR. HAAS:                                                      13:39:16

 13               Q       You can answer the question.                      13:39:16

 14                            MS. SLOCUM:     No.     I'm instructing      13:39:17

 15               the witness not to answer.           He's not here to     13:39:17

 16               testify as to bankruptcy law on a plan that               13:39:20

 17               hasn't been filed.                                        13:39:22

 18                            MR. HAAS:     A plan has been filed.         13:39:23

 19       BY MR. HAAS:                                                      13:39:28

 20               Q       Again, Mr. -- I'll ask it one more                13:39:28

 21       time.       If your counsel is going to instruct you              13:39:33

 22       not to answer, we can address it later.               I           13:39:34

 23       usually ask at least three times.               If I don't get    13:39:37

 24       it on the third time, I move on.                                  13:39:39

 25               A       I can't answer.      You said you wanted          13:39:41

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 32 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 79 of 221 PageID:
                                 172472


                                                                       Page 130

  1                            A. Birchfield, Esq.

  2       notwithstanding the fact that Beasley Allen has                   15:58:32

  3       litigated on behalf of talc claimants for                         15:58:35

  4       decades, you have never record a dime for talc                    15:58:37

  5       claimants in litigation; correct?                                 15:58:40

  6                           MS. SLOCUM:      Objection, form.             15:58:42

  7                           THE WITNESS:       We haven't litigated       15:58:43

  8              for decades; okay.        The litigation is                15:58:44

  9              approximately ten years.           That's a decade.        15:58:51

 10              So that is true, but it's not decades.                     15:58:52

 11              And -- but we have not -- you know, J&J has                15:58:57

 12              not -- has not settled with Beasley Allen                  15:59:00

 13              any of our claims.                                         15:59:06

 14       BY MR. HAAS:                                                      15:59:09

 15              Q      And you have lost every single one of               15:59:10

 16       the cases you tried, either at trial or on                        15:59:11

 17       appeal; correct?                                                  15:59:13

 18              A      No.    That's a mischaracterization.           I    15:59:15

 19       mean, when you -- when you say that, you know,                    15:59:17

 20       that a verdict is vacated on personal                             15:59:23

 21       jurisdictional grounds, that is not losing on the                 15:59:26

 22       merits.    Those are still valid claims.                          15:59:28

 23              Q      Mr. Birchfield, in the entire                       15:59:30

 24       decade plus time --                                               15:59:34

 25                           MR. PLACITELLA:         Referee.   One        15:59:36

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 33 of 33 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 80 of 221 PageID:
                                 172473


                                                                       Page 143

  1                            A. Birchfield, Esq.

  2              we get reasonable compensation.               Reasonable   16:26:46

  3              values for our clients.                                    16:26:49

  4       BY MS. BROWN:                                                     16:26:51

  5              Q      Sure, and I understand your position.               16:26:51

  6       I'm just talking about kind of what has happened                  16:26:52

  7       to date, and you would believe that to date,                      16:26:55

  8       every client whose case Beasley Allen has taken                   16:26:57

  9       to a trial has gone home with $0 --                               16:27:02

 10                           MS. SLOCUM:      Objection.                   16:27:05

 11       BY MS. BROWN:                                                     16:27:06

 12              Q      -- right?                                           16:27:07

 13                           MS. SLOCUM:      Asked and answered,          16:27:08

 14              like, about 15 times now.                                  16:27:08

 15                           THE WITNESS:       So Beasley Allen --        16:27:10

 16              for the cases that have gone to trial, none                16:27:12

 17              of those -- you know, none of the verdicts,                16:27:14

 18              the favorable verdicts, none of those have                 16:27:16

 19              been paid.     None of the defense verdicts                16:27:19

 20              have been paid.      So it is true there have              16:27:21

 21              been no payments on the 11 or 12 plaintiffs                16:27:24

 22              that Beasley Allen represents that have gone               16:27:29

 23              to trial to date.                                          16:27:31

 24       BY MS. BROWN:                                                     16:27:32

 25              Q      I want to ask you some questions, sir,              16:27:33

                                    Veritext Legal Solutions
      212-267-6868                    www.veritext.com                      516-608-2400
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 1 of 3 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 81 of 221 PageID:
                                 172474




                         EXHIBIT 5
         ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 2 of 3 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 82 of 221 PageID:
                                 172475                                 Ex. 5

                                                                               One North Wacker Drive
                                                                                                  Drive, Suite 4400
                                                                               Chicago,
                                                                               Suite 4400IL 60606-2833 U.S.A.
                                                                               (312) 357-1313
                                                                               Chicago,  IL 60606
                                                                               Fax (312)
                                                                               (312) 357-1313
                                                                                          759-5646
                                                                               www.btlaw.com
                                                                               www.btlaw.com



  James F. Murdica
  Partner
  (312) 214-4869
  JMurdica@btlaw.com




  November 5, 2023

  Mr. James Conlan
  Legacy Liability Solutions LLC
  161 N. Clark Street, Suite 1700
  Chicago, IL 60601


                   RE: Bloomberg Law

  Dear Jim:

           I write on behalf of Johnson & Johnson (“J&J”) to express concern regarding the
  confidentiality of J&J’s legal strategy known to you and learned by you in a privileged attorney-
  client relationship with J&J. As you know, while a partner at Faegre Drinker Biddle Reath
  (“FDBR”) in 2020 and 2021, you represented J&J and LTL Management, Inc. (“LTL”) regarding
  strategies for resolution of its talc liabilities, including various bankruptcy options and proposed
  structural optimizations. Indeed, you attended—with me—many high level meetings with J&J in-
  house counsel regarding talc bankruptcy and settlement strategies in addition to weekly strategy
  calls with J&J in-house and outside counsel. There can be little doubt that the content shared and
  discussed during all of these meetings is privileged, and accordingly protected from disclosure.

            It has come to J&J’s attention that on November 2, 2023 Bloomberg published an article
  you wrote entitled “Time to Ditch the Texas Two-Step for a New Mass Tort Strategy.” In that
  article, you discuss the LTL bankruptcy and what “the companies believed” certain strategies
  would accomplish. With respect to LTL, you learned this information through the attorney-client
  relationship with J&J. Moreover, you also wrote that a resolution strategy you recommended as
  J&J legal counsel and in which you assisted executing as J&J counsel is “a disaster,” and that a
  service marketed by your new business enterprise “is the right answer.”

          While we appreciate that you would like to promote your post-legal career business
  ventures—and, indeed, J&J met with you regarding those ventures two months ago—J&J requests
  you leave J&J and LTL out of any future publications. You learned highly privileged information
  about J&J and LTL strategies from the attorney-client relationship. And while publicly
  disparaging your own legal strategies that you recommended to J&J might be permissible if J&J
  or LTL were not included in the article, J&J believes that criticizing your former client for
  implementing a strategy you recommended as their counsel is not appropriate either.
       ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 3 of 3 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 83 of 221 PageID:
                                  172476                                Ex. 5
  Mr. James Conlan
  Legacy Liability Solutions, LLC
  November 5, 2023
  Page 2


           Please cease and desist from further similar publications, and be mindful of the highly
  confidential and strategic information you learned from J&J while in an attorney-client
  relationship.

                                                             Sincerely,
                                                             S ce e y,,



                                                             Jim
                                                             Jim Murdica
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 1 of 7 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 84 of 221 PageID:
                                 172477
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 2 of 7 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 85 of 221 PageID:
                                 172478
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 3 of 7 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 86 of 221 PageID:
                                 172479
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 4 of 7 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 87 of 221 PageID:
                                 172480
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 5 of 7 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 88 of 221 PageID:
                                 172481
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 6 of 7 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 89 of 221 PageID:
                                 172482
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 7 of 7 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 90 of 221 PageID:
                                 172483
      ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 1 of 2 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 91 of 221 PageID:
                                 172484




                         EXHIBIT 7
        ATL-L -002648-15 12/08/2023 9:16:57 PM Pg 2 of 2 Trans ID: LCV20233584887
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 92 of 221 PageID:
                                 172485                                 Ex. 7

   From:             Haas, Erik [JJCUS]
   To:               John Gasparovic
   Cc:               Van Arsdale, Duane [JJCUS]; White, Andrew [JJCUS]; James F. Conlan; doug.dachille@legacyliability.com; John
                     J. Gasparovic; Forminard, Elizabeth [JJCUS]
   Subject:          RE: [EXTERNAL] Re: Legacy Proposal
   Attachments:      image001.png


   John,

   Please cease any further communications with our executives, and direct any further
   correspondence concerning your proposals to my attention.

   Also, our outside counsel has provided notice to Mr. Conlon regarding his conflicting positions and
   disclosure of attorney client privileged communications in breach of his ethical obligations. We
   expect that he will respect his duties going forward.

   Best regards, Erik


   From: John Gasparovic <jjgasparovic@gmail.com>
   Sent: Thursday, November 9, 2023 10:48 AM
   To: joaquinduato <joaquinduato@its.jnj.com>; jduato@its.jnj.com; Jduato2@its.jnj
   Cc: Van Arsdale, Duane [JJCUS] <DVanArs@its.jnj.com>; Haas, Erik [JJCUS] <EHaas8@its.jnj.com>;
   White, Andrew [JJCUS] <AWhite23@ITS.JNJ.com>; James F. Conlan
   <james.conlan@legacyliability.com>; doug.dachille@legacyliability.com; John J. Gasparovic
   <john.gasparovic@legacyliability.com>
   Subject: [EXTERNAL] Re: Legacy Proposal


   Mr. Duato,

   Please see the attached proposal.




   John J. Gasparovic
   Executive Chairman
   Legacy Liability Solutions
   Dallas | Chicago | Washington
   Email | john.gasparovic@legacyliability.com
   Mobile | +1.330.573.7781
   www.legacyliability.com
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 93 of 221 PageID:
                                 172486




            EXHIBIT 2




                                       2
          ATL-L-002648-15 01/09/2024 4:25:34 PM Pg 1 of 4 Trans ID: LCV202475816
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 94 of 221 PageID:
                                 172487


 FOX ROTHSCHILD LLP
 Formed in the Commonwealth of Pennsylvania
 By:    Jeffrey M. Pollock, Esq. (015751987)
        Michael W. Sabo, Esq. (306252019)
 Princeton Pike Corporate Center
 997 Lenox Drive, Building 3
 Lawrenceville, New Jersey 08648
 (609) 896-3600
 Attorneys for Andy Birchfield and Beasley Allen


                                                     SUPERIOR COURT OF NEW JERSEY
                                                     LAW DIVISION, ATLANTIC
                                                     COUNTY
  IN RE TALC-BASED POWDER
  PRODUCTS LITIGATION                                Consolidated Docket No. ATL-L-2648-
                                                                      15

                                                                MCL Case No. 300

                                                                   Civil Action

                                                           Return Date: January 17, 2024

                                                       CERTIFICATION OF ANDY D.
                                                         BIRCHFIELD, JR., ESQ. IN
                                                      SUPPORT OF BEASLEY ALLEN'S
                                                       OPPOSITION TO J&J'S ORDER
                                                            TO SHOW CAUSE


  I, ANDY D. BIRCHFIELD, Jr., ESQ., certify:

                   Personal Qualifications, Accolades, and Basis of Knowledge

          1.      I make this certification based on personal knowledge and in opposition to

 Defendants Johnson & Johnson and LTL Management, LLC (collectively, J&J)'s Order to Show

 Cause Seeking to Disqualify Beasley Allen Crow Methvin Portis & Miles, P.C. (Beasley Allen)

  from this litigation.

          2.      I attended Faulkner University's Thomas Goode Jones School of Law from 1988

  through 1991, and I graduated with my juris doctor magna cum laude in 1991.

          3.      I am a member in good standing of the Alabama State Bar. I am admitted to practice


  153178860.1
          ATL-L-002648-15 01/09/2024 4:25:34 PM Pg 2 of 4 Trans ID: LCV202475816
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 95 of 221 PageID:
                                 172488


 law in the State of Alabama, the United States District Court for the Northern, Middle, and

 Southern Dist1icts of Alabama, the United States District Court for the Eastern District of

 Louisiana, the United States Court of Appeals for the Eleventh Circuit, the United States Court of

 Appeals for the Fifth Circuit, and the United States Supreme Court.

         4.       I have significant trial experience in both state and federal court, and my practice

 encompasses a wide range oflegal matters including personal injury and civil rights cases. For the

 past 25 years, however, my practice has focused primarily on mass tort product liability litigation.

         5.       I joined the firm Beasley Allen in 1996 and have worked as an attorney at the firm

 since that time. At Beasley Allen, I manage the firm's Mass Torts Section, which includes

 approximately 132 people, including attorneys and staff The section has successfully resolved

 claims for thousands of clients in the Vioxx, Bextra/Celebrex, Actos, Xarelto, Baycol, Rezulin, PPA,

 Ephedra, Transvaginal mesh, and other litigations. See, e.g., In re Vioxx Prod. Liab. Litig., 802 F . Supp.

 2d 740, 779 (E.D. La. 2011) (MDL Docket No. 1567) (the Court noting that "Birchfield provided

 the leadership necessary to bring this complex litigation to a successful and efficient resolution.

  Andy Birchfield's commitment to the litigation from beginning to end is unmatched; he played

  crucial roles in MDL leadership, bellwether trials, settlement negotiations, and administration.");

  Estep v. Pharmacia & Upjohn Co. (In re Testosterone Replacement Therapy Prods. Liab. Litig.),

  67 F. Supp. 3d 952, 957 (N.D. Ill. 2014) (MDL Docket No. 2545); In re Bextra and Celebrex

 Marketing Sales Practices and Product Liability Litig., 495 F. Supp. 2d 1027, 1029 (N.D. Cal.

  2007) (MDL Docket No. 1699); Hester v. Bayer Co,71., 206 F.R.D. 683 (M.D. Ala. 2001). Our firm

  has pending litigation against J&J involving J&J's talcum powder-based products that has been going on

  for over 10 years.

          6.       I have never represented J&J or LTL, nor has Beasley Allen ever represented J&J or LTL.



                                                     2
  153178860.)
          ATL-L-002648-15 01/09/2024 4:25:34 PM Pg 3 of 4 Trans ID: LCV202475816
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 96 of 221 PageID:
                                 172489



          7.      At no point in time has Mr. Conlan ever been a member, partner, employee, or

  counsel at Beasley Allen.

          8.      I am also a member of the American Association for Justice and the Montgomery

  Trial Lawyers Associations. I have served as president of the the Alabama Young Lawyers, as

  well as on numerous task forces and committees of the Alabama State Bar. I have served on the

 Committee for Characte~ and Fitness of Alabama, which assesses those attributes with respect to

 applicants for admission to the Bar.

  J&J's Baseless Allegations and My Thirty Years of Ethical Conduct and Compliance with
                         the Attorney Rules of Professional Conduct

         9.       I am aware of and have complied with the Rules of Professional Conduct, including

 R.P.C. 1.6 Confidentiality oflnformation. This Rule states from the outset R.P.C. l .6(a) "A lawyer

 shall not reveal information relating to representation of a client . . .. "        The attorney-client

 privilege is the bedrock of client communications and I have understood this-and acted

 accordingly-since I took and passed the bar exam. Similarly, I have at all relevant times been

 aware of and complied with R.P.C. 1.9(a) and l.9(c), which govern an attorney's professional and

 ethical obligations to former clients.

         10.      Since I graduated law school over thirty (30) years ago, I have always diligently

 followed the Rules of Professional Conduct (including R.P.C. 1.6, and 1.9).

         11 .    At no time have I ever violated a client's confidences or attorney-client privilege. I

 have never received, disseminated, or shared confidential information, including trial strategy,

 litigation strategies, settlement practices, or proprietary information (if any) that I learned from

 any client. Specifically, I refer here to R.P.C. 1.9 Duties to Former Clients-which prohibits a

  lawyer from representing a new client "in the same or substantially related matter in which that

  client's interests are materially adverse to the interests of the former client ...."


                                                     3
  153178860.1
             ATL-L-002648-15 01/09/2024 4:25:34 PM Pg 4 of 4 Trans ID: LCV202475816
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 97 of 221 PageID:
                                 172490



              12.   Mr. Conlan has never shared privileged or confidential information he obtained

  from any of his former clients (including J&J) with me or my firm Beasley Allen.

             I certify that the foregoing statements made by me are true. I am aware that if any of the

  foregoing statements made by me are false, I am subject to punish

  Dated: January /1 2024


                                                          AND




                                                    4
 I 53 178860. I
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 98 of 221 PageID:
                                 172491




            EXHIBIT 3




                                       3
       ATL-L-002648-15 01/09/2024 4:25:34 PM Pg 1 of 3 Trans ID: LCV202475816
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 99 of 221 PageID:
                                 172492
        ATL-L-002648-15 01/09/2024 4:25:34 PM Pg 2 of 3 Trans ID: LCV202475816
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 100 of 221 PageID:
                                  172493
        ATL-L-002648-15 01/09/2024 4:25:34 PM Pg 3 of 3 Trans ID: LCV202475816
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 101 of 221 PageID:
                                  172494
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 102 of 221 PageID:
                                  172495




            EXHIBIT 4




                                       4
          ATL-L-002648-15 01/09/2024 4:25:34 PM Pg 1 of 3 Trans ID: LCV202475816
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 103 of 221 PageID:
                                  172496



  FOX ROTHSCHILD LLP
  Formed in the Commonwealth of Pennsylvania
  By:    Jeffrey M. Pollock, Esq. (015751987)
         Michael W. Sabo, Esq. (306252019)
  Princeton Pike Corporate Center
  997 Lenox Drive, Building 3
  Lawrenceville, New Jersey 08648
  (609) 896-3600
  Attorneys for Andy Birchfield and Beasley Allen


                                                    SUPERIOR COURT OF NEW JERSEY
                                                    LAW DIVISION, ATLANTIC
                                                    COUNTY
   IN RE TALC-BASED POWDER
   PRODUCTS LITIGATION                              Consolidated Docket No. ATL-L-2648-
                                                                     15

                                                              MCL Case No. 300

                                                                  Civil Action

                                                          Return Date: January 17, 2024

                                                      CERTIFICATION OF JAMES F.
                                                        CONLAN IN SUPPORT OF
                                                     BEASLEY ALLEN’S OPPOSITION
                                                       TO J&J’S ORDER TO SHOW
                                                                CAUSE


  I, JAMES F. CONLAN, certify:

                          Personal Qualifications and Basis of Knowledge

          1.      I make this certification based on personal knowledge and in opposition to

  Defendants Johnson & Johnson and LTL Management, LLC (collectively, J&J)’s Order to Show

  Cause Seeking to Disqualify Beasley Allen Crow Methvin Portis & Miles, P.C. (Beasley Allen)

  from this litigation.

          2.      I received my juris doctor in 1988 from the University of Iowa College of Law.

          3.      Since my graduation from law school in 1988, I have had several law firm jobs. I

  served as Global Practice Leader of Sidley Austin’s world-wide Restructuring Practice where I


  153179430.1
          ATL-L-002648-15 01/09/2024 4:25:34 PM Pg 2 of 3 Trans ID: LCV202475816
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 104 of 221 PageID:
                                  172497



  practiced for 32 years. Most recently I served as a Partner and Global Co-Head of Restructuring

  at Faegre Drinker Biddle & Reath, LLP until 2022.

          4.       During my tenure as Partner and Global Co-Head of Restructuring at Faegre

  Drinker Biddle & Reath, LLP, I represented J&J.

          5.       In March of 2022, I co-founded Legacy Liability Solutions

  LLC (Legacy). I currently serve as the Chief Executive Officer of Legacy.

          6.       In March of 2022, I became a non-practicing lawyer. I am active and authorized to

  practice law, but I do not practice law and have no clients.

          7.       At no point in time have I ever been a member, partner, employee or counsel at

  Beasley Allen.

   J&J’s Baseless Allegations and My Thirty-Five Years of Ethical Conduct and Compliance
                       with the Attorney Rules of Professional Conduct

          8.       I am well aware of the Rules of Professional Conduct, including RPC 1.6

  Confidentiality of Information. This Rule states from the outset: “A lawyer shall not reveal

  information relating to representation of a client . . . .” The attorney-client privilege is the bedrock

  of client communications and I have understood this—and acted accordingly—since I took and

  passed the bar exam. Similarly, I have at all relevant times been aware of and complied with RPC

  1.9(a) and 1.9(c), which govern an attorney’s professional and ethical obligations to former clients.

          9.       Consistent with the Rules of Professional Conduct, I have never disclosed to Mr.

  Birchfield or any member of his firm, Beasley Allen, any confidential information belonging to

  J&J—nor that of any other client from my previous years of practice.

          10.      Moreover, neither Legacy nor I have any J&J privileged or confidential information

  that is required for Legacy to consensually transact with J&J to solve J&J’s current and future talc

  liability (with finality); the Legacy model applies similarly to all solvent mass tort defendants.


                                                     2
  153179430.1
          ATL-L-002648-15 01/09/2024 4:25:34 PM Pg 3 of 3 Trans ID: LCV202475816
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 105 of 221 PageID:
                                  172498



          I certify that the foregoing statements made by me are true. I am aware that if any of the

  foregoing statements made by me are false, I am subject to punishment.



  Dated: January ___
                 8 2024

                                                               ____________________________
                                                               JAMES F. CONLAN
                                                               Chief Executive Officer
                                                               Legacy Liability Solutions LLC




                                                   3
  153179430.1
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 106 of 221 PageID:
                                  172499




            EXHIBIT 5




                                       5
          ATL-L-002648-15 01/09/2024 4:25:34 PM Pg 1 of 2 Trans ID: LCV202475816
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 107 of 221 PageID:
                                  172500



  FOX ROTHSCHILD LLP
  Formed in the Commonwealth of Pennsylvania
  By:    Jeffrey M. Pollock, Esq. (015751987)
         Michael W. Sabo, Esq. (306252019)
  Princeton Pike Corporate Center
  997 Lenox Drive, Building 3
  Lawrenceville, New Jersey 08648
  (609) 896-3600
  Attorneys for Andy Birchfield and Beasley Allen


                                                    SUPERIOR COURT OF NEW JERSEY
                                                    LAW DIVISION, ATLANTIC
                                                    COUNTY
   IN RE TALC-BASED POWDER
   PRODUCTS LITIGATION                               Consolidated Docket No. ATL-L-2648-
                                                                      15

                                                               MCL Case No. 300

                                                                  Civil Action

                                                          Return Date: January 17, 2024

                                                       CERTIFICATION OF JOHN
                                                      GASPAROVIC IN SUPPORT OF
                                                     BEASLEY ALLEN’S OPPOSITION
                                                       TO J&J’S ORDER TO SHOW
                                                                CAUSE


  I, JOHN J. GASPAROVIC, certify:

          1.      I make this certification based on personal knowledge and in opposition to

  Defendants Johnson & Johnson and LTL Management, LLC (collectively, J&J)’s Order to Show

  Cause Seeking to Disqualify Beasley Allen Crow Methvin Portis & Miles, P.C. (Beasley Allen)

  from this litigation.

          2.      I am co-Founder and the Executive Chairman of Legacy Liability Solutions LLC

  (Legacy).

          3.      I have held multiple Chief Legal Officer positions of companies (including public

  companies) with mass tort exposure. Over my forty-one (41) year career, I have served as the Chief


  153180736.1
          ATL-L-002648-15 01/09/2024 4:25:34 PM Pg 2 of 2 Trans ID: LCV202475816
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 108 of 221 PageID:
                                  172501



  Legal Officer of Exide Technologies, BorgWarner Inc., Federal-Mogul Corporation, Roadway

  Corporation and Guardian Automotive. While I was serving as Chief Legal Officer, I worked with

  James Conlan to structurally optimize both BorgWarner and Exide Technologies.

          4.     I am well aware of the Rules of Professional Conduct governing lawyer conduct,

  including R.P.C. 1.6, Confidentiality of Information.

          5.     I am well aware of the ethical obligations of an attorney, including the duty to

  maintain client confidences after a representation has concluded and after an attorney moves to

  other employment.

          6.     At no time has James Conlan disclosed any of J&J’s confidential or privileged

  information to me or Legacy.

          7.     Legacy has never possessed and therefore never could disclose to Mr. Birchfield or

  any member of his firm, Beasley Allen, any confidential information belonging to J&J.

          8.     Moreover, neither Legacy nor Conlan has any J&J privileged or confidential

  information that is required for Legacy to consensually transact with J&J to solve J&J’s current

  and future talc liability (with finality); the Legacy model applies similarly to solvent mass tort

  defendants.

          I certify that the foregoing statements made by me are true. I am aware that if any of the

  foregoing statements made by me are false, I am subject to punishment.


  Dated: Janaury ___,
                  8 2024

                                                              ____________________________
                                                              JOHN J. GASPAROVIC
                                                              Executive Chairman
                                                              Legacy Liability Solutions LLC




                                                  2
  153180736.1
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 109 of 221 PageID:
                                  172502




            EXHIBIT 6




                                       6
        ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 2 of 7 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 110 of 221 PageID:
                                  172503



                      SUPERIOR COURT OF NEW JERSEY
                      LAW DIVISION, ATLANTIC COUNTY

   IN RE TALC-BASED POWDER                                  Master Docket No.
   PRODUCTS LITIGATION                                       ATL-L-2648-15

                                                          MCL CASE NO. 300
   Applicable to All Cases
                                                             CIVIL ACTION

                         CERTIFICATION OF ERIK HAAS


        I, Erik Haas, hereby declare and certify as follows:

        1.     I am over the age of eighteen, of sound mind, and in all respects

  competent to testify. I have personal knowledge of the information contained in

  this Certification and would testify completely to these facts if called to do so.

        2.     I am Worldwide Vice President, Litigation for Johnson & Johnson

  (“J&J”), a position I have held since November 2020.

        3.     In this position, I worked directly with attorney James Conlan of the

  law firm of Faegre Drinker when Mr. Conlan represented J&J in this matter that is

  being litigated before this Court (and elsewhere). I worked with Mr. Conlan from

  the time I joined J&J in November 2020 through February 2022, when Mr. Conlan

  left Faegre Drinker. I also am familiar with the work Mr. Conlan performed for

  J&J before I joined—from the time he was retained in July 2020 through October

  2020—from my contemporaneous discussions with my colleagues who retained


                                             1
        ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 3 of 7 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 111 of 221 PageID:
                                  172504



  and worked with Mr. Conlan, the documents I reviewed when I joined, and my

  review of Mr. Conlan’s billing records for his work for J&J.

        4.     As I indicated in my prior declaration, from July 2020 through early

  2022, Mr. Conlan represented J&J as part of a team of attorneys evaluating legal

  strategies for resolving pending and future claims advanced by plaintiffs asserting

  liability for illnesses allegedly caused by J&J’s talc products, including the

  plaintiffs in this matter. Mr. Conlan spent almost 1,600 hours on the matter for

  J&J, for which he billed $2.24 million.

        5.     Throughout his engagement as outside counsel for J&J, Mr. Conlan

  was intimately and extensively involved in the same matter—and with respect to

  the same issues—that he thereafter partnered on with counsel who was and is

  adverse to J&J in the matter: Andy Birchfield of the Beasley Allen firm. As

  discussed further below, during Mr. Conlan’s tenure as J&J’s counsel, I had

  innumerable communications with Mr. Conlan—as did my colleagues at J&J and

  our outside counsel engaged on the matter—wherein the most sensitive attorney-

  client privileged, work-product protected and confidential information concerning

  the issues was shared, discussed and debated. Those communications concerned

  the merits of and strategy for litigating the claims at issue, and under what

  circumstances, on what terms and with whom J&J should or would consider

  settling or otherwise resolving the claims. On many occasions, those issues were


                                            2
        ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 4 of 7 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 112 of 221 PageID:
                                  172505



  deliberated in the context of the particular resolution structure that Messrs. Conlan

  and Birchfield have since advocated for as an adverse alternative to J&J’s

  proposed resolution—by which the two expressly seek to extract $10 billion more

  than J&J has offered.

        6.     As part of his representation of J&J, Mr. Conlan participated in

  weekly strategy meetings and teleconferences that regularly included me, J&J’s

  former head of litigation Joseph Braunreuther, former product liability lead John

  Kim, and current product liability head Andrew White, along with lead outside

  counsel for the Company. He also communicated with me, other members of the

  J&J Law Department, and lead outside counsel on this litigation, including trial

  counsel, by email, phone, videoconference, and over dinner.

        7.     These meetings, teleconferences, videoconferences, and email

  communications addressed all aspects of J&J’s strategy for resolution of the talc

  litigation. To weigh various strategies for resolving the talc litigation, these

  discussions included J&J’s evaluation of the strengths and weaknesses of the

  plaintiffs’ claims and J&J’s defenses in the underlying talc litigation—including

  the cases in this MCL proceeding—and strategy and likely outcomes should

  individual cases proceed to trial. In all, Mr. Conlan was privy to almost two years

  of confidential communications about the claims, defenses, and potential

  settlement options for cases in this litigation.


                                              3
        ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 5 of 7 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 113 of 221 PageID:
                                  172506



        8.     As to settlement options, as counsel for J&J, Mr. Conlan participated

  in strategic discussions where J&J Law Department leadership and its outside

  counsel team evaluated the following options for resolving this litigation: (1)

  “structural optimization” for resolution of claims through the tort system; (2) an

  asbestos trust; (3) use of a settlement class action procedure; (4) inventory

  settlements with individual plaintiffs’ attorneys; (5) settlement through the Imerys

  bankruptcy; and (6) a bankruptcy filing by LTL Management LLC. As counsel for

  J&J, Mr. Conlan participated in the evaluation of the strengths and weaknesses of

  all of these options as potential strategies for resolution of present and future talc

  liabilities, including the claims in this New Jersey proceeding.

        9.     Notably, in the Spring of 2021, Mr. Conlan provided extensive advice

  to me and my colleagues, and engaged in negotiations on our behalf, with respect

  to a settlement proposal advanced by Mr. Birchfield. As Mr. Birchfield testified in

  his deposition taken in the LTL bankruptcy, that settlement contemplated the

  resolution of the ovarian talc claims for $4.2 billion. Mr. Conlan conferred with us

  regarding the strengths and weaknesses of utilizing a “structural optimization”

  strategy in lieu of the settlement format Mr. Birchfield proposed at that time.

        10.    Generally speaking, structural optimization is a resolution strategy

  that involves the formation, funding and divestiture of an entity that holds certain

  liabilities, which are subject to managed resolutions in the tort system. The


                                             4
        ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 6 of 7 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 114 of 221 PageID:
                                  172507



  viability and suitability of the strategy depends on many considerations that turn on

  confidential, privileged and protected positions.

        11.      Throughout the time he was engaged as counsel for J&J, Mr. Conlan

  participated in confidential strategic discussions to consider why structural

  optimization was and was not in J&J’s interest. Those discussions included

  confidential evaluation of how much J&J would be willing to spend to resolve

  present and future talc liabilities and which resolution options best achieved J&J’s

  objectives. Mr. Conlan’s work not only involved internal discussions concerning

  all talc settlement strategies and evaluation of the strengths and weaknesses in

  plaintiffs’ claims, but also active involvement in negotiation of potential

  resolutions.

        12.      Structural optimization through the tort system is the resolution

  vehicle on which Mr. Conlan has now partnered with Andy Birchfield. As counsel

  for Beasley Allen admitted (with Mr. Birchfield at his side) during the January 17,

  2024 hearing in this matter that I attended, Mr. Conlan and Mr. Birchfield “did

  work together to come up with a strategy to try to resolve or settle disputes.” That

  “strategy” was packaged and presented in a structural optimization model, which is

  one of the resolutions that Mr. Conlan evaluated with me, my colleagues at J&J,

  and J&J’s outside counsel team when he was representing J&J on this matter.




                                              5
        ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 7 of 7 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 115 of 221 PageID:
                                  172508



        13.    Messrs. Birchfield and Conlan have expressly promoted their

  structural optimization strategy as an alternative to J&J’s pending resolution—and

  they have together advocated that J&J should be compelled to contribute $19

  billion to effectuate the model. That is an amount that is many times the $4.2

  billion resolution that Mr. Birchfield proposed in the settlement discussions in

  2021, and more than twice the amount that J&J has offered in bankruptcy. As

  designed, Mr. Birchfield alliance with J&J’s former counsel is impeding J&J’s

  efforts to secure an equitable, final and comprehensive resolution of the talc

  claims.

        I declare and certify under penalty of perjury that the foregoing is true and

  correct.

                                         Executed this 25th day of January, 2024.




                                         Erik Haas
                                         Worldwide Vice President, Litigation
                                         Johnson & Johnson




                                            6
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 116 of 221 PageID:
                                  172509




            EXHIBIT 7




                                       7
       ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 2 of 9 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 117 of 221 PageID:
                                  172510
       ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 3 of 9 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 118 of 221 PageID:
                                  172511
       ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 4 of 9 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 119 of 221 PageID:
                                  172512
       ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 5 of 9 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 120 of 221 PageID:
                                  172513
       ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 6 of 9 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 121 of 221 PageID:
                                  172514
       ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 7 of 9 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 122 of 221 PageID:
                                  172515




                         EXHIBIT 1
          ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 8 of 9 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 123 of 221 PageID:
                                  172516                                 Ex. 1

                                                                               One North Wacker Drive
                                                                                                  Drive, Suite 4400
                                                                               Chicago,
                                                                               Suite 4400IL 60606-2833 U.S.A.
                                                                               (312) 357-1313
                                                                               Chicago,  IL 60606
                                                                               Fax (312)
                                                                               (312) 357-1313
                                                                                          759-5646
                                                                               www.btlaw.com
                                                                               www.btlaw.com



  James F. Murdica
  Partner
  (312) 214-4869
  JMurdica@btlaw.com




  November 5, 2023

  Mr. James Conlan
  Legacy Liability Solutions LLC
  161 N. Clark Street, Suite 1700
  Chicago, IL 60601


                   RE: Bloomberg Law

  Dear Jim:

           I write on behalf of Johnson & Johnson (“J&J”) to express concern regarding the
  confidentiality of J&J’s legal strategy known to you and learned by you in a privileged attorney-
  client relationship with J&J. As you know, while a partner at Faegre Drinker Biddle Reath
  (“FDBR”) in 2020 and 2021, you represented J&J and LTL Management, Inc. (“LTL”) regarding
  strategies for resolution of its talc liabilities, including various bankruptcy options and proposed
  structural optimizations. Indeed, you attended—with me—many high level meetings with J&J in-
  house counsel regarding talc bankruptcy and settlement strategies in addition to weekly strategy
  calls with J&J in-house and outside counsel. There can be little doubt that the content shared and
  discussed during all of these meetings is privileged, and accordingly protected from disclosure.

            It has come to J&J’s attention that on November 2, 2023 Bloomberg published an article
  you wrote entitled “Time to Ditch the Texas Two-Step for a New Mass Tort Strategy.” In that
  article, you discuss the LTL bankruptcy and what “the companies believed” certain strategies
  would accomplish. With respect to LTL, you learned this information through the attorney-client
  relationship with J&J. Moreover, you also wrote that a resolution strategy you recommended as
  J&J legal counsel and in which you assisted executing as J&J counsel is “a disaster,” and that a
  service marketed by your new business enterprise “is the right answer.”

          While we appreciate that you would like to promote your post-legal career business
  ventures—and, indeed, J&J met with you regarding those ventures two months ago—J&J requests
  you leave J&J and LTL out of any future publications. You learned highly privileged information
  about J&J and LTL strategies from the attorney-client relationship. And while publicly
  disparaging your own legal strategies that you recommended to J&J might be permissible if J&J
  or LTL were not included in the article, J&J believes that criticizing your former client for
  implementing a strategy you recommended as their counsel is not appropriate either.
        ATL-L-002648-15 01/25/2024 4:39:38 PM Pg 9 of 9 Trans ID: LCV2024221252
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 124 of 221 PageID:
                                  172517                                 Ex. 1
  Mr. James Conlan
  Legacy Liability Solutions, LLC
  November 5, 2023
  Page 2


           Please cease and desist from further similar publications, and be mindful of the highly
  confidential and strategic information you learned from J&J while in an attorney-client
  relationship.

                                                             Sincerely,



                                                             Jim Murdica
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 125 of 221 PageID:
                                  172518




            EXHIBIT 8




                                       8
         ATL-L-002648-15 01/29/2024 5:07:00 PM Pg 1 of 7 Trans ID: LCV2024245870
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 126 of 221 PageID:
                                  172519




  FOX ROTHSCHILD LLP
  Formed in the Commonwealth of Pennsylvania
  By:    Jeffrey M. Pollock, Esq. (015751987)
         Michael W. Sabo, Esq. (306252019)
  Princeton Pike Corporate Center
  997 Lenox Drive, Building 3
  Lawrenceville, New Jersey 08648
  (609) 896-3600
  Attorneys for Andy Birchfield and Beasley Allen


                                                    SUPERIOR COURT OF NEW JERSEY
                                                    LAW DIVISION, ATLANTIC
                                                    COUNTY
   IN RE TALC-BASED POWDER
   PRODUCTS LITIGATION                              Consolidated Docket No. ATL-L-2648-
                                                                     15

                                                             MCL Case No. 300

                                                                 Civil Action

                                                          SUPPLEMENTAL
                                                     CERTIFICATION OF ANDY D.
                                                       BIRCHFIELD, JR., ESQ. IN
                                                    SUPPORT OF BEASLEY ALLEN’S
                                                     OPPOSITION TO J&J’S ORDER
                                                          TO SHOW CAUSE


  I, ANDY D. BIRCHFIELD, Jr., ESQ., certify:

         1.      I make this supplemental certification based on personal knowledge and in further

  opposition to Defendants Johnson & Johnson and LTL Management, LLC (collectively, J&J)’s

  Order to Show Cause Seeking to Disqualify Beasley Allen Crow Methvin Portis & Miles, P.C.

  (Beasley Allen) from this litigation.

         2.      Beasley Allen partners serve on many litigation leadership committees in federal

  and state courts, including representing a member of the LTL Tort Claimants Committee.
           ATL-L-002648-15 01/29/2024 5:07:00 PM Pg 2 of 7 Trans ID: LCV2024245870
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 127 of 221 PageID:
                                  172520



      Beasley Allen Gained Significant Knowledge Over Its Ten (10) Year Intense Participation
                                   in New Jersey Talc Litigation

           3.      Beasley Allen opened its first talc case against J&J in 2013 and filed its first talc

  lawsuit against J&J in January 2014.

           4.      Beasley Allen tried its first talc lawsuit on behalf of an ovarian cancer victim in

  2016 obtaining a seventy-two (72) million dollar verdict.

           5.      Between 2016 and 2021 when J&J filed its first bankruptcy petition, Beasley Allen

  had twelve (12) trials against J&J involving ovarian cancer victims.

           6.       Beasley Allen was integrally involved in New Jersey talc litigation long before I,

  or any member of Beasley Allen, ever met Mr. Conlan or anyone with Legacy, which did not occur

  until late April 2023.

           7.      In 2016, my law partner at Beasley Allen, Ted Meadows, served as co-lead counsel

  as this Court, with Judge Nelson Johnson presiding, conducted a weeks-long Kemp hearing. 1

           8.      In October 2016, my law partner at Beasley Allen, Leigh O’Dell, was appointed

  co-lead counsel of the Plaintiffs’ Steering Committee in In re: Johnson & Johnson Talcum Powder

  Products Marketing, Sales Practices, and Products Liablility Litigation, MDL No. 16-2738

  (MAS)/(RLS) (D.N.J.). As co-lead counsel, Leigh O’Dell has responsibility for more than pending

  50,000 cases.

           9.      In October 2021, J&J filed its first bankruptcy petition and the United States

  Trustee appointed a Beasley Allen client to the In re LTL Management LLC Tort Claimants

  Committee (TCC), with me, Leigh O’Dell, and Ted Meadows serving as representatives.

           10.     Extensive discovery was undertaken in LTL Management LLC (LTL-1) in


  1
    J&J’s adverse ruling was reversed. See Carl v. Johnson & Johnson, 464 N.J. Super. 446 (App. Div. 2020) (reversing
  the trial court and holding that plaintiffs’ experts’ methodologies were sound and there was sufficient evidence to
  support claims that J&J’s Baby Powder can cause ovarian cancer despite J&J’s continued claim of “junk science”).
         ATL-L-002648-15 01/29/2024 5:07:00 PM Pg 3 of 7 Trans ID: LCV2024245870
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 128 of 221 PageID:
                                  172521



  preparation for a Motion to Dismiss trial. Leigh O’Dell, Ted Meadows, and I were actively

  involved in every aspect of the trial preparation.

         11.     In LTL-1, Judge Michael Kaplan ordered mediation. I led the team effort on behalf

  of ovarian cancer victims to reach a mediated resolution. With mediators involved, there was in-

  depth discussion of the value of talc claims from both sides. This mediation effort continued for

  approximately a year.

         12.     In addition to the court-appointed mediators, Judge Kaplan appointed Kenneth

  Feinberg to serve as a Rule 706 expert for the purpose of preparing a report to the Court of the

  estimated liability for talc claims. I served as the point person for the ovarian cancer leadership

  team for this estimation process. The entire team worked closely with Mr. Feinberg in this process.

  This process necessarily involved the back and forth of the parties regarding the strength and

  weaknesses of the cases.

         13.     On January 30, 2023, the Third Circuit issued its decision that LTL-1 must be

  dismissed. The bankruptcy court issued the order of dismissal on April 4, 2023.

         14.     Following the Third Circuit decision and before the actual dismissal order was

  entered on April 4, 2023, I, along with the plaintiff leadership team, prepared a settlement proposal

  substantially similar to the proposal that is discussed as part of the Legacy proposal that J&J

  provided to the Court. Legacy had no involvement in the development of the settlement proposal.

         15.     On April 4, 2023, just hours after the order was entered to dismiss LTL-1, J&J filed

  its second bankrupty petition. With the second filing, J&J proposed a plan that would have offered

  unreasonably low values to cancer victims. Immediately I, along with others, voiced opposition on

  the basis that under the proposal, cancer victims would not receive fair compensation.

         16.     The United States Trustee appointed a Beasley Allen client to serve on the TCC for
         ATL-L-002648-15 01/29/2024 5:07:00 PM Pg 4 of 7 Trans ID: LCV2024245870
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 129 of 221 PageID:
                                  172522



  LTL-2 with me, Leigh O’Dell and Ted Meadows serving as representatives.

         17.     My first contact with anyone at Legacy was on April 27, 2023 and that was a call

  that was facilitated by counsel for the TCC.

         18.     The first meeting with Legacy personnel was on May 2, 2023.

         19.     Before meeting anyone from Legacy, I, along with my partners at Beasley Allen,

  had extensive knowledge regarding talc claims, the strengths and weaknesses of claims, the values

  of claims, J&J approaches to settlement, and J&J litgation strategies. This knowledge did not come

  from inside information but years of experience involved in every aspect of the litigation. I have

  always viewed Legacy as a vendor who was talking with all parties about a creative solution to a

  difficult problem based on their collective experience in similar transactions. I have never viewed

  Legacy as an ally or an adversary.

         20.     Because of Beasley Allen’s intense years-long participation and experience in the

  talcum powder litigation, it has gained a great deal of knowledge, including the value of talcum

  powder claims and the parties’ claims and defenses.

         21.     Contrary to Mr. Hass’ assertion, there is no “structural optimization strategy.” The

  structural optimization model is a Legacy proposal—as discussed in the Bloomberg Law article—

  which J&J is free to accept or reject.

         22.     In paragraph 9 of his opening Declaration, Erik Haas states as follows:

         “Notably, in the Spring of 2021, Mr. Conlan provided extensive advice to me and
         my colleagues, and engaged in negotiations on our behalf, with respect to a
         settlement proposal advanced by Mr. Birchfield. As Mr. Birchfield testified in his
         deposition taken in the LTL bankruptcy, that settlement contemplated the
         resolution of the ovarian talc claims for $4.2 billion. Mr. Conlan conferred with us
         regarding the strengths and weaknesses of utilizing a “structural optimization”
         strategy in lieu of the settlement format Mr. Birchfield proposed at that time.”

  Mr. Haas’ statements are false. I never met Mr. Conlan, and to the best of my memory had never
        ATL-L-002648-15 01/29/2024 5:07:00 PM Pg 5 of 7 Trans ID: LCV2024245870
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 130 of 221 PageID:
                                  172523



  had any interaction with Mr. Conlan before May 2, 2023. J&J repeatedly states that I knew that

  Mr. Conlan represented J&J and even states: “In fact, Birchfield was negotiating potential

  resolution of the same cases when Conlan was on the other side of the table advising J&J.” J&J

  Opening Br. at 2. The only information provided to me regarding Mr. Conlan’s representation of

  J&J was that Mr. Conlan was interacting with the Future Claims Representative (FCR) in the

  Imerys bankruptcy proceeding. That information was provided to me by Mr. Murdica in 2020.

         23.     In regards to the $4.2 billion settlement proposal referenced by Mr. Haas, there are

  several key points that are pertinent to the matter before the Court. First, I never negotiated or

  discussed the stated proposal with Mr. Conlan. Second, the terms of the referenced proposal differ

  in substantial ways from any settlement proposals being discussed or considered today – three

  years later. Third, the number of claims has increased by nearly 5-fold since the time of that

  proposal, due in large measure, in my experienced opinion, due to missteps by J&J in handling the

  talc litigation. Fourth, at the time of the settlement proposal referenced by Mr. Haas, J&J was

  threatening but had not yet exercised the threat of bankruptcy, which would at a minimum ensure

  a delay of litigation. The circumstances today are materially different. J&J has now attempted two

  bankruptcy proceedings and failed twice. The arc of the litigation has advanced substantially and

  the landscape is materially different from the time Mr. Conlan ceased work for J&J.

    Beasley Allen Has Never Retained or Otherwise Engaged Mr. Conlan In Any Capacity

         24.     As stated in my prior certification, Beasley Allen has never received any privileged

  or confidential information belonging to J&J.

         25.     I have no personal knowledge of Mr. Conlan’s work with or on behalf of J&J. He

  has never confided in either me or Beasley Allen about his work, advice or legal analysis from his

  work with J&J.
         ATL-L-002648-15 01/29/2024 5:07:00 PM Pg 6 of 7 Trans ID: LCV2024245870
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 131 of 221 PageID:
                                  172524



          26.      My understanding and belief is that Mr. Conlan works for Legacy Liability

  Solutions, which is an independent business offering innovative solutions to companies with major

  mass tort liabilities.

          27.      J&J has stated repeatedly that Mr. Conlan is a “side switching lawyer.” I am aware

  that Mr. Conlan is a former lawyer, but Mr. Conlan has never been retained by Beasley Allen in

  any capacity. Beasley Allen has never retained Mr. Conlan, has never paid him any

  compensation—nor has Beasley Allen been asked to at any time. Mr. Conlan has never represented

  any plaintiffs in the talcum powder cases against J&J. Mr. Conlan has never “partnered” with,

  associated with, or allied with Beasley Allen in any way in representing any of Beasley Allen’s

  clients. All interactions with Mr. Conlan and Legacy were arm’s length interactions with a business

  that offers a solution to the issue that J&J has publicly and falsely stated could only be addressed

  in bankruptcy.

          28.      Mr. Brody, counsel for J&J, argued on January 23, 2024 that Mr. Conlan served as

  “a lawyer, an expert, or a former employee or a witness” on behalf of Beasley Allen or its clients.

  That is false. Mr. Conlan has not served as a lawyer, expert, witness, or employee of Beasley Allen

  in this or any other matter. See Tr. at 10:16-24.

          29.      Mr. Brody also asserted on January 17, 2024 that Mr. Conlan and Beasley Allen

  are “jointly pursuing a resolution that was adverse” to J&J. That is false. At no point have I or any

  of my colleagues at Beasley Allen worked jointly with Mr. Conlan or Legacy in pursuing any

  claim against J&J. See Tr. at 7 to 8.

          30.      Mr. Brody also stated on January 17, 2024 that “they” (meaning Beasley Allen and

  Mr. Conlan) are trying to obtain a result “$10 billion higher.” Respectfully, there is no “they.”

  Mr. Brody’s statement is false in that it implies that Beasley Allen worked with Mr. Conlan to
        ATL-L-002648-15 01/29/2024 5:07:00 PM Pg 7 of 7 Trans ID: LCV2024245870
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 132 of 221 PageID:
                                  172525



  arrive at a value to be proposed to J&J for resolution of the current and future pending talcum

  powder exposure claims in which J&J is a defendant. See Tr. at 7:10-25.

         31.     J&J has stated that Beasley Allen reached out to Mr. Conlan. This is false.

         32.     Mr. Brody argues that Mr. Conlan is an expert, consultant or advisor that served for

  Beasley Allen. This is false. Mr. Conlan has never served as an expert, consultant, or advisor to

  Beasley Allen. Mr. Conlan has never been retained by Beasley Allen, nor has Beasley Allen

  requested Mr. Conlan’s advice.

        Mr. Conlan Has Never Shared Any Confidential Information with Beasley Allen

         33.     It is my understanding based on J&J’s filings with the Court that Mr. Conlan left

  Faegre Drinker in 2022. Beasley Allen and I had no association with Legacy or Mr. Conlan at that

  time, and, to the best of my knowledge, I met Mr. Conlan for the first time on May 2, 2023.

         34.     At no point has Mr. Conlan discussed with me or my Beasley Allen team J&J’s

  litigation strategy, including proposed settlement values or what J&J believed to be reasonable or

  fair to settle its talcum powder liability. Mr. Conlan has never shared with me or my colleagues at

  Beasley Allen any memoranda, emails, work product, litigation values, risk retention, or any other

  such information belonging to J&J.

         35.     At no point has Beasley Allen conspired with Mr. Conlan against J&J. Beasley

  Allen represents its clients in arms-length transactions, and it has not done so with any unfair

  advantage or insight from Mr. Conlan. Nor have I shared any client confidences with Mr. Conlan.

         I certify that the foregoing statements made by me are true. I am aware that if any of the

  foregoing statements made by me are willfully false, I am subject to punishment.

  Dated: January 29, 2024

                                                       __________________________________
                                                       ANDY D. BIRCHFIELD, Jr., ESQ.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 133 of 221 PageID:
                                  172526




            EXHIBIT 9




                                       9
         ATL-L-002648-15 01/30/2024 3:43:40 PM Pg 1 of 3 Trans ID: LCV2024256642
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 134 of 221 PageID:
                                  172527




                           SUPERIOR COURT OF NEW JERSEY
                           LAW DIVISION, ATLANTIC COUNTY

  IN RE TALC-BASED POWDER                                Master Docket No.
  PRODUCTS LITIGATION                                    ATL-L-2648-15

                                                         MDL CASE NO. 300

  Applicable to All Cases
                                                         CIVIL ACTION

                             CERTIFICATION OF JAMES F. CONLAN

          I declare as follows including in response to the declarations of Mr. Haas and

  Mr. Murdica dated Jan 26, 2024:

        1.        During my representation of J&J from July 2020 through February 2022, while at

  Faegre Drinker, I learned nothing from J&J with respect to structural optimization or disaffiliation

  of mass tort liable entities;

        2.        Structural optimization and disaffiliation structures, precedents and transactions are

  “not” confidential, predate substantially my representation of J&J, and my knowledge of same did

  not emanate in any respect from J&J.

        3.        I pioneered structural optimization during my thirty-two-year career at Sidley

  Austin, and long before I represented J&J. See www.legacyliability.com. While at Sidley Austin,

  in 2015 I structurally optimized Borg Warner with Mr. Gasparovic (the co-founder and Chairman

  of Legacy). The Borg Warner optimized entity (Morse TEC) was subsequently disaffiliated in

  2019 via a transfer of Morse TEC to Enstar. J&J's auditors (PriceWaterhouseCoopers, "PwC")

  were the auditors for Borg Warner and concluded that the disaffiliation of the structurally
         ATL-L-002648-15 01/30/2024 3:43:40 PM Pg 2 of 3 Trans ID: LCV2024256642
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 135 of 221 PageID:
                                  172528



  optimized asbestos liable entity via transfer to Enstar resulted in the removal of the GAAP

  contingent liability charge from the financials of Borg Warner -- i.e. "finality." Similarly, while

  at Sidley Austin, in 2016 I structurally optimized ITT and the optimized entity (Intelco) was

  disaffiliated in mid-2021 in a transfer of the optimized entities to Delticus.

       4.            Other public structural optimizations and disaffiliation transactions/precedents

  include Mine Safety Appliances, Crane Industries, and SPX. Companies with whom Legacy

  competes      in    the   acquisition    of   structurally   optimized   mass    tort   liable   entities

  include Enstar Group, Delticus Group, Global Risk, FARA, and R&Q Legacy. Again, structural

  optimization and disaffiliation structures, precedents and transactions, are “not” confidential,

  predate substantially my representation of J&J, and my knowledge of same did not emanate in any

  respect from J&J.

       5.            The Legacy Liability option, built on acquisition of structurally optimized mass tort

  liable entities, applies equally to asbestos, PFAS, talc, PCB’s, herbicides, and pesticides.

       6.            J&J is not “compelled” to accept, and has not accepted, Legacy’s proposal.

       7.            The Legacy option would not “settle” J&J’s talc liabilities, but instead would

  remove all talc liable entities (and thereby the talc liability), with “finality” from J&J and J&J’s

  financials.

       8.            The Legacy option does not require a vote by, or approval of, talc claimants or a

  Future Claims Representative.

       9.            Mr. Murdica again attaches and refers to his November 5, 2023 letter to me but fails

  again to include my response.
         ATL-L-002648-15 01/30/2024 3:43:40 PM Pg 3 of 3 Trans ID: LCV2024256642
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 136 of 221 PageID:
                                  172529



         10.     The Legacy proposal to the J&J Board of Directors dated November 9, 2023 was

  not informed by anything I learned from J&J. The November 9, 2023 Legacy proposal did not

  reflect, and does not require, any J&J confidential information.

         11.     Legacy would acquire all structurally optimized J&J entities with current and future

  talc liability, provided PwC concludes (as PwC did with respect to Borg Warner-Morse TEC) that

  such entities are sufficiently capitalized to allow PwC to remove the contingent liability charge

  from J&J’s financials under GAAP ASC 450. Post acquisition, all such current and future talc-

  related claims would be resolved by Legacy via settlement or judgment in the tort system.

       12.       The Legacy option harnesses: (i) the role and power of corporate structure and

  accounting standards (rather than a bankruptcy court order) to achieve finality; and (ii) the ability

  to enhance after-tax net investment earnings through reduced investment income taxation and

  administrative and operating expense efficiencies, when compared to bankruptcy trusts.

       13.       Legacy remains willing to consensually transact with J&J to acquire all of the talc

  liable, structurally optimized, J&J entities, provided such entities are sufficiently capitalized

  including as demonstrated by a PwC determination that it will remove the talc charge from J&J’s

  financials.

                                                                Executed this 29th day January, 2024

                                                                _________________________
                                                                James F. Conlan
                                                                Legacy Liability Solutions LLC
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 137 of 221 PageID:
                                  172530




  EXHIBIT A
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 138 of 221 PageID:
                                  172531

                                       SUPERIOR COURT OF NEW JERSEY
                                       LAW DIVISION: CIVIL PART
                                       ATLANTIC COUNTY
                                       DOCKET NO.: ATL-L-2648-15
                                       A.D. #

                                    )
          IN RE: JOHNSON AND JOHNSON)               TRANSCRIPT
          TALCUM-BASED POWDER       )                   OF
          PRODUCTS LITIGATION       )                 MOTION
                                    )

                                 Place: Atlantic County Civil Crt.
                                        1201 Bacharach Blvd.
                                        Atlantic City, NJ 08401

                                  Date: January 17, 2024

          BEFORE:

                HONORABLE JOHN C. PORTO, J.S.C.

          TRANSCRIPT ORDERED BY:

                SEAN C. GARRETT, ESQ., (Faegre Drinker Biddle &
                Reath, L.L.P.)

          APPEARANCES:

                JEFFREY M. POLLOCK, ESQ., (Fox Rothschild, L.L.P.)
                Attorney for Plaintiff

                TED MEADOWS, ESQ., AND
                ANDY BIRCHFIELD, ESQ., (Beasley Allen)
                Attorneys for Plaintiff

          *(Appearances continued)


                                  Transcriber: Nitsa Carrozza
                                  PHOENIX TRANSCRIPTION
                                  796 Macopin Road
                                  West Milford, NJ 07480
                                  (862) 248-0670

                                  Audio Recorded
                                  Recording Opr: Bashu Dev
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 139 of 221 PageID:
                                  172532

          APPEARANCES CONTINUED:

                RICHARD M. GOLOMB, ESQ., (Golomb Law)
                Attorney for Plaintiff

                SUSAN M. SHARKO, ESQ. AND
                SEAN C. GARRETT, ESQ., (Faegre Drinker Biddle &
                Reath, L.L.P.)
                Attorneys for Defendant

                ERIK HASS, ESQ., (World Wide Vice President,
                Litigation, Johnson and Johnson)
                Attorney for J and J

                STEVE BRODY, ESQ., (O’Melveny & Myers)
                Attorney for Defendant
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 140 of 221 PageID:
                                  172533
                                                                        3
                                     I N D E X
                                                            PAGE
          Colloquy/Housekeeping.............................4,63

          ORDER TO SHOW CAUSE:

          ARGUMENTS:                                               PAGE
          BY: Mr. Brody                                         6,48,60
          BY: Mr. Pollock                                         24,55
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 141 of 221 PageID:
                                  172534
                                                                        4

  1                 (Proceeding commenced at 1:59:33 p.m.)

  2                   COURT OFFICER:     All rise.

  3                   THE COURT:     Thank you, counsel.    All right,

  4       January 17th, 2024.      This is Judge John Porto.     This is

  5       Johnson and Johnson Talcum Powder Products Litigation,

  6       Master docket, ATL-2648-15, is the case number.         May I

  7       have the appearance of plaintiffs’ counsels?

  8                   MR. POLLOCK:     Jeff Pollock, Fox Rothschild,

  9       on behalf of the Beasley Allen Firm, Your Honor.

 10                   THE COURT:    Thank you.

 11                   MR. BIRCHFIELD:    Andy Birchfield with Beasley

 12       Allen.

 13                   THE COURT:    Thank you.

 14                   MR. MEADOWS:    Ted Meadows on behalf of

 15       plaintiffs and with Beasley Allen.

 16                   THE COURT:    Thank you.

 17                   MR. GOLOMB:    Richard Golomb, Golomb Legal, on

 18       behalf of plaintiffs.

 19                   THE COURT:    Good morning or good afternoon

 20       and counsel for the defendants?

 21                   MS. SHARKO:    Thank you, Susan Sharko from

 22       Faegre, Drinker, for the defendants and I have with me

 23       Erik Hass, who is the World Wide Vice President of

 24       Litigation for Johnson and Johnson.

 25                   MR. HASS:    Good afternoon, Judge.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 142 of 221 PageID:
                                  172535
                                                                        5

  1                   THE COURT:    Good afternoon.

  2                   MS. SHARKO:    My Associate, Sean Garrett, who

  3       you know and --

  4                   MR. BRODY:    Good afternoon, Your Honor, Steve

  5       Brody, on behalf of the defendants.

  6                   THE COURT:    Thank you, good afternoon to

  7       everyone.    Everyone may be seated.      This is defendants’

  8       motion for an order to show cause as to why Beasley

  9       Allen should not be disqualified from this litigation.

 10       I’ve reviewed the materials, the motion, the reply, the

 11       opposition, as well as the attachments.        I’ll have a

 12       few questions.

 13                   This is not a plenary hearing.      I know there

 14       were a few questions with regard to whether there’s a

 15       plenary hearing.     I think the -- I find that the Trupos

 16       decision really says that a plenary hearing is only if

 17       there needs to be some further clarification.         So and

 18       we have our agenda with regard to our case management

 19       conference.

 20                   So Ms. Sharko, this is your motion.       You

 21       wanted to provide, did I hear, use I.T.?        You wanted to

 22       show some -- use our technology here in the courtroom?

 23                   MS. SHARKO:    Yes, Mr. Brody will argue the

 24       motion and we do have a Powerpoint first.

 25                   THE COURT:    Okay.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 143 of 221 PageID:
                                  172536
                                                                        6

  1                   MS. SHARKO:    Thank you.

  2                   MR. BRODY:    Yeah, so --

  3                   THE COURT:    Mr. Brody?

  4                   MR. BRODY:    Sure.   I’m going to start by

  5       making sure everybody has copies.       Your Honor.

  6                   THE COURT:    Thank you.

  7                   MR. BRODY:    And we are going to try to run

  8       this through the Zoom.      I think we’re all set

  9       (indiscernible)     So I thought, Your Honor, it would be

 10       helpful today to really give an overview of the facts

 11       that are undisputed and why it is that those undisputed

 12       facts are so compelling in this case and why they

 13       require disqualification of the Beasley Allen Firm from

 14       future proceedings.      Disqualification from representing

 15       plaintiffs as we move forward.

 16                   Those facts, the undisputed facts, we know

 17       that those facts are undisputed based on what we’ve

 18       seen in terms of the opposition from Beasley Allen.

 19       Your Honor, having read the papers, is very familiar

 20       with the fact that James Conlon, who previously worked

 21       as an attorney with the Faegre Drinker Firm, spent

 22       approximately 1,600 hours over the course of 20 months,

 23       it’s an extraordinary amount of time, as part of the

 24       core legal team, representing Johnson and Johnson, with

 25       respect to this litigation, with respect to the Talc
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 144 of 221 PageID:
                                  172537
                                                                        7

  1       Litigation.

  2                   And not just with respect to the Talc

  3       Litigation but strategies for resolution of that

  4       litigation, strategies that involve an evaluation of

  5       the strengths and weaknesses of the cases, looking at

  6       different potential resolutions, likely outcomes, doing

  7       that with the highest levels of the J and J Law

  8       Department and the core legal team representing the

  9       company.

 10                   We also know and Beasley Allen has not denied

 11       this and disputed this, that Beasley Allen is aware

 12       that Mr. Conlon was a member of J and J’s legal team

 13       with respect to the Talc Litigation.        We know that they

 14       are jointly pursuing a resolution that was adverse to

 15       Johnson and Johnson.     It is, as Your Honor knows from

 16       the papers, a resolution that they proposed that is

 17       more than twice, more than $10 billion higher, than

 18       what the company is seeking to resolve this litigation

 19       for and has sought to resolve the litigation for

 20       through the bankruptcy process.

 21                   We also know that they are attempting to push

 22       this through the tort system, not through the

 23       bankruptcy process, that they know that J and J

 24       prefers.    And in fact, J and J has been clear on that.

 25       Mr. Hass, during the October 17th earnings call, third-
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 145 of 221 PageID:
                                  172538
                                                                        8

  1       quarter earnings call that the company had, made that

  2       clear to the company’s investors that this is the

  3       company’s preferred course of resolution.

  4                   What is being pursued jointly by Conlon and

  5       Beasley Allen is directly adverse to that.         And we also

  6       know because we haven’t seen any evidence of this in

  7       any of the declarations, certifications, that were

  8       submitted by Beasley Allen, that Beasley Allen has not

  9       put in place any types of screening or other measures

 10       to keep J and J’s client confidences from being shared

 11       with attorneys who are working on this litigation.

 12                   So what’s the response?     And I think that a

 13       good way to talk about why disqualification is required

 14       here is to take a look at Beasley Allen’s response.

 15       The first thing we see from them is; well, we never

 16       officially hired Mr. Conlon.       He’s not working as a

 17       lawyer at our firm, we didn’t hire him as, you know, a

 18       special counsel to our firm and therefore, for that

 19       reason, disqualification is not appropriate here.

 20                   They argue, as a result, there is no

 21       technical violation of a rule of professional conduct

 22       such as Rule 1.9 or Rule 1.10 that could serve as a

 23       basis for qualification but the law in New Jersey and

 24       elsewhere and this is not a surprise, doesn’t get

 25       caught up in the question of; well, was there a
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 146 of 221 PageID:
                                  172539
                                                                        9

  1       technical violation of a rule of professional conduct

  2       such as 1.9 and 1.10 that would require

  3       disqualification.

  4                   It’s not the case, as Beasley Allen suggests,

  5       that they can align itself with J and J’s former lawyer

  6       and jointly pursue with him a resolution adverse to J

  7       and J without consequence, merely because they hadn’t

  8       officially hired him to be a member of the law firm.

  9       We see the reasons for that, the core ethical

 10       principles that are involved in things like the Kennedy

 11       decision.

 12                   The highest standards of profession are the

 13       maintenance of client confidentiality and the need to

 14       ensure that protected client information is not used to

 15       the detriment of a former client.       And attorney may not

 16       use information obtained from a client to the detriment

 17       of that client.     We see that as a bedrock principle of

 18       New Jersey practice and it is found within all sorts of

 19       the ethical rules.

 20                   4.4, 1.6, 1.9, 1.10, 1.18, throughout the

 21       ethical rules, the need to protect client confidences

 22       and not have a situation where proceedings occur as

 23       they will in this litigation if Beasley Allen is

 24       permitted to continue representing plaintiffs here,

 25       where one side has access to the other side’s client
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 147 of 221 PageID:
                                  172540
                                                                       10

  1       confidences.    Something that will impact every aspect

  2       of the proceedings going forward, whether it is a

  3       global settlement discussion, settlement discussions of

  4       individual cases or evaluations of the strengths and

  5       weaknesses of individual cases brought by Talc

  6       plaintiffs.

  7                   It’s no answer, again, for Beasley Allen to

  8       say; well, we didn’t technically hire Mr. Conlon.          New

  9       Jersey has addressed that, as well.        This is the New

 10       Jersey Supreme Court Advisory Committee on Professional

 11       Ethics Opinion 680, “It is well established that an

 12       attorney may not do indirectly that which is prohibited

 13       directly,” and that’s the key point here.         You can’t

 14       get around it simply by saying; well, we don’t have a

 15       formal employment relationship with Mr. Conlon, the guy

 16       who spent 1,600 working as a core member of the J and J

 17       legal team on this very matter.

 18                   And so I do want to talk about some of the

 19       case law that has been addressed analogous situations

 20       because I think it’s important and I think it’s

 21       important to go a little deeper into the facts of those

 22       cases and these are cited in our briefs but I mean,

 23       let’s take the Cordy case as a starting point.         I mean,

 24       we sort of have the punch line here which is the

 25       ultimate decision that was reached there but the facts
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 148 of 221 PageID:
                                  172541
                                                                       11

  1       are also important.

  2                   This is a case where it involved a bicycle

  3       accident on a railroad crossing and the Plaintiff

  4       entered into what it thought was a retention agreement

  5       with an expert on bicycle accidents.        And that expert,

  6       you know, he was sent a $3,000 retainer.        Was sent a

  7       binder of materials which had been assembled by the

  8       Plaintiff’s Counsel.     Did 28 hours of work on the

  9       matter and then announced that he didn’t want to

 10       continue with the engagement.       And so, he sent back the

 11       retainer and he said, I’m not going to be your expert

 12       here.

 13                   He was then approached by the other side.

 14       The other side, much like Beasley Allen knew here that

 15       Mr. Conlon had been J and J’s lawyer, knew that this

 16       expert had been approached by Plaintiff’s Counsel,

 17       retained and disclosed the expert.        There was a motion

 18       not only to disqualify the expert but to disqualify the

 19       defendants, lawyers and the defendants’ law firm and

 20       the Court observed first.

 21                   There is no specific rule of professional

 22       conduct that has been violated by this particular

 23       situation but that doesn’t mean that you can, to use

 24       the words of the ethics committee, that doesn’t mean

 25       you can do indirectly what you would be barred from
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 149 of 221 PageID:
                                  172542
                                                                       12

  1       doing directly.

  2                    This was also a case where the defendants’

  3       counsel denied that any confidential information had

  4       been conveyed from this expert to defense counsel.          And

  5       we’ll talk a little bit about the presumption that

  6       courts apply and how courts treat self-serving denials

  7       like that.

  8                    The Court did so in this case and said, no,

  9       that doesn’t help you because -- and this was the

 10       reason, because the fairness and integrity of the

 11       judicial process and the plaintiff’s interest in a

 12       trial free from the risk that confidential information

 13       has been unfairly used against him, outweighs

 14       defendant’s interest in continuing to be represented by

 15       the lawyers that have reached out and contacted the

 16       expert.

 17                    Very similar in the M.M.R. Wallace case,

 18       which is also cited in our papers.        In that case, a

 19       former employee of the plaintiff had worked as a member

 20       of the plaintiff’s legal team.       This was a dispute

 21       between -- it was a lawsuit brought by a subcontractor

 22       against a contractor, a business dispute about the

 23       terms of that arrangement.      And after the conclusion of

 24       this time when this former employee had been working as

 25       a member of the legal team, defense counsel reached out
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 150 of 221 PageID:
                                  172543
                                                                       13

  1       to that employee and interviewed the employee.

  2                   The, you know, same type of situation.        This

  3       is not a case where somebody was hired to be a member

  4       of a law firm or an attorney and I think Beasley Allen

  5       would concede this.     It’s not a case where, say, James

  6       Conlon gets hired by Beasley Allen and starts working

  7       as a member of the legal team representing Talc

  8       plaintiffs.    This was an interview with a former

  9       employee that happened to be a member of the team,

 10       assisting counsel, in the pursuit of the litigation

 11       between the subcontractor and the contractor.

 12                   And the -- the point and the key point here

 13       is that, that poor principle, that protection of client

 14       confidences and the need to have a proceeding free from

 15       a situation where one side has access to the other

 16       side’s confidential information.       In this case,

 17       strategies that go really to the core, the heart of the

 18       litigation, whether or not a side-switching attorney is

 19       hired by opposing counsel or whether opposing counsel

 20       acquired confidential information from the attorney by

 21       other means, disqualification is required.

 22                   This is from the M.M.R. Wallace decision.

 23       There can be do doubt that the spirit of the ethical

 24       norms adhered to in this district, if not the letter of

 25       the rules of professional conduct themselves, precludes
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 151 of 221 PageID:
                                  172544
                                                                       14

  1       an attorney from acquiring, inadvertently or otherwise,

  2       confidential or privileged information about his

  3       adversaries’ litigation strategy, exactly what has

  4       happened here.

  5                   Shadow Traffic, another of the cases we cite

  6       in our briefs, involved a situation where the

  7       plaintiff’s counsel had conducted an interview with

  8       experts from Deloitte with four individuals.         It was

  9       about a one hour long interview and they had, in the

 10       course of that interview, they indicated, shared their

 11       thoughts about the litigation with this group.         They

 12       ultimately decided not to hire the experts from

 13       Deloitte.

 14                   It was a cost issue and ultimately, I

 15       believe, subsequently, defendant’s counsel from the law

 16       firm of Latham and Watkins, went out and retained the

 17       same expert from Deloitte.      Again, they had not been

 18       hired by the plaintiff’s side.       Plaintiffs had just

 19       conducted a one hour interview with them and had some

 20       follow-up phone conversations around the time of that

 21       interview but the Court said; you can’t do that.

 22                   You can’t go out and create a situation where

 23       it is very likely that confidential information is

 24       going to be provided to you that reveals the other

 25       side’s strategies.     And the Court disqualified Latham
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 152 of 221 PageID:
                                  172545
                                                                       15

  1       and Watkins, the decision was upheld by the Court of

  2       Appeal in California for the reason and it’s the same

  3       thing we’ve been talking about, to implement the

  4       important public policy of protecting against the

  5       disclosure of confidential information and the

  6       potential exploitation of such information by an

  7       adversary.

  8                    And I prepared just a little table because I

  9       think it’s really striking when you look at what we

 10       have in this case, when you compare it to courts that

 11       have disqualified counsel based on the acquisition of

 12       and exposure to confidential information.         Here, you

 13       have a situation where James Conlon billed 1,600 hours

 14       of time to J and J for work on this very matter.

 15                    Compare and contrast that to the expert in

 16       the Cordy case, Greene, who spent 28 hours and had

 17       received a binder of material prepared by counsel for

 18       the plaintiff.     Or Shadow Traffic, where you have a one

 19       hour interview, meeting, with the potential experts,

 20       where strategies, views of the litigation, might have

 21       been discussed.

 22                    Here, you have 16 (sic) hours, countless

 23       meetings, phone calls, communications, with senior

 24       members of the J and J Law Department and the core team

 25       representing J and J in this litigation as to some of
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 153 of 221 PageID:
                                  172546
                                                                       16

  1       the most important issues that are going to impact the

  2       cases going forward.

  3                    So the -- really, the second and it’s the

  4       only other real substantive argument we’ve seen from

  5       Beasley Allen is, well, Conlon and Birchfield and Mr.

  6       Meadows, all deny that confidential information was

  7       conveyed, despite the closeness of the relationship

  8       that we’ve seen and the alliance between Conlon and the

  9       Beasley Allen Firm.

 10                    Well, court-after-court embraces, recognizes,

 11       a presumption.     That, in situations like this,

 12       confidential information was disclosed.        And you know,

 13       frankly, putting aside a legal presumption as a

 14       practical matter, just being realistic, it is

 15       impossible to envision a world where Mr. Conlon could

 16       be pursuing a settlement strategy in the top

 17       litigation.    Litigation that he worked on, was a part

 18       of, strategized about for a period of 20 months with

 19       the senior people at J and J and not have some of that

 20       come across and be communicated.

 21                    I mean, just as a realistic and practical

 22       matter but you know, that’s the reason why there is

 23       this presumption that confidential information was

 24       disclosed.    That was see in case-after-case, for the

 25       same reason what courts have done is rejected self-
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 154 of 221 PageID:
                                  172547
                                                                       17

  1       serving denials like we have seen here.        And you know,

  2       some of the reasons are articulated in the cases that

  3       we’ve cited, the cases that address situations like the

  4       situation here.

  5                   And by the way, I think it is worth pointing

  6       out, Your Honor.     I mean, we’ve been through the cases

  7       that have been cited by Beasley Allen in opposition to

  8       disqualification.     And as you go through them, you

  9       know, one-after-another, the most striking thing about

 10       them is, none of them have anything to do with the

 11       situation we see here.      You have cases that are

 12       analyzing; well, was the subsequent matter that’s at

 13       issue substantially related to the prior matter?

 14       That’s not at issue here.      Nobody is going to say that

 15       the Talc Litigation is not related to the Talc

 16       Litigation.    It is the same matter.

 17                   Cases like the LaSerto (phonetic) case that

 18       is cited where the question is, should a criminal

 19       lawyer be able to continue representing certain

 20       criminal defendants in a situation where that lawyer

 21       gave advice to employees of a company that was engaged

 22       in a fraud scheme that allowed the scheme to be

 23       perpetuated for an additional ten months and convinced

 24       certain employees to continue participating in the

 25       fraud scheme which involved making phone calls to time
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 155 of 221 PageID:
                                  172548
                                                                       18

  1       share owners.    You know, can that lawyer keep

  2       representing defendants in the criminal proceeding?

  3       Nothing to do with what we’re talking about here.

  4                   The cases that we’ve cited do address

  5       specifically situations that are directly analogous,

  6       though, not as egregious as what we’ve seen here.          And

  7       they all come down in the same place.        Again, this is

  8       on self-serving denials, this is from M.M.R. Wallace.

  9       “Even their undeniable interest in preserving any

 10       tactical advantage they may have garnered, the Court

 11       does not find availing counsel’s assertion that no

 12       confidential and or privileged information was

 13       consciously or unconsciously revealed.”

 14                   Same thing in Cordy and this is again, the

 15       bicycle accident expert.      “The expert Greene did

 16       receive confidential information from the plaintiff’s

 17       firm.   He was privy to their trial strategy, although,

 18       he and defense counsel denied that he ever divulged it

 19       to his new employer.     Their protestations are

 20       unavailing.”

 21                   You could substitute Conlon and Beasley Allen

 22       into this language from the Cordy decision based on the

 23       facts here and it would be difficult to find any reason

 24       to protest doing so.     I mean, the Court could write;

 25       here, Conlon did receive confidential information from
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 156 of 221 PageID:
                                  172549
                                                                       19

  1       J and J, we know that to be true.       He was privy to

  2       their trial strategy, we know that to be true.

  3       Although he and Beasley Allen deny that he ever

  4       divulged it, their protestations are unavailing to

  5       believe Conlon.     You can just substitute his name, did

  6       not and will not remember and ultimately use that

  7       information, even subliminally, defies common sense and

  8       human nature.    It’s exactly the case here.

  9                   Even more so than the expert Greene and

 10       again, this is important.      You know, with this expert

 11       Greene, we were talking about 28 hours and a notebook.

 12       With Conlon, we’re talking about 1,600 for which he

 13       billed $2.24 million to Johnson and Johnson, on the

 14       Talc Litigation.     We’re talking about a member of a

 15       core team of people that was tasked with looking at

 16       potential resolutions, evaluating potential

 17       resolutions, evaluating the strengths and weaknesses of

 18       these cases and we’re talking about, you know, not just

 19       a one hour meeting.     We’re talking about dozens of

 20       meetings, countless phone calls, communications, over

 21       the course of a 20 month period.

 22                   So what about Beasley Allen?      I think it is

 23       important to recognize the financial interest that is

 24       undoubtedly driving Beasley Allen here.        It’s a

 25       financial interest and you have before you, Mr.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 157 of 221 PageID:
                                  172550
                                                                       20

  1       Birchfield’s deposition testimony, sworn deposition

  2       testimony, you know, recognizing what is offered by the

  3       common benefit fund order in the M.D.L.

  4                    An order which, by the way, sweeps in

  5       participating counsel in cases that are pending before

  6       Your Honor and provides a situation where, of those

  7       participating counsel, those who participated and

  8       availed themselves of the work of the -- of the -- that

  9       was being done by the Plaintiff Steering Committee, are

 10       putting in 8 to 12 percent of any settlement money into

 11       that common benefit fund.

 12                    You know, we’re talking about, you know, even

 13       with that $8.9 billion resolution that J and J wanted

 14       to push through, through the bankruptcy, the second

 15       bankruptcy process, we’re talking about potentially a

 16       billion dollars that is going to be divided,

 17       essentially, by the Plaintiff Steering Committee, on

 18       which Beasley Allen is a member and that’s creating an

 19       enormous financial interest on the part of Beasley

 20       Allen to pursue this resolution with Conlon that brings

 21       in the cases and directly impacts this litigation.

 22                    So how close has that relationship been?       I

 23       don’t think you need to look much past the October

 24       18th, 2023 e-mail that Mr. Conlon sent to J and J’s

 25       treasurer.    This was the day after Mr. Hass announced
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 158 of 221 PageID:
                                  172551
                                                                       21

  1       on the earnings call the company’s intention to

  2       continue to proceed through the bankruptcy process, a

  3       process by the way which would eliminate the common

  4       benefit fund payments that Beasley Allen would

  5       otherwise realize a share of.

  6                   And this was where Mr. Conlon revealed that

  7       he had the support of what he calls lead counsel for

  8       the O.C. claimants, the ovarian cancer claimants,

  9       including Andy Birchfield, for an M.D.L. opt-in

 10       settlement matrix.     A matrix, you have this in the

 11       materials, Your Honor, it’s Exhibit 6 to the Hass

 12       declaration, that values different cases and attaches

 13       different numbers to different cases in a settlement

 14       matrix.

 15                   Conlon had gone out to Beasley Allen to get

 16       Beasley Allen’s support before taking it to J and J.

 17       And then this is the most striking part of this.          Andy

 18       Birchfield, Doug Dachille -- Doug Dachille is the

 19       Senior Vice President and Chief Investment Officer at

 20       Legacy Liability Solutions, that’s Mr. Conlon’s

 21       business and I are prepared to meet with you and your

 22       team.   Beasley Allen, Andy Birchfield and James Conlon,

 23       J and J’s former lawyer, jointly proposing that they

 24       would come in and pitch the settlement matrix and walk

 25       through it and pitch their solution which they knew to
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 159 of 221 PageID:
                                  172552
                                                                       22

  1       be adverse, to J and J’s preferred resolution to the

  2       company.

  3                   But it didn’t stop there and as Your Honor

  4       saw from the various exhibits that have been submitted

  5       with the briefing on this, there have been joint

  6       efforts to advance their case through the media, to

  7       undermine the company’s preferred resolution through

  8       coordinated releases of commentary.        Commentary

  9       criticizing the company’s preferred resolution and at

 10       the same time, promoting their own resolution, the one

 11       from which both Conlon and Beasley Allen stand to

 12       benefit significantly financially.

 13                   Coming back to the company yet again on

 14       November 9th, providing that settlement matrix and

 15       attaching a $19 billion price tag to the resolution

 16       that they were advancing, again, adverse to the

 17       company’s interests.     And ultimately, not content to

 18       take their case to the media, taking their case

 19       directly to investors through a joint presentation

 20       investment seminar presentation, through Gordon Haskett

 21       Advisors, with what was billed as two experts.          James

 22       Conlon, apparently an expert by virtue of his prior

 23       representation of Johnson and Johnson and Andy

 24       Birchfield, no doubt an expert as a result of the fact

 25       that he is adverse to J and J in Talc Litigation.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 160 of 221 PageID:
                                  172553
                                                                       23

  1                   Against these facts, there is no question

  2       that disqualification is required if there is going to

  3       be any fairness to these proceedings for J and J going

  4       forward and for that reason, we would ask the Court to

  5       disqualify Beasley Allen.      We noted in our reply brief,

  6       this will not leave those plaintiffs without

  7       representation.

  8                   In all of the cases where Beasley Allen is

  9       listed as counsel on the Court’s docket for plaintiffs,

 10       they are represented by three other law firms,

 11       including the Segal Weiss Firm.       It is not a situation

 12       where all of the sudden, you’re going to have a large

 13       number of plaintiffs who are not represented in this

 14       M.C.L., that will not be the case.        What will be the

 15       case is fairness and integrity with preservation, using

 16       the words of the Baldonado (phonetic) Court,

 17       preservation of a fair and just litigation process will

 18       be maintained.     Thank you, Your Honor.

 19                   THE COURT:   Thank you, Mr. Brody.      Mr.

 20       Pollock?

 21                   MR. POLLOCK:    Yes, Your Honor.    Thank you for

 22       making time to hear us today.

 23                   THE COURT:   You’re welcome and you’ll have as

 24       much (indiscernible) time as Mr. Brody did.         I will

 25       have questions, though, afterwards.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 161 of 221 PageID:
                                  172554
                                                                       24

  1                    MR. POLLOCK:   I’m ready for your questions

  2       whenever you are, Judge, but I wish I had the courtesy

  3       of their Powerpoint beforehand so I could have reviewed

  4       it but I think I’m pretty good, so I’m going to go

  5       forward.    What is stunning about the papers submitted

  6       by J and J and by opposing counsel’s argument today is,

  7       he did not even mention the words, “Appearance of

  8       impropriety,” he didn’t mention them.

  9                    And in 1984 when the Cordy decision was being

 10       drafted by Magistrate Judge Kugler, which he

 11       specifically says, there is no rule on-point.         The

 12       reason is 1.9 and 1.10 didn’t exist yet.        The Pala

 13       (phonetic) condition had not, at that point, adopted

 14       that rule.    So the only rule was 1.7 and counsel is

 15       entitled to his own argument, he is not entitled to his

 16       own facts.

 17                    And in the Cordy decision and I’m going to

 18       refer you to page 581, there is no question that Greene

 19       performed services for Brown.       He entered into a

 20       contract, he paid, he learned their litigation

 21       strategy, he reviewed their investigation, he rendered

 22       some kind of oral opinion.      So it’s a lot more than

 23       this scant Powerpoint presentation that he just

 24       provided saying he spent 28 hours.        He did a lot more.

 25                    Judge Kugler made those findings, he had an
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 162 of 221 PageID:
                                  172555
                                                                       25

  1       investigation, he found those facts.        There are no such

  2       facts here.    So what does counsel propose?       Counsel

  3       says, well, you can’t rely upon some certifications

  4       from counsel.    The problem is, the Supreme Court of New

  5       Jersey has said that’s exactly what you’re supposed to

  6       do.

  7                   And they said unequivocally that, this is a

  8       motion to disqualify and this is Trupos, as you

  9       identified at 463 and O Builder’s, Yuna, which is 206

 10       N.J. at 117.    Both come to the same conclusion.       Yes,

 11       because of the appearance of impropriety standard, we

 12       don’t want, unless absolutely necessary and you

 13       articulated it up-front, Judge.       We don’t want a

 14       factual inquiry into the record because the fact is, we

 15       have to balance these things.

 16                   If you do go there, what you uncover, the

 17       whole series of issues.      But the Court had a choice in

 18       1984 and they follow the American Law Institute’s

 19       guidance, they follow what Jeff Hazard had to say from

 20       the University of Pennsylvania and they made the bold

 21       choice to adopt the appearance of impropriety.         That’s

 22       the standard and that’s why the Kugler decision -- and

 23       by the way, I don’t know what Connecticut law is and I

 24       don’t know what California law is.

 25                   I honestly don’t know.     I do know New Jersey
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 163 of 221 PageID:
                                  172556
                                                                       26

  1       law.   And I don’t know whether Connecticut has adopted

  2       or rejected the appearance of impropriety, I don’t know

  3       how they got there.     This is a New Jersey law issue.

  4       This is a New Jersey law determination and the Supreme

  5       Court of New Jersey is pretty clear; you are supposed

  6       to do exactly what we’ve submitted.

  7                    J and J by the way, has an entire legion of

  8       counsel, they have phalanxes of associates.         There is

  9       no reason, if they had the proofs, counsel makes the

 10       argument repeatedly that Mr. Conlon knew all -- he was

 11       running the entire J and J defense.        He knew everything

 12       about that case.     There’s not one iota of proof in this

 13       record and they could have deduced it, there’s not one

 14       iota of proof that any of that is true.

 15                    We have no idea what Mr. Conlon did.      We know

 16       he spent 1,300, 1,600 hours, he know it cost something,

 17       I have no idea but the fact is, this is their motion

 18       and the Supreme Court of New Jersey has been very

 19       clear.   We decide the motion based upon the papers

 20       presented.    The arguments of counsel are just the

 21       arguments of counsel.      If they wanted to educe those

 22       proofs, obviously they felt strongly about it, they

 23       have the opportunity to put that proof on the record

 24       right now and to establish it.       They have failed.

 25                    On the counter balance, I’ve provided you two
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 164 of 221 PageID:
                                  172557
                                                                       27

  1       certifications, one from Mr. Conlon, a lawyer who is no

  2       longer practicing and from Mr. Birchfield, as well as

  3       from Mr. Birchfield’s partner.       All three of them say

  4       and he calls it a self-serving set of papers.         I’m

  5       sorry, I’m missing it because the Supreme Court of New

  6       Jersey has said repeatedly that this is to be decided

  7       on the papers.

  8                   So how else would I do it?      I think when you

  9       talk about self-serving papers; they had the

 10       opportunity to prove it, they have failed.         And they

 11       warp Judge Kugler’s decision in Cordy out of any

 12       proportional reality in order to emphasize the point.

 13       And by the way, if you look at Kevin Michael’s book,

 14       which I’m sure you may have and you look at the Cordy

 15       decision, that case was decided before the appearance

 16       of impropriety was adopted.

 17                   And if we adopt the rule that J and J wants

 18       right now, we should just tell the Supreme Court of New

 19       Jersey, you got it wrong.      That, the appearance of

 20       impropriety is still the standard -- is no longer the

 21       -- we’re going to apply the same standard to judges, to

 22       you, as you apply to me.      And frankly, that’s just not

 23       the rule, that’s not the choice they made and it’s not

 24       up to J and J, with all due respect, to rewrite the

 25       rules.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 165 of 221 PageID:
                                  172558
                                                                       28

  1                   The Supreme Court has also said and this is

  2       Yuna, 206 N.J. at 130, that disqualification is an

  3       application to be granted sparingly and only in the

  4       most extreme circumstances.       And in this case, I do

  5       think it’s worthwhile noting that they made the exact

  6       same application in the Federal District Court.         And

  7       the reason is, as the Supreme Court found and there are

  8       several decisions directly on-point.

  9                   One is from Justice Patterson.      This is, I

 10       can’t pronounce it, Dimitrakopoulos, 237 N.J. 91 at

 11       108.   The entire controversy doctrine embodies the

 12       principle that the adjudication of legal controversies

 13       should occur in one litigation and one court.         You

 14       don’t get two bites at the apple.

 15                   That’s not just the only time they’ve said

 16       it, Joel versus Morrocco, 147 N.J. at 546.         The entire

 17       controversy doctrine seeks to further these objective

 18       requiring that whenever possible, the adjudication of a

 19       legal controversy should occur in one litigation and

 20       only one court, citing Cogdale, which is part of the

 21       three cases that lead up to the entire controversy

 22       doctrine.

 23                   Why is that relevant here?      You don’t have to

 24       rule based upon the entire controversy but you know we

 25       have a judicial shortage in New Jersey, we have a
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 166 of 221 PageID:
                                  172559
                                                                       29

  1       judicial shortage in the Federal Court.        In that case

  2       and the case with regard to Crispin versus Volkswagen,

  3       the Supreme Court referred the lawyer to the Ethics

  4       Committee for filing multiple actions based upon the

  5       same thing.    Now here, they did one thing different.

  6       They actually said, by the way, we’re filing.         But

  7       still, we’ve had to brief the matter twice but it also

  8       does reflect on the credibility of J and J and having

  9       pursued a hyper-aggressive tactic.

 10                   Counsel also made the point, well, Beasley

 11       Allen Firm is going to make money out of this and

 12       therefore, that obviously means they’re biased.         That

 13       may be true that they have an interest in the case.

 14       Obviously, they would not be pursuing it if they did

 15       not.   But the Third Circuit of the United States Court

 16       of Appeals squarely and soundly and completely rejected

 17       B.A.S.F.’s effort to try -- I’m sorry, wrong case, J

 18       and J.’s effort, to try and wipe out his liabilities by

 19       reforming the corporation and shoving things over into

 20       one little entity and then bankrupting that entity, the

 21       L.T.L.

 22                   J and J has shown in abundance that they will

 23       strike out after anyone.      I represented Doctor Moline

 24       who they tried to knock out.       They are not trying to

 25       knock out the entire Beasley Allen Firm.        And
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 167 of 221 PageID:
                                  172560
                                                                       30

  1       obviously, if they do that here, it would have an

  2       impact under imputed disqualification in the Federal

  3       District Court, as well.

  4                   So why are they so (indiscernible) the

  5       Beasley Allen Firm?     I’m not inside of J and J, they

  6       have no shared with me their information but since

  7       counsel made his speculation, I’m going to make mine.

  8       You know why, because Beasley Allen was successful.

  9       They fought for their clients and the Third Circuit

 10       agreed with them.

 11                   The Third Circuit Court of Appeals, which is

 12       in the business, by and large, of approving bankruptcy

 13       opinions.    The rate of bankruptcy approvals is

 14       phenomenally high but in this case, they happened to

 15       get a judge who actually knew the bankruptcy code and

 16       actually had been a bankruptcy judge in Delaware.          And

 17       the Third Circuit squarely and completely rejected

 18       Judge Kaplan’s effort and J and J’s effort to use

 19       L.T.L. to bankrupt the matter, to bankrupt the entity.

 20                   So when you look at it, my view is; does

 21       Beasley Allen have an economic interest?        Sure, so does

 22       J and J.    I can’t decide that issue, I can’t evaluate

 23       who is more financially interested.        What I can do is

 24       address the ethics rules and that’s what I would like

 25       to do.   The burden is a heavy burden, this is -- with
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 168 of 221 PageID:
                                  172561
                                                                       31

  1       regard to doing it.     The motion is, as you and I just

  2       discussed, should be decided on the papers.

  3                   With regard to the whole review, Trupos I

  4       think is pretty clear.      The papers, the ones provided

  5       to you today, unless you find extraordinary

  6       circumstances, are to be the ones you decide and right

  7       now, we have complied squarely with the ethics rules.

  8       I also look at R.P.C. 1.9 and 1.10.        These are the

  9       rules that adopt the appearance of impropriety.

 10                   So I thought it might make sense -- I don’t

 11       have a fancy Powerpoint, I didn’t realize that’s what I

 12       was supposed to do but I would like to go through 1.9

 13       and 1.10 with you briefly.      1.6, confidential

 14       information.    There is zero evidence in this record

 15       that Mr. Conlon shared anything with the Beasley Allen

 16       Firm.   There is no such beast.

 17                   And the fact is, to now find based upon

 18       counsel’s eloquent argument that it must have occurred

 19       under the cover of darkness and when the two of them

 20       are sweating it out, trying to figure out how to stick

 21       it to J and J, that they must have shared that

 22       information.    That is a fancy way of saying, the

 23       appearance of impropriety.      That’s not the rule, so

 24       that argument fails.     And by the way, I don’t know why

 25       Connecticut found the way it found and I don’t really
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 169 of 221 PageID:
                                  172562
                                                                       32

  1       care, I don’t practice in Connecticut.        So the fact is,

  2       I do care deeply about New Jersey Law.

  3                   With regard to 1.9 and 1.10, these rules were

  4       adopted by the Supreme Court of New Jersey after

  5       careful deliberation.      They went through not only the

  6       commission but then they actually went through

  7       extensive argument and there was debate and

  8       disagreement and as you know, there have been multiple

  9       opinions afterwards.

 10                   Duties to clients, 1.9, “A lawyer who is

 11       representing a client shall not thereafter.”         Well, Mr.

 12       Conlon is now a lawyer representing anyone in this

 13       case.   He has his own firm, Legacy but the fact is,

 14       even J and J apparently doesn’t believe that Mr. Conlon

 15       has acted inappropriately because they haven’t pursued

 16       him here.

 17                   They haven’t brought a claim against Mr.

 18       Conlon here, they have done nothing to prove that Mr.

 19       Conlon violated R.P.C. 1.9, represents a party,

 20       breached any confidentiality.       They have no problem

 21       throwing rocks and stones at the Beasley Allen Firm but

 22       I think that’s really only because the Beasley Allen

 23       Firm has done what it’s supposed to do on behalf of its

 24       client.

 25                   It’s protected their interest, vigorously, at
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 170 of 221 PageID:
                                  172563
                                                                       33

  1       the risk of tremendous debate before the Third Circuit.

  2       Because obviously, there were people who wanted to take

  3       the deal and run and there was the Beasley Allen Firm

  4       and others who thought they should fight it through.

  5       It’s not up to me to decide whether that was the right

  6       move or wrong move but I don’t think there’s an

  7       evidence that the Beasley Allen Firm did anything other

  8       than it pulled the highest standard of the law to do

  9       what they thought was right on behalf of their clients.

 10                    It doesn’t matter to me if J and J disagrees.

 11       They are allowed to disagree but the Beasley Allen Firm

 12       is allowed to go (indiscernible) and the Third Circuit,

 13       obviously -- and by the way, J and J tried to go en

 14       banc and it failed.     So clearly, the Third Circuit did

 15       look at the issue thoroughly.

 16                    Unlike the Cordy decision which was decided

 17       prior to this, in rule R.P.C. 1.10, it has a two-part

 18       test and that two-part test is important here, under

 19       1.10(b-1).    The matter has to be the same or

 20       substantially related and any lawyer in the firm had

 21       information protected.      There’s no proof here that Mr.

 22       Conlon shared information that was protected.

 23                    Did Mr. Conlon arguably have that

 24       information?    Absolutely, there’s no doubt.       He worked

 25       for J and J, I assume he’s a quality guy, I’ve never
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 171 of 221 PageID:
                                  172564
                                                                       34

  1       met him.    He’s at a decent firm, don’t doubt that

  2       either but it’s not up to us, it’s not our burden and

  3       they bear, as the Supreme Court has said, a heavy

  4       burden.

  5                   J and J has a heavy burden, in order to

  6       fulfill what it wants to do, which is knock out the

  7       Beasley Allen Firm.      And they can’t carry that burden,

  8       not on this record and not with these proofs because

  9       they have failed.     Bear with me for one second, Your

 10       Honor, I’m sorry.

 11                   THE COURT:    Sure.

 12                   MR. POLLOCK:    The -- counsel also mentioned

 13       the idea of the side-switching lawyer.        And obviously,

 14       that gets into two rules, 4.7, 1.9, 1.10 and a couple

 15       others, I guess.     There’s no indication here that Mr.

 16       Conlon ever shared the information.        What he has argued

 17       vehemently, upside-down and backwards is, well, it must

 18       have occurred, it smells wrong, it doesn’t sound right

 19       because Conlon was working with Birchfield to try to

 20       work up this deal.

 21                   So let’s be clear, there’s nothing in the

 22       record as to what Mr. Conlon and Mr. Birchfield’s roles

 23       are other than that they communicated.        By the way, Mr.

 24       Conlon also communicated with J and J.        There’s nothing

 25       in the record that -- to support Counsel’s argument
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 172 of 221 PageID:
                                  172565
                                                                       35

  1       that Andy Birchfield and the Beasley Allen Firm intend

  2       to buy out some interest here.

  3                   There’s rather the indication that Mr. Conlon

  4       had an idea on behalf of his firm, Legacy Solutions,

  5       which is a firm that apparently works on resolving

  6       disputes which I thought the Court wanted to promote

  7       but there’s no proof here that there was any

  8       information shared that was inside baseball.         Nothing

  9       that J and J shared with Conlon that went to Mr.

 10       Birchfield.

 11                   There hasn’t been, in all the fancy

 12       Powerpoint and the argument today, there’s been no

 13       showing that there was some super secret discussion.

 14       Everything that my opposing counsel points out is, yes,

 15       Mr. Birchfield did have discussions with different news

 16       groups after they had a meeting, by the way, so did J

 17       and J.

 18                   The reason being is, that the investors and

 19       the stock guys are always looking at; where is the

 20       world going?    They are allowed to have those

 21       discussions, I’m sure they will happen all the time.

 22       In this kind of litigation, it simply occurs.         There

 23       was nothing there that shows that he had any inside

 24       information that he was not allowed to reveal or that

 25       he got from Mr. Conlon that was protected.         So I don’t
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 173 of 221 PageID:
                                  172566
                                                                       36

  1       understand how the side-switching lawyer works.

  2                   I do think that when you look at -- although

  3       credibility should not, I believe, should be decided

  4       respectfully, Your Honor, on the papers before you, I

  5       don’t believe that when you look at the credibility of

  6       the entities because opposing counsel made multiple

  7       attacks on Mr. Birchfield, on the Beasley Allen Firm, I

  8       do think it’s very significant that the entire

  9       controversy doctrine literally is being litigated twice

 10       here.

 11                   They are going to get two bites at the apple.

 12       That’s -- so you’re not going to have one court, you

 13       have two.    I do think that affects their credibility.

 14       I do think that affects their credibility and all of

 15       their efforts, they have failed to put up any proofs

 16       whatsoever that the information Mr. Conlon was working

 17       on -- and I have no idea what specifically he did.          I

 18       don’t know what he did with those 1,300 or 1,600 hours.

 19                   There’s been no showing on this record that,

 20       that information was directly relevant to what Mr.

 21       Birchfield is discussing today.       And what the Supreme

 22       Court has been very clear on is that Your Honor, you

 23       have the opportunity and unfortunately the

 24       responsibility, to engage in a detailed fact-finding

 25       evaluation.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 174 of 221 PageID:
                                  172567
                                                                       37

  1                   So let’s go back to Judge Kugler and the

  2       decision in Cordy.     He actually made a specific fact-

  3       finding on that record because at that point in time,

  4       under R.P.C. 1.7, he was doing the best he could, it

  5       was the only option he had.       When the Supreme Court of

  6       New Jersey made the choice which opposing counsel

  7       refuses to recognize, that the appearance of

  8       impropriety governs the standard today.

  9                   At that point, they came also out with a rule

 10       that barring exceptional circumstances, the

 11       determination whether counsel should be disqualified

 12       which is an extraordinary remedy looking at Yuna, the

 13       fact is, it needed to be decided on the papers before

 14       you.   Do you have the right to do more?       Sure, you do.

 15       But the fact is, right now, this is a high stakes

 16       litigation.    The reality is, counsel from both sides

 17       are capable and confident.      If they had the proofs,

 18       they would have put them on the table already.

 19                   Looked at a different way, what would we do?

 20       Will we start grilling Mr. Conlon and the inside

 21       lawyers at J and J, what they discussed and what

 22       strategies they had and what their strategies are today

 23       and the same thing?     To me, it would turn the entire

 24       process into a farce and it would completely derail

 25       either going forward or settling.       I just don’t see how
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 175 of 221 PageID:
                                  172568
                                                                       38

  1       that inquiry, even if you were (indiscernible) I would

  2       respectfully argue that it makes no sense, it doesn’t

  3       get you anywhere and by the way, it’s also not the law.

  4                   If you’ll bear with me one second, Your

  5       Honor, I think I may be done.       Unless -- of course, if

  6       you have any questions for me.       Your Honor, I think

  7       I’ve addressed the core issues I have.        If you have any

  8       questions for me, Your Honor.

  9                   THE COURT:     I do, Mr. Pollock and I’m going

 10       to follow up and you may be seated.

 11                   MR. POLLOCK:    Yes, sir.

 12                   THE COURT:    You’ve been standing a long time.

 13       The Trupos case we’ve been talking about is the City of

 14       Atlantic City, back here, versus Trupos, 201 New Jersey

 15       447, 2010 decision.      Notably, in the True Post

 16       decision, it was a law firm’s representation of

 17       plaintiffs in the defense of tax appeal.        So factually

 18       distinguishable but bearing alm with regard to

 19       disqualification of counsel.

 20                   And the Court in that case was looking at

 21       R.P.C. 1.9(a).     And what I wanted to start with is,

 22       they give you the law and they say in practice, such a

 23       motion should ordinarily be decided on the affidavits

 24       and documentary evidence submitted and an evidentiary

 25       hearing should be held only when the Court cannot with
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 176 of 221 PageID:
                                  172569
                                                                       39

  1       confidence decide the issue on the basis of the

  2       information contained in those papers.

  3                   As for instance, when despite that

  4       information, there remain gaps that must be filled

  5       before a fact-finder can, with a sense of assurance,

  6       render a determination or when there looms a question

  7       of witness credibility.

  8                   And the Trupos Supreme Court decision cites,

  9       Dewey and Dewey was a case that was the basis for this

 10       Trupos decision, Dewey versus R.J. Reynolds Tobacco.

 11       It said, despite this Court having previously having

 12       determined that the Reardon versus Marlayne, Inc.,

 13       three-part test for determining disqualification of

 14       counsel appearing inverse to a former counsel no longer

 15       controls and that came out of -- that flows from the

 16       Dewey case.

 17                   So I say that because J and J says in their

 18       papers, says today that there’s some undisputed

 19       information.    Now, I’ve had the opportunity to read the

 20       three certifications today.       Mr. Conlon -- if I refer

 21       to Mr. Conlon as Conlon, no disrespect, just shorthand

 22       with regard to speaking as I would normally say if I

 23       was writing any decision.

 24                   And I take it and there are a number of

 25       questions that I have that informs whether these are
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 177 of 221 PageID:
                                  172570
                                                                       40

  1       uncontested facts.     So Mr. Conlon joined Faegre Drinker

  2       June 1, 2020 as a partner in the financing and

  3       restructuring practice.      I think he says that in his

  4       certification, so that’s not disputed, correct?

  5                   MR. POLLOCK:     No, sir.

  6                   THE COURT:     And then by July 2020, Mr. Conlon

  7       begins representing J and J as a part of a team,

  8       evaluating legal strategies for resolution of pending

  9       and future Talc claims.      Is that undisputed?

 10                   MR. POLLOCK:    I believe that’s undisputed,

 11       Your Honor.

 12                   THE COURT:    Okay and then he billed 1,600

 13       hours on this case, the equivalent of what he equates

 14       to 2.24 million.     And these are all Talc cases, Mr.

 15       Pollock?

 16                   MR. POLLOCK:    Based upon what I understand, I

 17       don’t have the billing records.         That’s what I

 18       understand from the certifications, sir.

 19                   THE COURT:    Okay.   I’m going to say yes, with

 20       a question mark because look, I’m asking, I’m trying to

 21       see where our record is.

 22                   MR. POLLOCK:    Your Honor, I simply don’t want

 23       to ever lie to you.      I don’t have the documents, I

 24       haven’t reviewed them but that’s my understanding.

 25                   THE COURT:    And that’s how I take it.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 178 of 221 PageID:
                                  172571
                                                                       41

  1                   MR. POLLOCK:     Yes, sir.

  2                   THE COURT:     I don’t want you to think I’m --

  3       these are not trick questions and I’m not here to set

  4       anybody up.    I’m trying to see what I need to do in

  5       light of Trupos.     Did Mr. Conlon’s work for J and J

  6       address consideration of Talc claims, including

  7       resolution in the tort system, the Amyris bankruptcy

  8       and in internal bankruptcy, if you know?

  9                   MR. POLLOCK:     I don’t.

 10                   THE COURT:   Okay.    Did Mr. Conlon meet

 11       personally as J and J’s counsel with debtors counsel

 12       and counsel for the future claims representative in the

 13       Amyris bankruptcy, over rounds of golf, dinner, drinks,

 14       in May 2021, if you know?

 15                   MR. POLLOCK:    I have no personal knowledge,

 16       Your Honor.

 17                   THE COURT:   Okay and or during negotiations

 18       for resolution through the Amyris -- am I saying that

 19       right, Amyris?

 20                   UNIDENTIFIED MALE:     Amyris.

 21                   UNIDENTIFIED MALE:     Amyris.

 22                   THE COURT:   Amyris, Amyris, Amyris

 23       proceeding, if you know?

 24                   MR. POLLOCK:    Again, Your Honor, I have no

 25       spoken with Mr. Conlon, I have reviewed a certification
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 179 of 221 PageID:
                                  172572
                                                                       42

  1       from him.    I have no personal knowledge of his

  2       activities.

  3                   THE COURT:     And these are, as I said, I look

  4       at what J and J submitted in support of the motion as

  5       undisputed.    I’m just making sure if they are, seeing

  6       what’s disputed, what isn’t disputed.

  7                   MR. POLLOCK:     Yes, Your Honor.

  8                   THE COURT:     Did Mr. Conlon review and

  9       evaluate numerous communications from Mr. Birchfield?

 10                   MR. POLLOCK:    I honestly don’t know, Your

 11       Honor.   If you want me to confer with my client, I can

 12       do so.   I don’t know if Mr. Conlon did.

 13                   THE COURT:    I don’t see that addressed in

 14       your certification.      That’s why I posed that one.

 15                   UNIDENTIFIED MALE:     I don’t know, Your Honor.

 16                   THE COURT:    Okay, okay and did Mr. Conlon

 17       also advise J and J regarding the potential resolution

 18       of Talc claims to a bankruptcy filing by L.T.L.

 19       effectuated on 10-14-21, do you know that?

 20                   MR. POLLOCK:    Your Honor, I don’t know but I

 21       would note there’s a critical question within the

 22       question, if you don’t mind.       Which is that, obviously,

 23       J and J formed L.T.L. in order to bankrupt it.         That’s

 24       what they did.     I do not know -- so timing could be

 25       very important, right, because the fact is, I don’t
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 180 of 221 PageID:
                                  172573
                                                                       43

  1       know -- and then Judge Kaplan accepted that

  2       proposition, the Third Circuit rejected it.

  3                    So I would only throw out there that I

  4       honestly don’t know what Mr. Conlon did but to me, it

  5       might be very important as to prejudice, if you will

  6       because that’s kind of what we’re looking into is; has

  7       J and J been prejudiced as to when those discussions

  8       occurred?    I still don’t think any of this arises to

  9       the appearance of impropriety but you’ve heard my

 10       argument.

 11                    THE COURT:    And I accept that.   In the run-up

 12       to L.T.L.’s bankruptcy filing in 2021, did Mr. Conlon

 13       attend, in parentheses, “Dozens,”, of meetings and

 14       participate, in parentheses, “Innumerable,” phone

 15       conferences with J and J’s World Wide V.P. for

 16       Litigation, Erik Hass and former Head of Litigation,

 17       Joseph Braunreuther and other attorneys working for J

 18       and J on Talc litigation, if you know?

 19                    MR. POLLOCK:    I have no personal knowledge of

 20       his personal actions with J and J.

 21                    THE COURT:    And Mr. Hass is here and Mr.

 22       Braunreuther is here.       Am I pronouncing those names

 23       correctly?

 24                    MR. HASS:    Mr. Braunreuther, he’s not here.

 25                    THE COURT:    Okay.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 181 of 221 PageID:
                                  172574
                                                                       44

  1                   MR. HASS:    He’s the former -- individual that

  2       I formerly had in my decision.

  3                   THE COURT:     Okay, thank you, Mr. Hass.     Did

  4       Mr. Conlon communicate regularly with J and J team

  5       leaders via e-mail and participate in and was he privy

  6       to communications with J and J’s other outside counsel,

  7       if you know?

  8                   MR. POLLOCK:     Same answer, Judge.    I have no

  9       idea what he discussed with J and J.

 10                   THE COURT:   Okay.    There’s no dispute, then,

 11       that Mr. Conlon possesses J and J’s confidential

 12       information regarding this multi-county litigation.

 13       The M.D.L.’s and the Federal Court and this is a M.C.L.

 14                   MR. POLLOCK:    Your Honor, I honestly don’t

 15       know that, that is true.      Because the fact is, J and J

 16       -- was -- did he have confidential discussions with J

 17       and J?   The record appears crystal clear that he did.

 18       They shot their wad.     They took the shot at the L.T.L.

 19       bankruptcy and the fact is, was that Mr. Conlon’s role?

 20       I don’t know.

 21                   And the other thing, the supposition here is

 22       that; what happened after that?       Again, I don’t know.

 23       So to me, it’s very clear, I think it’s crystal clear

 24       he had confidential discussions.       He was their counsel,

 25       I would expect those discussions were confidential.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 182 of 221 PageID:
                                  172575
                                                                       45

  1       But the fact-sensitive inquiry I would argue here is,

  2       did he have discussions that are really germane to the

  3       work that he did with Mr. Birchfield?        There’s no proof

  4       that he did.

  5                   THE COURT:     Did Mr. Conlon travel to attend

  6       meetings with J and J’s outside attorneys, New York,

  7       Miami, Los Angeles?

  8                   MR. POLLOCK:     I don’t know, Your Honor.

  9                   THE COURT:     Okay and did Mr. Conlon

 10       participate in any analysis and discussion of J and J’s

 11       objective with in-house and outside counsel for more

 12       than a year and a half?

 13                   MR. POLLOCK:    Again, Your Honor, same as

 14       before.    I don’t know if it happened and if so, I don’t

 15       know if it’s relevant.

 16                   THE COURT:   Okay and Mr. Conlon left Faegre

 17       Drinker in 2002 to launch a business venture called

 18       Legacy Liability Solutions.       I think he says that in

 19       his certification?

 20                   MR. POLLOCK:    Yes, sir.

 21                   THE COURT:   Does Mr. Conlon have, through

 22       this new company, “An alliance,” in parentheses, with

 23       Mr. Birchfield so as to pursue resolution of those Talc

 24       cases?

 25                   MR. POLLOCK:    Your Honor, I believe the
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 183 of 221 PageID:
                                  172576
                                                                       46

  1       answer is, they’ve had discussions and the highest goal

  2       of the bar.    You’ve encouraged, I’m sure Your Honor,

  3       countless people to resolve and to settle their

  4       disputes.

  5                   My understanding is that they did work

  6       together to come up with a strategy to try and resolve

  7       or settle disputes.      I don’t know that, that

  8       necessarily, is a bad thing.       I thought the Court

  9       promoted it but there’s no proof that Mr. Conlon ever

 10       shared any confidential inside baseball regarding what

 11       J and J believed at that point in time.

 12                   THE COURT:    Yeah, I’m not suggesting anything

 13       is improper.    I mean, I came here, just for our record,

 14       with an open mind.     I read the papers, read the cases,

 15       looked at the exhibits and I heard what counsel had to

 16       say.

 17                   MR. POLLOCK:    Yes, Your Honor.

 18                   THE COURT:    That’s my standard operatis,

 19       that’s how I address motions.

 20                   MR. POLLOCK:    And I respect that.

 21                   THE COURT:    And can you tell me what purpose

 22       or role Mr. Conlon and his new company are serving with

 23       either Mr. Birchfield or Beasley Allen or both?

 24                   MR. POLLOCK:    I don’t know that they’re

 25       having any role right now because I believe that this
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 184 of 221 PageID:
                                  172577
                                                                       47

  1       motion has kind of put the stop and progress in any

  2       direction.    So I believe right now, they are focused on

  3       deciding what to do and how to proceed.

  4                    THE COURT:     Is there any document that

  5       memorialized any relationship or business relationship

  6       with Beasley Allen or Mr. Birchfield?

  7                    MR. POLLOCK:     Andy?

  8                    MR. BIRCHFIELD:      No, Your Honor.

  9                    THE COURT:     Nothing, okay.    Is Legacy

 10       Liability Solutions licensed to do business in New

 11       Jersey?

 12                    MR. POLLOCK:    I honestly don’t know, Your

 13       Honor.

 14                    THE COURT:   Okay.    I think plaintiffs agree,

 15       Beasley Allen could not hire Mr. Conlon as an attorney

 16       to work on Talc cases unless there was some type of

 17       screening.    He could work at the firm there would need

 18       to be some walling off of any of his attorney

 19       responsibilities --

 20                    MR. POLLOCK:    I think under R.P.C. 1.9 and

 21       1.10, imputed disqualification, that would be correct,

 22       that you would need some kind of waiver.

 23                    THE COURT:   Okay.    Mr. Brody, I was just

 24       addressing what was proffered to me as undisputed.          So

 25       that’s why I posed those questions.          I don’t have
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 185 of 221 PageID:
                                  172578
                                                                       48

  1       questions for J and J other than; what does J and J

  2       have in reply to what Mr. Pollock indicated with regard

  3       to how we process, how the Supreme Court instructed its

  4       trial courts to process these types of questions.

  5                   MR. BRODY:   Sure and then I can respond -- I

  6       want to respond to a few of the points that were argued

  7       by Mr. Pollock.

  8                   THE COURT:   Please.

  9                   MR. BRODY:   I think, you know, a starting

 10       point here is, and this was at the outset of the

 11       argument that was made.      Was that, we should read more

 12       into the Cordy decision and the relationship with the

 13       expert than just 28 hours.      And the point was made

 14       that, in the course of 28 hours, you know, enough work

 15       was done to establish not only the fact that the expert

 16       Greene had confidential information but that, that

 17       confidential information must have been conveyed in the

 18       subsequent retention by the defendant’s counsel.

 19                   That just makes the case here because again,

 20       we’re not talking about 28 hours, we’re talking about

 21       1,600 hours and it is undisputed on the record before

 22       the Court that, that 1,600 hours included in-depth

 23       evaluation of various settlement strategies.         It is

 24       undisputed on the record that it involved actually

 25       participating in settlement discussions and
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 186 of 221 PageID:
                                  172579
                                                                       49

  1       negotiations around the various avenues that the

  2       company was exploring.

  3                    That necessarily includes, as evidenced by

  4       the fact that these involved Mr. Hass and Mr.

  5       Braunreuther, we’re talking about the World Wide Vice

  6       President for Litigation for Johnson and Johnson here

  7       when we’re talking about these discussions that are

  8       going on.    So this is a case that goes well, well

  9       beyond a mere appearance of impropriety, this is a case

 10       where we have actual impropriety.

 11                    And I was really struck by, in response to

 12       Your Honor’s questions, the statement from Mr. Pollock

 13       and I think this captures why disqualification is the

 14       only remedy on the record before the Court.         With

 15       respect to Conlon and Beasley Allen, we heard they

 16       worked together to come up with a strategy to resolve

 17       the cases.

 18                    J and J’s former lawyer and lawyers

 19       representing plaintiffs adverse to J and J in this

 20       litigation, got together and worked together to develop

 21       a strategy that is adverse to J and J.        They did this

 22       with J and J’s former counsel, a former counsel who was

 23       privy to almost two years worth of high-level

 24       discussions at the company.

 25                    On those facts, there’s nowhere the Court can
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 187 of 221 PageID:
                                  172580
                                                                       50

  1       go but to disqualification in order to maintain the

  2       fairness and the integrity of these proceedings.          So

  3       this is far more than just a mere appearance of

  4       impropriety.

  5                   There is absolutely an appearance of

  6       impropriety here, there is actual impropriety and

  7       again, this is a situation where courts do not allow,

  8       do not condone, efforts -- to use again the words of

  9       Ethics Opinion 680, efforts to do indirectly what

 10       counsel would be prohibited from doing directly,

 11       whether it’s a side-switching lawyer, a side-switching

 12       expert, a side-switching former employee or someone who

 13       was a lawyer and left the practice of law to form a

 14       business.

 15                   The analysis is the same in every one of

 16       those cases and it is not a situation where somebody

 17       who has been involved in those kinds of discussions,

 18       who has just the extraordinary amount of time at the

 19       center of everything at J and J on this very

 20       litigation, can set that aside.

 21                   Again, coming back to counsel’s focus on

 22       Greene, the expert in the Cordy case and his 28 hours.

 23       The Cordy Court said, to believe that Greene did not

 24       and will not remember and ultimately use that

 25       information, even subliminally, defied common sense and
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 188 of 221 PageID:
                                  172581
                                                                       51

  1       human nature.    And it would defy common sense and human

  2       nature to suggest here that, in the words of Mr.

  3       Pollock, Conlon and Birchfield worked together to come

  4       up with a strategy to resolve the cases.

  5                   Again, a strategy adverse to J and J and then

  6       reached out to jointly pitch a meeting where they were

  7       coming together with the Chief Investment Officer from

  8       Legacy Liability Solution and pitch their settlement

  9       matrix to J and J, it would defy common sense and human

 10       nature to suggest that, that is proper, that that could

 11       be done without a betrayal of confidential information.

 12                   And to suggest that given that alignment,

 13       even if it were to stop today, that we can move forward

 14       and have a fair and just proceeding here while Beasley

 15       Allen is on the other side of the bead from J and J,

 16       the ethical rules just don’t allow it and court-after-

 17       court has disqualified counsel in circumstances far

 18       less egregious than those we have here.

 19                   THE COURT:   Do you believe the Court needs a

 20       plenary hearing or what it heard today is enough to

 21       resolve the decision?

 22                   MR. BRODY:   I believe that, what is before

 23       the Court today is more than enough to disqualify

 24       Beasley Allen.     However, if the Court were to believe

 25       that a plenary hearing would be helpful, we stand ready
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 189 of 221 PageID:
                                  172582
                                                                       52

  1       to present evidence to the Court in that setting.

  2                   THE COURT:   My concern is on plenary hearings

  3       is, to not be a vehicle for the disclosure of any

  4       confidential communications.       So my thought is and I’m

  5       going to weigh this -- I’m not going to render a

  6       decision today but I’m going to render a decision by

  7       the end of the week with regard to either a final

  8       decision on the motion or with further proceedings.

  9                   Because it is the initial burden of

 10       production is that the lawyers for whom

 11       disqualification is sought formerly represented their

 12       clients adverse and that present litigation is

 13       materially adverse to the former clients must be bourne

 14       by, in this instance, J and J.

 15                   If that burden of production or of going

 16       forward has met the burden shift then to the attorneys

 17       sought to be disqualified -- there was a burden

 18       shifting in the L.A.D. CEPA case, you know, counsel is

 19       familiar with the McDonald-Douglas shifting but

 20       nonetheless, if that burden of production or of going

 21       forward has met that burden shifts, the attorney sought

 22       to be disqualified to demonstrate that the matter or

 23       matters in which he or they represented the former

 24       client are not the same or substantially related to the

 25       controversy in which the disqualification motion is
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 190 of 221 PageID:
                                  172583
                                                                       53

  1       brought.    Trupos cites Avocent Redman Corporation

  2       versus Rose Electronics, 491 F. Supp. 2d., page 1,000,

  3       District Court in Washington, 2007.

  4                    Interesting that we’re citing -- you know,

  5       we’re looking at California and Connecticut cases and

  6       our Supreme Court cites to a District Court in

  7       Washington.    I’m not criticizing, I’m just pointing out

  8       where our Court was looking.       And then the burden of

  9       persuasion on all the elements under R.P.C. 1.9(a)

 10       remains with J and J, the party.       The moving party

 11       bears the burden of proving disqualification is

 12       justified.

 13                    I don’t have any affidavits from J and J and

 14       could you explain to me, Mr. Brody, why?

 15                    MR. BRODY:   You do have the declaration from

 16       Mr. Hass --

 17                    THE COURT:   Right.

 18                    MR. BRODY:   -- which speaks to the -- the --

 19       well one, it speaks to the full extent of Mr. Conlon’s

 20       access to the substance of his discussions, issues that

 21       he was involved in, his activities on behalf of the

 22       company, goes into detail on that.

 23                    It also speaks specifically to the

 24       communications that Mr. Conlon made, the

 25       representations that were made, about his alliance with
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 191 of 221 PageID:
                                  172584
                                                                       54

  1       Mr. Birchfield and the Beasley Allen Firm.         So I would

  2       argue that you do have a lot of detail, as well as the

  3       authentication of relevant exhibits from Mr. Hass in

  4       his declaration.

  5                   THE COURT:   I think Mr. Pollock said but

  6       disagrees that, they are not directly relevant with our

  7       cases here, that information.       Now, I’m not putting

  8       words in Mr. Pollock’s mouth, I’ll give him an

  9       opportunity to explain that but that’s what I

 10       understood.    Not germane.

 11                   MR. BRODY:   Yeah, I think you only have to

 12       look at the text of the declaration to see just how

 13       germane it is.     I mean, it includes and again, this is

 14       undisputed, a recounting of exactly the full extent and

 15       incredible extent to which Mr. Conlon was involved in

 16       these issues.

 17                   The fact that he was part of the core team.

 18       The fact that he attended dozens of meetings with

 19       senior members of the Law Department on this

 20       litigation.    The fact that he was front and center and

 21       you asked him about, you know, the negotiations

 22       surrounding a potential resolution through the Amyris

 23       bankruptcy.    That is also undisputed and that is

 24       recounted in Mr. Hass’ declaration, as well.

 25                   So I think when you look at it and you go
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 192 of 221 PageID:
                                  172585
                                                                       55

  1       through it paragraph-by-paragraph, there is a level of

  2       detail there that establishes without a doubt that it

  3       -- his work was germane to what is going on in this

  4       M.C.L. right now and I don’t think there is any dispute

  5       as to that.

  6                   THE COURT:     Thank you, Mr. Brody.    Mr.

  7       Pollock?

  8                   MR. POLLOCK:     Thank you, Your Honor and I

  9       appreciate your patience.

 10                   THE COURT:   You’re welcome.

 11                   MR. POLLOCK:    Two points I would make.      One

 12       with regard to Trupos and I’m looking specifically at

 13       201 N.J. at 463.     A determination of whether counsel

 14       should be disqualified is an issue of law, subject to

 15       DeNovo plenary appeal.      He also then -- I also will

 16       cite to Yuna, which is 206 N.J. at 118.

 17                   After defendant sought and was granted leave

 18       to appeal from that interlocutory (indiscernible)

 19       order, the Appellate Division in an unpublished

 20       decision procuring affirm the denial of defendant’s

 21       motion to disqualify, noting that motions for

 22       disqualification should ordinarily be decided on

 23       certifications and documentary evidence.

 24                   So and Judge, I’m not challenging you at all

 25       in your authority.     You have the right to do what you
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 193 of 221 PageID:
                                  172586
                                                                       56

  1       see is fit and I’m sure you will but I do believe that

  2       if we, on the facts you have today, what J and J says

  3       is Mr. Birchfield spent -- Mr. Conlon, I’m sorry, spent

  4       a lot of time on this matter, 1,300 hours, $2 million

  5       worth or whatever it was.

  6                   What specifically did he do on January 13th,

  7       2021?   I have no clue.     What did he do on the following

  8       day, I have no idea.     What there is, this basically is

  9       a; hey, he worked on the matter for J and J.         Did it

 10       involve the L.T.L. bankruptcy filings, what did it

 11       involve?    I have no clue and neither does anybody else

 12       because in these documents which is what the Supreme

 13       Court has said in both Yuna and Trupos, there is no

 14       record here to support their decision.

 15                   Again, Judge Porto, this is your courtroom

 16       and I respect that and if you want to have a plenary

 17       hearing, you have the right to order it but I do

 18       question; how would we proceed?       At this point, am I

 19       going to be grilling the J and J Head of Litigation or

 20       somebody, walking through timesheet-after-timesheet?          I

 21       mean, I can’t imagine the number of litigation

 22       objections, there will be an attorney-client work

 23       product and everything else.

 24                   And also, why is it relevant?      Because at

 25       this point, we keep on going back to Cordy, we keep on
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 194 of 221 PageID:
                                  172587
                                                                       57

  1       going to these other cases, which is fine. Cordy was

  2       decided without the appearance of impropriety.         That

  3       rule was a game changer.      It was a significant decision

  4       for the Supreme Court of New Jersey to make.

  5                   Prior to Cordy, I’ll admit, we probably would

  6       lose because the fact is, on that fact pattern, you

  7       would look at it and you would say, you know what, it

  8       smells right and that’s really their argument.         It must

  9       be the case, it must be the case that something

 10       transpired here.     The problem is, in weighing the

 11       balance and you know this, Judge, because you’ve

 12       practiced for a long time.

 13                   You have a balance, the needs of the client

 14       to be represented by the lawyer of its choosing.          The

 15       needs to protect client confidence of J and J, which I

 16       respect, by the way.     So you have this balancing going

 17       on and it’s very clear; unless there is a clear,

 18       articulated violation of the rules of professional

 19       conduct, then the answer is, the only finding on these

 20       papers must be that the Beasley Allen Firm remains and

 21       they can go forward and litigate as God intended.

 22                   The last thing I’ll point out is that 1.9 and

 23       1.10 were not lightly written, they were heavily

 24       negotiated.    And 1.9 says, “A lawyer who has

 25       represented a client.”      That’s not Beasley Allen, they
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 195 of 221 PageID:
                                  172588
                                                                       58

  1       never represented J and J.      Ask Mr. Conlon.     So if they

  2       have an issue, go after Mr. Conlon, which notably, they

  3       have not done, which is kind of odd.

  4                    So then you go to 1.10 and as you pointed,

  5       imputed disqualification.      A lawyer is associated with

  6       a firm if they have confidential information -- I agree

  7       with your interpretation.      We should not hire and will

  8       not hire Mr. Conlon.     He is not going to be an employee

  9       of Beasley Allen.

 10                    The fact is but the rules were written for

 11       specifically that purpose and they were knowingly.          It

 12       doesn’t say that you can’t -- you know, when you talk

 13       about the whole idea of who you can interview in the

 14       control group test, let’s get outside of where we are

 15       right now.    Who can I talk to?     Well, I can talk to

 16       anyone who is not within the control group under R.P.C.

 17       1.4 and 1.6.

 18                    Mr. Conlon, is he in that control group?       I

 19       haven’t seen anything saying he is.        I haven’t seen any

 20       effort by J and J to define him as a person that I

 21       cannot talk to.     Classic example is, I’m suing Goodyear

 22       Tire and I want to go talk to a mechanic.         How good are

 23       those Goodyear tires?      Unless Goodyear puts that guy

 24       within the control group, which they had the ability to

 25       do but to this day, they have not done it.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 196 of 221 PageID:
                                  172589
                                                                       59

  1                   So on those facts, all of that just speaks

  2       volumes that this is a make-work argument.         And

  3       therefore, with all due respect Judge, I would urge the

  4       Court to rule on the papers that are before it, not the

  5       papers that could have been before it and since they

  6       failed to carry their heavy burden and it’s being

  7       written for strategic purposes, they don’t like the

  8       Beasley Allen Firm.

  9                   They are allowed to dislike the Beasley Allen

 10       Firm but the fact is, that’s not a basis for

 11       disqualifying it.     Unless you have any further

 12       questions, Your Honor, I’ll rest.

 13                   THE COURT:   I don’t know, so Mr. Pollock, I

 14       shouldn’t keep the record open?

 15                   MR. POLLOCK:    Your Honor, it’s your courtroom

 16       and I respect any decision you make.        If you want the

 17       record open, you can but the fact is, I do believe what

 18       the Supreme Court urges is that, unless there is a

 19       nagging question and I’m sure there’s a million

 20       different issues.     What did Conlon do in 2019, how did

 21       he do in law school, what role did he play in -- I have

 22       no idea and I don’t really care.

 23                   What I do care about is one narrow window.

 24       The window where Conlon had an idea of trying to

 25       resolve this dispute.      Mr. Birchfield, according to the
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 197 of 221 PageID:
                                  172590
                                                                       60

  1       e-mail, had to communicate with him and so did J and J.

  2       That’s the one narrow window I’m looking at because I

  3       don’t care what he did before.

  4                   Unless there is some real evidence that he

  5       shared that information inappropriately that he had

  6       with Andy Birchfield and the Beasley Allen Firm and

  7       there’s no proof that he did.

  8                   THE COURT:    Thank you, Mr. Pollock.

  9                   MR. POLLOCK:    Thank you, Your Honor.

 10                   THE COURT:    Mr. Brody?

 11                   MR. BRODY:    If I may and I’ll be brief, Your

 12       Honor --

 13                   THE COURT:    We don’t have a stopwatch,

 14       Counsel.

 15                   MR. BRODY:    So first of all, I’m surprised to

 16       hear reference to questions about a control group.

 17       Clearly, the Hass declaration makes clear that Mr.

 18       Conlon was meeting with people at the highest levels of

 19       the Law Department.      And if there is to be -- if this

 20       case were decided based on a control group test, that

 21       is clearly met.

 22                   Again, what we’re hearing, as the core

 23       argument and this is actually what we started with

 24       earlier this afternoon, is Beasley Allen’s insistence,

 25       Mr. Pollock’s insistence that; well, because Beasley
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 198 of 221 PageID:
                                  172591
                                                                       61

  1       Allen hasn’t hired Mr. Conlon, J and J’s former lawyer,

  2       as a member of the firm, that somehow, it doesn’t rise

  3       to a technical violation of 1.9 of 1.10.

  4                   And therefore, it’s okay for Beasley Allen to

  5       continue representing plaintiffs in a situation where

  6       the law presumes rightly that J and J’s client

  7       confidences have been compromised, have been shared

  8       with Beasley Allen, by virtue of what we heard.         Was,

  9       the Beasley Allen Firm and Mr. Conlon joining together

 10       to form a strategy, to try to pursue a resolution of

 11       these cases that is adverse to J and J and that they

 12       know is adverse to J and J.       In a situation where

 13       Beasley Allen was well aware that Mr. Conlon was J and

 14       J’s lawyer.

 15                   And if you look at all of these cases, all of

 16       the courts that have looked at them, these analogous

 17       situations, similar situations.       Again, none of them as

 18       egregious as what we have here but every single one has

 19       said in that situation, where counsel knows that it is

 20       approaching somebody, whether it’s a lawyer, an expert,

 21       former employee, who possesses confidential information

 22       of the opposing side, that’s where disqualification

 23       comes in.

 24                   Now -- and that’s where the law presumes that

 25       confidential information has been conveyed because it’s
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 199 of 221 PageID:
                                  172592
                                                                       62

  1       quite simply impossible to imagine that it would not

  2       have been.    It’s a situation, really, where -- you

  3       know, when you look at some of the cases where courts

  4       have said -- and there is some question, by the way,

  5       under New Jersey Law as to whether that presumption is

  6       even rebuttable or whether it remains to this day an

  7       irrebuttable presumption.      But even assuming that the

  8       Court were to find that it would be impossible to rebut

  9       that presumption, that hasn’t happened here.

 10                    Again, blanket denials without explanation,

 11       without detail, are insufficient to rebut the

 12       presumption that confidential information was conveyed.

 13       You know, that’s what screening is for and frankly,

 14       that’s why we have screening as a way to avoid these

 15       kinds of situations where -- and again, I go back to

 16       Kennedy.

 17                    The highest standards of the profession are

 18       the maintenance of client confidentiality and the need

 19       to ensure that protected client information is not used

 20       to the detriment of a former client.        And that’s what

 21       we have here, an extraordinary situation where a core

 22       member of J and J’s legal team is aligned with its

 23       opposing counsel, pursuing a strategy that is adverse

 24       to the company.

 25                    And I think that on that record, there is
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 200 of 221 PageID:
                                  172593
                                                                       63

  1       nowhere else for the Court to go, if Your Honor is to

  2       maintain the fairness to J and J, the integrity of

  3       these proceedings for J and J, on a going forward

  4       basis.

  5                   THE COURT:   Thank you.    I’m going to relook

  6       at all the certifications again.       I want to go back and

  7       look at the answers to my questions, material, not

  8       material, and I’m going to issue on Friday, whether the

  9       record is closed.     I’m tending to not -- find I don’t

 10       need a plenary hearing.

 11                   As I said, this Court is not going to be a

 12       vehicle to air any additional -- or any client

 13       confidences for plaintiff or defendant.        I’m not

 14       suggesting there were but this is not -- that’s not

 15       what plenary hearings are for.       So I’m going to

 16       analyze, I’m going to reread Trupos again and I’m going

 17       to reread -- I may go back and listen to our transcript

 18       again and then issue a decision on where I’m going

 19       Friday because I don’t find it’s fair that I give a

 20       bench decision, like in Trupos, and then I’m going to

 21       supplement.

 22                   I don’t -- I’ve never -- in other divisions

 23       I’ve done it, Criminal Division I’ve done it with

 24       regard to suppression hearings but that’s not what I’m

 25       going to do here.     So I’m going to let you know by
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 201 of 221 PageID:
                                  172594
                                                                       64

  1       Friday, about 3 o’clock, what I’m going to do.         I’m

  2       going to hold the record open at this point.

  3                   I don’t want any submissions unless I find

  4       that there is a gap in some submissions.        Because you

  5       know, what I find interesting, is what is presented in

  6       those certifications and then maybe what causes this

  7       Court to think if there’s any gaps, as Trupos says.           So

  8       I’m not looking for gaps but I’m going to be looking

  9       for gaps because I’m going to try to resolve the case,

 10       as Trupos says, without a plenary hearing.

 11                   So I’m going to close our oral argument

 12       today.   Why don’t we take a couple minutes because we

 13       have a case management conference and counsel can be

 14       excused, unless you want to stick around and hear it.

 15                   MR. POLLOCK:    I just have one question for

 16       you, Judge.

 17                   THE COURT:   Yes, sir.

 18                   MR. POLLOCK:    I’m sorry that you’re going to

 19       have to listen to this oral argument all over again.

 20       My --

 21                   THE COURT:   That’s why we have Courtsmart.

 22                   MR. POLLOCK:    We can jointly pay for a bottle

 23       of scotch or something to ease your pain.         Would you

 24       like a copy -- would you like the matter transcribed

 25       and in a transcript so you can read it?        I don’t know
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 202 of 221 PageID:
                                  172595
                                                                       65

  1       how we do that but I’m sure we can get it done.

  2                   THE COURT:     That would be great.    Instead of

  3       listening, you know, I can flip back and forth, as

  4       opposed to going back.      That’s a great suggestion.

  5                   MR. POLLOCK:     Okay.

  6                   THE COURT:     So if you do that, I’m not going

  7       to cause counsel to go and get an expedited.         So maybe

  8       not Monday.    You let me know how soon you can turn

  9       around, not a 30 day transcript?

 10                   MR. POLLOCK:    No, it will be a dirty, quick

 11       cut transcript.     We’ll get it done, we’ll figure it

 12       out.

 13                   THE COURT:    Okay.   Ms. Sharko?

 14                   MS. SHARKO:    Yes, we traditionally have

 15       requested expedited transcripts of the case management

 16       conferences but expedited means like a week or more, as

 17       a practical matter.

 18                   THE COURT:    Can you maybe get it to me in a

 19       week?

 20                   MS. SHARKO:    We will ask that they do it.

 21                   THE COURT:    Is it Connie, does Connie do your

 22       transcripts?

 23                   MR. POLLOCK:    I think you have phenomenal

 24       powers, Judge.     My guess is, you can make it happen.

 25                   MS. SHARKO:    If you can make it happen,
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 203 of 221 PageID:
                                  172596
                                                                       66

  1       Counsel will pay for it.

  2                   THE COURT:     Okay, can you get it to me by

  3       next Wednesday?

  4                   MS. SHARKO:     We’ll get it to you as soon as

  5       they’ll give it to us.

  6                   THE COURT:     Perfect, okay, excellent.

  7                   MR. POLLOCK:     Thank you, Judge.

  8                   THE COURT:     Before we go, I think we had

  9       counsel appearing on Zoom, right, for our -- does

 10       counsel want to enter their appearances or will that be

 11       for the case management conference?

 12                   UNIDENTIFIED MALE:     I think there’s -- yeah,

 13       Mr. Placitella is on.      He may want to enter his

 14       appearance.

 15                   MR. PLACITELLA:    Yeah, hello, Your Honor, I

 16       can enter my appearance at the case management

 17       conference.

 18                   THE COURT:    Okay, I just wanted -- I didn’t

 19       want to leave without giving all counsel an

 20       opportunity.    Thank you, everyone.

 21                   MR. POLLOCK:    And you’re still not shaving?

 22                   THE COURT:    For the arguments.     We’ll take

 23       five.

 24                   MR. POLLOCK:    Thank you, Judge.

 25                   THE COURT:    You’re welcome.    Have a good rest
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 204 of 221 PageID:
                                  172597
                                                                       67

  1       of the day.

  2                 (Proceeding concluded at 3:28:04 p.m.)

  3                                  * * * * *

  4

  5

  6

  7

  8

  9                               CERTIFICATION

 10             I, Nitsa Carrozza, the assigned transcriber, do

 11       hereby certify the foregoing transcript of proceedings

 12       on CourtSmart, timestamp from 01:59:33 p.m. to 03:28:04

 13       p.m., is prepared to the best of my ability and in full

 14       compliance with the current Transcript Format for

 15       Judicial Proceedings and is a true and accurate non-

 16       compressed transcript of the proceedings, as recorded.

 17
 18            /s/ Nitsa Carrozza                          AD/T 639
 19                Nitsa Carrozza                         AOC Number
 20
 21
 22            Phoenix Transcription LLC                    01/19/2024
 23                  Agency Name                              Date
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 205 of 221 PageID:
                                  172598




  EXHIBIT B




                                       2
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 206 of 221 PageID:
                                  172599
                                       SUPERIOR COURT OF NEW JERSEY
                                       LAW DIVISION: CIVIL PART
                                       ATLANTIC COUNTY
                                       DOCKET NO.: ATL-L-2648-15
                                       A.D. #

                                    )
          IN RE: JOHNSON AND JOHNSON)            TRANSCRIPT
          TALCUM-BASED POWDER       )                OF
          PRODUCTS LITIGATION       )            CONFERENCE
                                    )


                                 Place: Atlantic County Courthouse
                                        (Heard Via Zoom)


                                  Date: January 23, 2024

          BEFORE:

                HONORABLE JOHN PORTO, J.S.C.

          TRANSCRIPT ORDERED BY:

                JEFFREY M. POLLOCK, ESQ.,
                (Fox Rothschild)

          APPEARANCES:

                JEFFREY M. POLLOCK, ESQ.,
                (Fox Rothschild)
                Attorney for Birchfield

                STEVEN BRODY, ESQ.,
                Attorney for Johnson & Johnson, LTL




                                  Transcriber: Sharon Conover
                                  PHOENIX TRANSCRIPTION
                                  796 Macopin Road
                                  West Milford, NJ 07480
                                  (862) 248-0670

                                  Audio Recorded
                                  Recording Opr:     Catherine Mauro
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 207 of 221 PageID:
                                  172600
                                                                        2



                                     I N D E X

          Conference........................................3
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 208 of 221 PageID:
                                  172601
                                                                        3

  1                     (Hearing commenced at 3:30 p.m.)

  2                   THE COURT:     Good afternoon, counsel.

  3                   MR. BRODY:     I apologize, Your Honor.       I was

  4       in the Zoom but for some reason it would not let me

  5       turn my camera on and it would not let me unmute.           I

  6       don’t know what the issue was there.

  7                   THE COURT:     That’s quite all right.    I

  8       appreciate you, Mr. Brody being available as well as

  9       Mr. Pollock.    Short notice, but as I indicated I

 10       weighed following –- let me the case and I’ll let you

 11       know what I’m looking for.      In RE:    Talc Based Powder

 12       Products Litigation Master of docket number ATL-L-2648-

 13       15, MCL case number 300.      May I have the appearance of

 14       plaintiff’s counsel?

 15                   MR. POLLOCK:    Jeff Pollock for Mr. Andy

 16       Birchfield.

 17                   THE COURT:   Thank you, Mr. Pollock.      Mr.

 18       Brody.

 19                   MR. BRODY:   Steve Brody for defendant Johnson

 20       & Johnson and LTL Management, LLC.

 21                   THE COURT:   Thank you.      And this is in

 22       conjunction with and subsequent to our oral argument we

 23       had last Wednesday, the 17th of January regarding

 24       Johnson & Johnson and LTL Management LLC’s motion to

 25       disqualify Beasley Allen.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 209 of 221 PageID:
                                  172602
                                                                        4

  1                   We had oral argument.     I got a copy of the

  2       transcript.    I’ve reviewed all of the case law.       I’m

  3       focusing, candidly on New Jersey State case law as well

  4       as district court.     I’m not looking at any out-of-state

  5       cases.   So, just want to let you know where I’m

  6       focusing in on.

  7                   During oral argument and this is relating to

  8       the disqualification, and I’m trying to do this as the

  9       Trupos case said on the papers.       And Yuna also said and

 10       adopted that same process.      The O Builders & Associates

 11       versus Yuna Corporation of New Jersey 206 N.J. 109.

 12       And I’m going to be focusing on page 129 of that

 13       decision.    When I reviewed this transcript, counsel for

 14       Beasley Allen, Mr. Pollock raised the point and I made

 15       note of it, and also commented again in the review of

 16       the transcript.

 17                   Notably, did Mr. Conlin (phonetic) have

 18       discussions that are really germane to the work he did

 19       with Birchfield, Mr. Birchfield.       And he intimated that

 20       perhaps Conlin’s role with J&J was limited to simply

 21       the filing of the bankruptcy involving the LTL.

 22                   So what specifically, what I’m looking for

 23       then Mr. Brody and again I’m trying to keep it as best

 24       I can contained on the papers is, so what I’m looking

 25       for is what specifically was Conlin working on, again a
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 210 of 221 PageID:
                                  172603
                                                                        5

  1       shorthand reference I mean no disrespect or

  2       familiarity, what was Conlin working on during those

  3       1,600 hours with Faeger Drinker and is it substantially

  4       similarly germane to any work with Birchfield?

  5                   Can you provide a certification in that

  6       regard, Mr. Brody?

  7                   MR. BRODY:   Absolutely, Your Honor.      We –-

  8       Mr. Haas certainly provide that certification based on

  9       his personal involvement with the work that Mr. Conlin

 10       did.    And in particular can certify that Mr. Conlin

 11       were involved in the evaluation of all of potential

 12       resolution strategies for the Talc Litigation at the

 13       highest level for the company.

 14                   So, the exact matter that is before Your

 15       Honor   was subject of the work that Mr. Conlin was

 16       doing as part of the senior J&J team.        Now obviously,

 17       when you’re talking about potential resolutions, you’re

 18       looking at all options including bankruptcy, including

 19       as Your Honor knows a potential resolution through the

 20       Imerys bankruptcy, as well as resolution through the

 21       Tort System.

 22                   So, it is an all encompassing evaluation of

 23       potential resolutions that included evaluation and

 24       discussion of the –- and I do have to say high level,

 25       strengths and weaknesses of the underlying cases, and
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 211 of 221 PageID:
                                  172604
                                                                        6

  1       how that would intercept and impact the company’s

  2       strategies for the ultimately resolution, what it had

  3       hoped would be the ultimate resolution of the

  4       litigation.

  5                   THE COURT:   Now, it’s no secret that J&J

  6       desires to pursue the resolution through bankruptcy.

  7       So one of the points that Mr. Conlin raised in his

  8       certification, and I’m going by memory right now, is

  9       that there’s nothing that he derived from J&J that has

 10       any basis on what Legacy is doing.

 11                   So we don’t have any documentation, it’s not

 12       like Trupos or Yuna to the extent that there is no

 13       documentation that I can look at.       We’re looking at

 14       inferential.    So what I’m trying to do Mr. Brody and

 15       Mr. Pollock is this is a distinguishable case from all

 16       the other cases I feel from what counsel cited and that

 17       came up in the Court’s research that involve a former

 18       attorney, involving a former client, involving a former

 19       attorney that is no longer practicing law who is

 20       deriving –- who co-founds a company, the Legacy

 21       Company, and is now trying to formulate a settlement

 22       that doesn’t involve the bankruptcy.        It involves the

 23       capital markets, I think Mr. Conlin says.

 24                   So that’s what I’m trying to do.       Mr.

 25       Pollock, anything to add?
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 212 of 221 PageID:
                                  172605
                                                                        7

  1                   MR. POLLOCK:    No, Your Honor.    The only

  2       points that I would raise, and I think I follow

  3       analytically where you’re going, that there’s one issue

  4       I also did raise during oral argument, is that timing

  5       may matter, because Mr. Conlin was working at a

  6       specific window in time, and the fact is we’re now at a

  7       different window in time.      I think that’s another way

  8       of, if you will, of addressing the issue you’re hitting

  9       which is how overlapping are these?

 10                   There’s one other issue which I wish I

 11       responded to, and I’m not trying to reargue the motion,

 12       but I did miss this one last time and it may be

 13       relevant.    Mr. Brody argued at length that Mr. Conlin

 14       –- Mr. Birchfield reached out to Mr. Conlin, that they

 15       were arm-in-arm and they were working together.         There

 16       is zero proof that that is true.       I think Your Honor

 17       stated it better, Legacy had an idea or thing to sell,

 18       which is a resolution.      I believe that the truth is

 19       that Legacy reached out to both, Conlin and to

 20       Birchfield, and to J&J.

 21                   My point being that the inference was led and

 22       I missed this one in oral argument and I should’ve

 23       addressed it, and I think I want to address if there’s

 24       a responsive paper from J&J, that there is nothing in

 25       the record that Birchfield reached out to Conlin and
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 213 of 221 PageID:
                                  172606
                                                                        8

  1       said, hey let’s go stick it to J&J.

  2                   I think that is relevant because it goes to

  3       the question of was Conlin doing something if you will,

  4       with his kind of like one of the points you’re hitting,

  5       or was Birchfield, Beasley Allen behind that too?

  6                   THE COURT:     I don’t disagree with you, Mr.

  7       Pollock.    And I think it is the overlap in time.        He

  8       leaves in March 2022 and I think it’s August 2022 that

  9       these events coalesce.

 10                   MR. POLLOCK:     Correct.

 11                   THE COURT:   Mr. Brody.

 12                   MR. BRODY:   Right.    I mean, yeah –- yes, Your

 13       Honor, thank you.     In response, I think that the timing

 14       issue here doesn’t have a legal analysis at all.          And

 15       it doesn’t change the, for lack of a better word, the

 16       wrongfulness of the alliance we see between Mr.

 17       Birchfield and Mr. Conlin.      If you look at the various

 18       exhibits that were included with the declaration from

 19       Mr. Haas, what you see is a progression in time.

 20       Where, first of all, Mr. Conlin spends that 1,600 hours

 21       over a period of months with the senior J&J team

 22       evaluating resolutions.

 23                   After he left Faeger Drinker he initially

 24       reached out to J&J to talk about one avenue proposed

 25       resolution, again the same matter, the very same issue,
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 214 of 221 PageID:
                                  172607
                                                                        9

  1       how can we resolve this litigation.        What’s the width

  2       he can go to value these cases correctly to attain a

  3       resolution, whether it’s through the bankruptcy process

  4       or otherwise.    He was rebut by J&J and that’s when the

  5       alliance with Mr. Birchfield started, whether

  6       Birchfield reached out to Conlin or Conlin reached out

  7       to Birchfield first, frankly is not relevant to the

  8       disqualification inquiry.      What’s relevant is the fact

  9       that –- and there’s no denying that Mr. Birchfield and

 10       Beasley Allen were well aware that Mr. Conlin had

 11       represented J&J in the same matter.        I mean this is

 12       frankly, under case law not even a close call.         This is

 13       the exact same litigation and it’s the exact subject

 14       matter for which Mr. Conlin represented J&J.         And the

 15       law does not afford a lawyer the ability to, in essence

 16       switch sides, partner with the side that was previously

 17       his opposing counsel in the litigation and then just

 18       say, well I’m going to somehow compartmentalize the

 19       privilege, confidential portions of this in my brain,

 20       and only use non-confidential, non-privileged material.

 21       And in this case, I think is a perfect example of why

 22       that is, because we’re talking about somebody who had

 23       an inside view of the way and participated in

 24       discussions that were going directly to the way the

 25       company thought about the pluses and minuses, strengths
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 215 of 221 PageID:
                                  172608
                                                                       10

  1       and weaknesses, of different strategies.

  2                   Again, we’re talking about all potential

  3       avenues, including resolution through the Tort System,

  4       which is what Beasley Allen and Mr. Conlin have been

  5       promoting and pursuing, resolution versus J&J wishes,

  6       but which they specifically know that we’re all

  7       onboard, we’re together on this.       And we heard from Mr.

  8       Pollock at the hearing that they did get together to

  9       formulate what they hoped would be, for them a

 10       favorable resolution strategy.

 11                   That’s the real problem here.      That’s the

 12       heart of the issue is that J&J’s former lawyer is

 13       working as J&J’s opposing counsel on the same matter

 14       that he spent an extraordinary amount of time

 15       representing J&J.

 16                   I don’t think there are any cases, whether

 17       New Jersey State cases you know, there’s a long line of

 18       them that has been cited by each side, and the District

 19       of New Jersey cases.     Every case that speaks to a

 20       situation where somebody switched sides, whether it was

 21       a lawyer, an expert, or a former employee or a witness,

 22       reached the conclusion that the only way to guarantee

 23       the continued fairness of the proceedings is through

 24       disqualification.

 25                   THE COURT:   Mr. Pollock?
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 216 of 221 PageID:
                                  172609
                                                                       11

  1                   MR. POLLOCK:    Your Honor, I feel like right

  2       now we are getting into the entire motion.         Mr. Conlin

  3       is not a side-switching lawyer.       He is not counsel

  4       here.    He is not entered an appearance here.       I notice

  5       Mr. Brody now changes his position dramatically.

  6                   Initially the argument before you was, that

  7       Mr. Birchfield and Beasley Allen firm reached to Conlin

  8       basically to gain inside information on how to approach

  9       J&J.    Now for the first time, his position is well we

 10       first reached out to J&J and had a discussion with J&J.

 11       I really don’t think it’s either here nor there.          The

 12       reality is that I believe that the papers that are

 13       before you are bereft of any indication, any truth that

 14       Mr. Conlin shared as a consultant, as an investment guy

 15       with the Beasley Allen firm any information.         In fact,

 16       the only record in front of you is that it did not

 17       occur.   What Mr. Brody’s argument boils down to is one

 18       simple thing, it stinks.      It must smell.    There must

 19       have been those discussions.

 20                   And that is code for the appearance of

 21       impropriety, which the Supreme Court of New Jersey has

 22       squarely and completely rejected.       So therefore, that’s

 23       why the Court has said as you indicated a few minutes

 24       ago, Your Honor, you look at the papers you got, not

 25       the papers that Mr. Brody wished he had submitted, or
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 217 of 221 PageID:
                                  172610
                                                                       12

  1       that he could not have submitted.

  2                    I wait Your Honor’s correction.      If you want

  3       us to do continued briefing, I take it that you’re

  4       acting as to the highest level of the judiciary Judge,

  5       trying to get it right.      I think that’s where you’re

  6       coming from.    If you would tell us what you need, I am

  7       sure that Mr. Brody and I will be glad to provide you

  8       with anything you want.      But I don’t think it’s really

  9       a good use of your time since you studied the case law

 10       and the facts, to rehash the arguments that you’ve

 11       already heard, because I think you understand them.

 12                    THE COURT:    Thank you, Mr. Pollock.     I didn’t

 13       –- I try not to cut people off.       I want to give

 14       everybody an opportunity, so that’s why, I don’t feel I

 15       need any re-argument.

 16                    The other point, I wanted to make Mr. Brody

 17       is about the closest in the record is when Mr. Murdica,

 18       Jim Murdica writes to Mr. Conlin regarding the

 19       Bloomsburg article.       And he says, cease and desist, and

 20       you’ve disclosed, you’ve criticized, don’t mention your

 21       prior clients, you’ve criticized prior clients, and

 22       you’ve revealed client confidences.        Again, I’m going

 23       by memory.

 24                    What exactly, if you can also place in that

 25       certification, what exactly were, I didn’t look at the
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 218 of 221 PageID:
                                  172611
                                                                       13

  1       article, I know it’s online.       I’m not doing it.     I want

  2       to get that article from counsel for J&J and LTL, so

  3       that everyone sees it.       What exactly is the

  4       attorney/client –- because it’s out there, what’s the

  5       attorney/client information that Mr. Conlin revealed?

  6       We can all see if there’s criticism or not.          And then

  7       Mr. Pollock -- Mr. Brody however fast you can get that

  8       into me, Mr. Pollock, I’m going to provide Beasley

  9       Allen with an opportunity to address what’s sent to me

 10       from Mr. Brody.     Okay.

 11                   MR. POLLOCK:      Understood, Your Honor.

 12                   MR. BRODY:      Certainly, Your Honor.    I can

 13       definitely –- we can have Mr. Haas prepare a

 14       certification based on his personal knowledge of the

 15       discussions that Mr. Conlin was privied to as counsel

 16       for J&J.    As you know, from the introduction last week,

 17       Mr. Haas (indiscernible) was involved in dozens of

 18       meetings and phone conferences with Mr. Conlin over the

 19       course of time.     So we can also address the letter that

 20       Mr. Murdica wrote to Mr. Conlin on November 5th of last

 21       year, which unfortunately was an effort to cease and

 22       desist that was not headed by Mr. Conlin or frankly Mr.

 23       Birchfield.    As you know from what’s in the record

 24       there, a coordinated effort to push their resolution,

 25       the one adverse to the company’s interests went on well
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 219 of 221 PageID:
                                  172612
                                                                       14

  1       after that.

  2                   THE COURT:   Well I saw the –- I saw the

  3       emails to was it Daegel?      And I saw all –- I went

  4       through all of the exhibits, and all the certifications

  5       as well as Mr. Haas’s declaration.

  6                   Anything else?    I apologize again getting

  7       counsel short notice, I appreciate you being available.

  8       Anything else you’re looking for for me, time line?

  9       Candidly, I’m trying to get this decision out as soon

 10       as I can, again and Mr. Pollock and Mr. Brody, I’m

 11       trying to get it right, you know based on my

 12       instructions.    I certainly understand, you know, any

 13       appeals.    That certainly comes with the territory.

 14       That’s okay.    I just want to let you know.       I’ve been

 15       here a while, it’s okay.      Everybody has their rights.

 16                   MR. BRODY:   Your Honor, no problem at all.

 17       And certainly, I have actually been in touch with Mr.

 18       Haas today.    I let him know that you were asking for

 19       this and he immediately, it’s very important to the

 20       company, he immediately said that he would be available

 21       to join the Zoom or to join by phone, either one as

 22       needed today.

 23                   But based on that, we can certainly give you

 24       the certification within the next few days, certainly

 25       by Thursday.    And as we do so, I think it will make it
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 220 of 221 PageID:
                                  172613
                                                                       15

  1       clear that this is a situation where what Mr. Conlin

  2       was working on for the company is 100% germane to what

  3       he has now partnered with Mr. Birchfield about.

  4                   THE COURT:     I’m still reserving the right

  5       under Trupos and Dewey if there’s any gaps.         So I’m

  6       trying to do the best I can on paper to make sure there

  7       are no gaps.    I’m looking at it.     So I’m not telling

  8       you there won’t be a plenary hearing.        But I will also

  9       issue a decision.     I will tell you if a plenary hearing

 10       is not needed.

 11                   So, I don’t keep anybody guessing.         I’ll let

 12       you know, my staff will let you know if a written

 13       decision is coming out.      So, two days Mr. Brody.      Mr.

 14       Pollock, obviously you got to take a look at it, how

 15       about Monday.    Is that okay?     You get the weekend.

 16                   MR. POLLOCK:    I think, Your Honor, I think

 17       that Monday works.     I have a trial starting on Monday,

 18       but I believe I can get it done.       If I need more time

 19       I’ll beg.    But I think the answer is Monday probably

 20       works.

 21                   THE COURT:   Now, look I’m not trying to

 22       inconvenience anybody, Mr. Pollock.        You know,

 23       everybody has their work.      I’m trying to balance.      So

 24       you let me know if you need more time, same thing Mr.

 25       Brody.
Case 3:16-md-02738-MAS-RLS Document 28976 Filed 02/02/24 Page 221 of 221 PageID:
                                  172614
                                                                       16

  1                    MR. BRODY:   Of course.    Thank you.

  2                    THE COURT:   Again, Mr. Brody, Mr. Pollock,

  3       thank you for being available.        I appreciate it.

  4       Thanks so much.     Have a good rest of the day, everyone.

  5       Thank you.

  6                    (Conference concluded at 3:57 p.m.)

  7                                   * * * *

  8

  9

 10

 11

 12       CERTIFICATION

 13             I, Sharon Conover, the assigned transcriber, do

 14       hereby certify the foregoing transcript of proceedings

 15       on CourtSmart, Index No. from 3:35:52 to 3:57:04, is

 16       prepared to the best of my ability and in full

 17       compliance with the current Transcript Format for

 18       Judicial Proceedings and is a true and accurate non-

 19       compressed transcript of the proceedings, as recorded.

 20

 21

 22
 23            /s/ Sharon Conover                          AD/T 625
 24                Sharon Conover                         AOC Number
 25
 26
 27            Phoenix Transcription LLC                    01/24/24
 28                  Agency Name                              Date
 29
